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                 SEC17
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     THE UNITED STATES SECURITIES AND EXCHANGE COMMISSION



     In the Matter of:         )

                               )   File No. HO-13388-A

     KIK INTERACTIVE           )   AMENDED 12-5-2018



     WITNESS:    Fred Wilson

     PAGES:      1 through 222

     PLACE:      U.S. Securities and Exchange Commission

                 100 F Street, N.E.

                 Washington, D.C. 20549

     DATE:       Wednesday, September 5, 2018



             The above-entitled matter came on for hearing,

     pursuant to notice, at 9:31 a.m.




             Diversified Reporting Services, Inc.

                    (202) 467-9200
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                                              Page 2                                                               Page 4
 1   APPEARANCES:                                            1               PROCEEDINGS
 2                                                           2            THE VIDEOGRAPHER: This begins disc number
 3   On behalf of the Securities and Exchange Commission:    3   one. We are now on the record. The time on the video
 4     BRENT MITCHELL, ESQ.                                  4   monitor is 9:31 a.m.
 5     JAMES MURTHA, ESQ.                                    5            MR. SCHLEGELMILCH: We are on the record at
 6     JEFF LEASURE, ESQ.                                    6   9:31 a.m. on September the 5th, 2018, at the SEC's
 7     STEPHAN SCHLEGELMILCH, ESQ.                           7   Washington DC office.
 8     DAVID MENDEL, ESQ.                                    8            Mr. Wilson, would you raise your right
 9     Securities and Exchange Commission                    9   hand?
10     100 F Street, N.E.                                   10            MR. SCHLEGELMILCH: Do you swear or affirm
11     Washington, D.C. 20549                               11   to tell the truth, the whole truth, and nothing but the
12     (202)551-4683                                        12   truth?
13     mitchellb@sec.gov                                    13            THE WITNESS: I do.
14                                                          14   Whereupon,
15   On behalf of the Witness:                              15                 FRED WILSON
16      LUKE CADIGAN, ESQ.                                  16   was called as a witness and, having been first duly sworn,
17      JULIANNE LANDSVIK, ESQ.                             17   was examined and testified as follows:
18      Cooley LLP                                          18                 EXAMINATION
19      500 Boylston Street                                 19            BY MR. SCHLEGELMILCH:
20      Boston, Massachusetts 02116                         20      Q Okay. Would you -- you can put down your
21      (617)937-2480                                       21   hand. Would you mind stating and spelling your full
22      lcadigan@cooley.com                                 22   name for the record?
23   Also Present:                                          23      A Yes. My name is Fredrick, F-R-E-D-R-I-C-K,
24      Steven Jones, Videographer                          24   R. Wilson.
25                                                          25      Q Okay. And it's W-I-L-S-O-N?


                                              Page 3                                                               Page 5
 1            CONTENTS                                      1       A Correct.
 2   WITNESS:                    EXAMINATION                2       Q Okay. Good morning, Mr. Wilson. My name
 3   Fred Wilson                  4                         3    is Steven Schlegelmilch, and to my right is Jeff
 4                                                          4    Leasure, James Murtha, David Mendel, and Brent
 5   EXHIBITS     DESCRIPTION              IDENTIFIED       5    Mitchell.
 6   145      Subpoena      7                               6          We are members of the staff of the
 7   146      E-mail Chain   65                             7    Enforcement Division, and, for purposes of this
 8   147      E-mail Chain   76                             8    proceeding, we're officers of the United States
 9   148      E-mail Chain   87                             9    Securities and Exchange Commission.
10   149      E-mail Chain  128                             10         This is an investigation by the United
11   150      E-mail Chain  132                             11   States Securities and Exchange Commission in the matter
12   151      E-mail Chain  139                             12   of Kik Interactive, file number HO-13388 to determine
13   152      E-mail Chain  149                             13   whether there have been violations of certain
14   153      E-mail Chain  157                             14   provisions of the federal securities laws. However,
15   154      E-mail Chain  173                             15   the facts developed in this investigation might
16   155      E-mail Chain  188                             16   constitute violations of other federal or state civil
17   156      E-mail Chain  191                             17   or criminal laws.
18   157      E-mail Chain  194                             18         Prior to the opening of the record, you
19   158      E-mail Chain  198                             19   were provided a copy of the formal order of
20   159      E-mail Chain  202                             20   investigation of this matter, which is actually right
21   160      E-mail Chain  210                             21   in front of you right on top, and it has been
22                                                          22   supplemented several times and it's available if you
23                                                          23   want to look through it at any point today. What that
24                                                          24   formal order does is the Commission is the entity
25                                                          25   that's authorized by the statute to take testimony to



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                                                           Page 6                                                       Page 8
 1   investigate what happened, to issue subpoenas, to swear         1      A Yes, I have.
 2   in witnesses, things like that.                                 2      Q Okay. And this is the subpoena pursuant to
 3         But the Commission has delegated to its                   3   which you're appearing here today?
 4   officers the ability to do so that the four people on           4     A Yes, it is.
 5   the 10th floor don't have to. So for purposes of this           5      Q Okay. So let me go over just a few of the
 6   proceeding the five of us have been variously                   6   ground rules for testimony, which are similar to the
 7   designated as officers of the Commission, and that's            7   rules for a deposition. Have you ever had your
 8   what the formal order does.                                     8   deposition taken before?
 9         If you would like to look at it, I think                  9      A Yes, I have.
10   you would be the first one, but it's right there in            10      Q Okay. About how many times?
11   front of you.                                                  11      A I think twice.
12      A Thank you.                                                12      Q Okay. When did that happen?
13      Q Prior to the opening of the record, also in               13      A I don't think I've done one in over ten
14   front of you is a copy of the Commission Supplemental          14   years. So I'd say -- I think I did a couple in the
15   Information Form 1662 which we provided to your counsel        15   late '90s and early '00s.
16   when we issued the subpoena. So that's been previously         16       Q Okay. What was the context of those
17   marked as Exhibit 1.                                           17   depositions?
18         And have you had an opportunity to look at               18     A Well, the one that I recall most vividly
19   it or to talk to your counsel about it, this Form 1662         19   was a litigation between some former employees and a
20   which is the second document?                                  20   company I was on the board of.
21      A Yeah. I've seen this.                                     21       Q Okay. Were you a named party to that
22      Q Do you have any questions or concerns                     22   litigation?
23   regarding the Form 1662?                                       23      A I don't recall.
24      A I do not.                                                 24      Q Okay. The big rule for today is that you
25      Q Okay. And you're represented by counsel                   25   and I can't speak over each other. So I need to let


                                                           Page 7                                                       Page 9
 1    here today?                                                   1    you finish your answer before I ask you another
 2       A I am.                                                    2    question, and you need to let me finish my question
 3       Q Would counsel mind introducing themselves?               3    before you provide an answer.
 4        MR. CADIGAN: Yes. Luke Cadigan of Cooley,                 4       A Okay.
 5    LLP.                                                          5       Q And, like I said, we'll take a break every
 6           MS. LANDSVIK: Julianne Landsvik of Cooley,             6    hour or so. I suspect your counsel has told you what
 7    LLP.                                                          7    to expect, but do you have any questions about how
 8           MR. SCHLEGELMILCH: Okay. And do you                    8    today will proceed?
 9    represent Mr. Wilson today?                                   9       A I do not.
10          MR. CADIGAN: Yes, we represent Mr. Wilson.              10      Q Okay. Just to get started, I'd like to get
11    And then I know you've asked that we indicate the other       11   a sense for your background.
12    parties that we're representing.                              12         Would you mind providing me sort of a
13           Julie, do you have that?                               13   resume-level 30,000-foot-overview of your career sort
14           MS. LANDSVIK: Yes. Cooley represents Fred              14   of starting at college and then working forward to
15    Wilson, Union Square Ventures, Kik Interactive, Ted           15   today?
16    Livingston, Peter Heinke, Tanner Philp, Phil Yang,            16      A Okay. I attended MIT from 1979 to 1983
17    Eileen Lyon, Erin Clift, and Eran Ben-Ari.                    17   graduating with a degree in mechanical engineering. I
18          BY MR. SCHLEGELMILCH:                                   18   worked as a software engineer for two years. From '83
19      Q Let me hand you what will be marked as                    19   to '85, I attended University of Pennsylvania's Wharton
20    Exhibit 145, which is a copy of the subpoena.                 20   School of Business. From '85 to '87, I started working
21             (SEC Exhibit No. 145 was marked for                  21   for a venture capital firm called Euclid Partners while
22             identification.)                                     22   I was in business school at Wharton. I started there
23           BY MR. SCHLEGELMILCH:                                  23   in the summer of 1986. I worked there for ten years,
24       Q Have you had a chance to see this before,                24   from 1986 to 1996, first as an associate then as a
25    Mr. Wilson?                                                   25   junior partner then a full partner.



                                                                                               3 (Pages 6 to 9)
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 1            I left in the summer of 1996 to start a              1   capital resides.
 2   venture capital firm called Flatiron Partners, which          2      Q Okay. What's your role at Union Square
 3   still exists in some form today, but we stopped               3   Ventures?
 4   investing actively out of that vehicle in 2000.               4     A I am a general partner.
 5      Q      Okay.                                               5      Q How many general partners are there?
 6      A And I spent 2001, 2002 and part of 2003                  6      A There are six general partners right now.
 7   winding down the affairs of that business. And in the         7      Q Okay. Can you -- would you mind naming
 8   summer of 2003, I cofounded Union Square Ventures and I       8   them for me?
 9   have been a partner at Union Square Ventures ever             9      A Sure.
10   since.                                                       10      Q And just part of it is we're going to see a
11      Q      Where is Union Square Ventures located?            11   lot of e-mails today and I want -- I'm trying to get
12      A New York City.                                          12   a -- sort of a cast of characters.
13      Q      Okay. Is that where you're located?                13       A Right. So myself, Fred Wilson, my
14            Is that where your office is?                       14   cofounder, Brad Burnham, Albert Wenger; that's spelled
15      A The offices of Union Square Ventures.                   15   W-e-n-g-e-r.
16      Q      Is in New York city.                               16     Q Okay.
17            Where do you work?                                  17     A John Buttrick, Andrew Weissman, Rebecca
18      A I work in the offices of Union Square                   18   Kaden. Kaden, K-a-d-e-n.
19   Ventures when I'm in New York City.                          19      Q And Buttrick, B-u- --
20      Q      Okay.                                              20      A B-u-t-t-r-i-c-k.
21      A And when I'm not in New York City, I work               21     Q Thank you. And about how many other
22   in my home offices.                                          22   employees does Union Square Ventures have?
23      Q      Okay. And where is that? I don't need to           23     A I think we have about 16 employees right
24   have your address, but where is your home office?            24   now of which six are the people I just named. So we
25      A I have a home office in Venice Beach,                   25   have ten other people who work at Union Square


                                                        Page 11                                                  Page 13
 1   California. I have a home office in Park City, Utah.          1   Ventures.
 2   I have home office in Amagansett, New York.                   2       Q Thank you. Can you give me sort of an
 3      Q Okay. Is Union Square Ventures -- is their               3   order of magnitude for sort of the amount of assets
 4   office in Manhattan?                                          4   under management for Union Square Ventures?
 5      A Yes, it is.                                              5       A Well, that -- that requires some
 6      Q Okay. How many partners -- or -- well, let               6   definition. We have raised, over the life of Union
 7   me step back.                                                 7   Square Ventures, seven primary investing vehicles and
 8            What is Union Square Ventures? What kind             8   these other vehicles that go side-by-side with some of
 9   of -- what is Union Square Ventures?                          9   these other vehicles. And if you add all of those up,
10      A Union Square Ventures is an early-stage                 10   I would say that it adds up to -- it adds up to about a
11   venture capital firm.                                        11   billion dollars --
12      Q Okay. How is it organized? Is it an LLC,                12       Q Okay.
13   a partnership, a corporation? What is it?                    13       A -- across those -- all of those vehicles.
14      A Union Square Ventures Management Company is             14          But the 2004 fund, the first fund we raised
15   an LLC, and then there are seven main found entities         15   is largely liquidated. There's two very small
16   that have been formed over the past 15 years that are        16   positions that remain. So I'm not sure I would
17   limited partnerships. We also have a number of other         17   consider that under active management anymore.
18   limited partnerships, side car vehicles and so on and        18       Q Okay. That's helpful. Thank you.
19   so forth. The main fund is a 3 (c)(7) fund, but we           19       A And we don't take the income on the 2004
20   also operate 3(c)(1) funds for investors who are less        20   fund. And we take a nominal amount of fee income on
21   wealthy. And so that means that we have these side           21   the 2008 fund and the 2000 -- and the Union Square
22   vehicles.                                                    22   Ventures opportunity fund, which are our three oldest
23            So I think maybe we have a total of 13 or           23   funds. So, you know, again, you know, it sort of begs
24   14 organized investing entities, but there's seven main      24   the question of what you mean by under management.
25   unit partnerships where the vast majority of our             25       Q Actually, what you provided is very



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 1   helpful.                                                     1   Square Ventures actually paid?
 2      A Okay.                                                   2     A Union Square Ventures 2008, specifically,
 3      Q You are obviously familiar with a company               3   is the only vehicle that we manage that's an investor
 4   called Kik Interactive; is that right?                       4   in Kik.
 5      A Yes. I'm on the board of Kik interactive.               5      Q Of the seven primary investment vehicles?
 6       Q Okay. Well, that's a question I don't have             6      A Only one which is Union Square Ventures
 7   to ask now.                                                  7   2008, LP --
 8         When did you first hear about Kik                      8      Q Okay.
 9   Interactive?                                                 9      A -- the only entity that owns equity in Kik.
10      A I believe that we first heard about Kik                10      Q And its cost basis for that investment is
11   Interactive in the summer of 2011.                          11   5.5 million?
12       Q And when did you -- or, I guess, more                 12      A Correct.
13   specifically, your firm first invest in Kik?                13      Q Okay. And it's all in the form of equity?
14      A I believe it -- I think it was in 2011.                14      A Correct.
15   I'm not entirely sure, but it's either 2011 or 2012.        15            MR. LEASURE: Can you explain what Series
16         MR. MURTHA: Under what circumstances did              16   A, Series B, Series C means in this case?
17   you come to learn about Kik Interactive?                    17            THE WITNESS: They are rounds of financing
18         THE WITNESS: They had a fast-growing                  18   that companies do, you know. So they're named that way
19   mobile messaging app that just sort of caught fire,         19   just to sort of recognize that they were raised at
20   people started using it, and, you know, that's what we      20   different times. They can be sometimes very similar to
21   pay attention to. You know, we saw press around it and      21   each other in terms of liquidation preference and price
22   that kind of thing.                                         22   per share, but they could be very different from each
23          BY MR. SCHLEGELMILCH:                                23   other as well.
24       Q That's another sort of unique thing about             24            Things that could change other than price
25   testimony today is that any of the people on this side      25   per share is whether or not they're pari-passuing


                                                       Page 15                                                       Page 17
 1   of the table will ask questions, and we'll try not to        1   liquidation versus senior in liquidation, and sometimes
 2   step on each other. But thank you.                           2   you know securities can carry -- pay a dividend, pay it
 3      A It's okay.                                              3   in kind dividend, typically not a cash paying dividend.
 4      Q What was the size of Union Square Ventures'             4            So, you know, they can differ from time to
 5   initial investment in Kik?                                   5   time, but everybody who buys the Series A preferred
 6      A 2.5 million.                                            6   buys the exact same piece of paper. And everybody who
 7      Q Okay. And how did it -- what was the --                 7   buys a Series B preferred buys the exact same piece of
 8   what form did that investment take? And what I mean by       8   paper.
 9   that is was it in the form of a purchase of equity or        9            MR. LEASURE: Got it.
10   debt or --                                                  10            MR. MURTHA: Is the 2008 fund one of the
11      A We purchased a Series A preferred equity.              11   funds which you had mentioned earlier as one of the
12      Q And has that position in Kik grown or                  12   ones that Union Square Ventures is not taking income
13   diminished over time?                                       13   from?
14      A The cost basis of it?                                  14            THE WITNESS: I believe that we are now
15      Q Let's start with: Have you invested more?              15   taking a million dollars a year of management fee
16      A Yes.                                                   16   income, which is fairly nominal for a fund that's
17      Q Okay. Can you walk me through sort of the              17   $159 million of committed capital. The fees typically
18   progression of the -- Union Square Ventures' investment     18   for a fund like that would be on the order of two to
19   in Kik?                                                     19   two and a half percent, so somewhere between 3 and
20      A Yeah, yeah. We brought some Series B                   20   $4 million a year, but we've reduced the fees we're
21   preferred maybe a year or two later, and we bought some     21   taking on that fund.
22   Series C preferred maybe a year or two later. The           22            What happens is a fund has a tenure life.
23   total position that we have in Kik as of now is             23   That fund is either past its tenure life or is coming
24   worth -- is at cost approximately 5.5 million.              24   up on its tenure life. We will extend the
25      Q Okay. And cost meaning that's what Union               25   investment -- we will extend the life of the fund until



                                                                                         5 (Pages 14 to 17)
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 1   we can fully liquidate it. And during those                1   sort of opportunity wave has sort of come now and --
 2   extensions, we ratchet down the management fees pretty     2   well, there's obviously lots of big and valuable
 3   dramatically just to recognize the fact that we're not     3   companies. The ability to start a company around a
 4   providing as much management to the fund as we might       4   mobile app has sort of come and gone. So we don't do
 5   have been in the past.                                     5   that much of that kind of investing now, but in that
 6         Although, this fund still has something              6   fund there was a lot of that.
 7   like -- I don't know -- something like 15 active           7          MR. MENDEL: What was your total return on
 8   investments in it. So it's a pretty actively managed       8   the fund?
 9   fund given the age of it.                                  9          THE WITNESS: Fund is still actively
10         MR. LEASURE: And of the investments in              10   managed. So we don't know, but what I can tell you is
11   this fund, can you give me a rough percentage on a cost   11   we raised $159 million committed capital. We called
12   basis of the value of the Kik Investments versus --       12   about 150 of that. So we don't necessarily fully call
13         THE WITNESS: We made something like 23 or           13   our funds. We would try to, but, you know, we don't
14   24 investments in the fund.                               14   always call every dime of capital.
15         MR. LEASURE: Okay.                                  15          And we have distributed in cash and
16         THE WITNESS: It's a $159 million fund. So           16   marketable stock to the investors of that fund about
17   if you just do the averages, which is not going to be     17   $400 million. That's an estimate. It could be, you
18   accurate, but on average we would have put maybe          18   know, 50 million more or less, but about 400 million
19   something like 6 or $7 million on average into a          19   distributed cash and liquid stock. And then we
20   company. I think that the spread probably is more like    20   probably have another 100 million-ish, maybe a little
21   2 million-ish on the low end up to maybe 10 to 12         21   bit more of residual value in that fund.
22   million-ish on the high end. So it's probably right       22          So the cash on cash -- when I say cash, I
23   down the middle in terms of size.                         23   mean cash plus liquid stock returns to the limited
24        BY MR. SCHLEGELMILCH:                                24   partners of that fund -- as of June 30th is probably --
25      Q So the investment in Kik that this fund              25   and that's net to the limited partners, so that's after


                                                  Page 19                                                          Page 21
 1   made is sort of an average-size investment for the         1   our carrying fees -- is about 3.25. And, you know,
 2   fund?                                                      2   that number could grow some, you know, because we do
 3      A Correct.                                              3   have a pretty significant unrealized portfolio.
 4      Q Okay.                                                 4         MR. MENDEL: 3.25 what?
 5         MR. LEASURE: What other types of -- just             5         THE WITNESS: Cash-on-cash return. So if
 6   taking this fund in particular as an example, what         6   you take the amount of value, including what we've
 7   other types of investments did this fund make similar      7   distributed and what remains undistributed, and divide
 8   to tech companies like Kik --                              8   that by what people put in, you get to 3.25.
 9        THE WITNESS: Yeah. So our specialty, if               9         MR. MENDEL: And what did you mean by the
10   you will, Union Square Ventures, is Internet-based        10   calling? You said calling --
11   businesses. That means web and mobile, and                11         THE WITNESS: All right. So if we have
12   increasingly now blockchain. And so we don't -- and       12   $159 million of committed capital, we call that capital
13   they all, essentially, are software-based businesses.     13   over the life of the fund, and we call it in like 5
14         So, you know, an easy way to think about it         14   million, 10 million increments so that our limited
15   is somewhere around half to two-thirds of the employees   15   partners hold onto that money until we find a place to
16   are software engineers who make the product. That's       16   invest it. And then -- so, you know, we don't take the
17   the way to kind of think about the kind of companies we   17   $159 million when we close and put it in the bank. So
18   invest in.                                                18   that's why sometimes we don't call the entire fund.
19          And this fund, the 2008 fund, was raised           19   You know, we try to call the entire fund.
20   right as the iPhone and the iOS and Android operating     20         But our investment period is four years.
21   systems were coming to market. So you see a lot of        21   So we don't add any new names to the fund after four
22   companies in that portfolio that were coming to market    22   years, and then we have follow-on investments we make.
23   with mobile applications, native mobile applications      23   So, you know, it's impossible to precisely call exactly
24   like what Kik does. That isn't necessarily what you       24   the amount of committed capital.
25   would see of a current portfolio of ours because that     25         And we do also recycle, meaning we take



6 (Pages 18 to 21)
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                                                    Page 22                                                       Page 24
 1   some investments as they get realized and we reinvest     1    USV?
 2   them. We can do up to about 20 percent of our             2      A Correct. And then in the Series B, I think
 3   committed capital that way. So that's why, you know,      3    that -- I think we did something like 2 million in the
 4   these numbers are a little imprecise.                     4    Series B. And I think that RRE and Spark did a similar
 5            MR. MENDEL: Thank you.                           5    amount and then this wealthy Canadian family. And
 6            BY MR. SCHLEGELMILCH:                            6    there may have -- there may have been some other
 7      Q To date, has the 2008 fund received any              7    investors, but I think that round in total was maybe in
 8   return on its investment in Kik?                          8    the 12 to $15 million range. So maybe we did 15
 9      A No, it has not.                                      9    percent of it.
10      Q Other than Union Square Ventures, are there          10         And then the Series C -- I can't remember
11   other investors in these series of preferred's?           11   exactly how big it was, but I think Foundation put 15
12      A Yes, there are.                                      12   or $20 million into the company. And I think we put
13      Q Okay. Do you know who they are or are                13   maybe $1.5 million in. And I don't remember whether
14   they --                                                   14   Spark and RRE participated, but I suspect they did. My
15      A Well, I do know who they are. I'm -- I'll            15   guess is maybe that was a $20 million round in total,
16   try to do it from memory.                                 16   and so maybe we did seven or eight percent of it. And
17      Q Okay.                                                17   we did zero percent of the Series D. And that's pretty
18      A In the initial Series A offering, there              18   typical of how we would make an investment.
19   were two other venture capital firms, a firm called       19         So, you know, if you think about the way we
20   RRE, which is based in New York City, and a firm called   20   would do -- we're an early-stage venture capital firm.
21   Spark Capital based in Boston and also the Bay Area.      21   So we typically would invest in the C round. Our entry
22            The Series B was those three firms, plus a       22   point in a company would either be in the C round or
23   wealthy family, a wealthy Canadian family whose name      23   the Series A round, and we would be taking a meaningful
24   escapes me, plus a venture capital firm. Oh wait, I       24   piece of those rounds. Maybe as much as half or
25   may be getting this wrong. They may have done the         25   two-thirds sometimes. It could low as a third, you


                                                    Page 23                                                       Page 25
 1   Series C. I think maybe that was the Series B.            1    know, but some meaningful piece of it, right.
 2            And then Series C was those three firms and      2          And then as the follow-on rounds are done,
 3   maybe the wealthy Canadian family, and a firm called      3    the rounds get bigger, and our participation remains
 4   Foundation Capital. And then there was also a Series      4    the same or maybe decreases over time. And so, you
 5   D, which was done by a Chinese mobile Internet company    5    know, we build our position early at a relatively low
 6   called Tencent which owns the WeChat mobile messenger     6    price and we continue to participate for a period of
 7   which is the most popular mobile messenger in China.      7    time. And then at some point we no longer have the
 8      Q And what was the sort of order of magnitude          8    capacity to continue to participate in these rounds of
 9   of the Series D?                                          9    financing. We manage, as I mentioned, relatively small
10       A I think it was 50 million, 5-0.                     10   fund sizes. And if our average investment is something
11      Q Okay. That's very helpful. And sort of --            11   like that 7 or 8 or $9 million, you know, we can't --
12   if it's easier to take them sort of series by series,     12   we can't be taking 20 percent of a Series D of
13   let's do that. But what I'm trying to determine is        13   $50 million. That's larger than the entire position at
14   like sort of the -- to compare the size of USV's or --    14   most of portfolio company. So that's how we operate,
15   I'm using USV as sort of a shorthand for the 2008         15   and that's how most early-stage venture capital firms
16   fund -- but USV's investment versus these other           16   operate.
17   investors in the different series. I'm trying to          17      Q Okay. That makes -- that makes a lot of
18   figure out what -- like how Union Square Ventures'        18   sense, and it's very helpful. Thank you. I'd like to
19   investment compares to the other ones?                    19   take you back to sort of the late 2016 time period.
20      A So in the Series A, I believe, it was                20         What was your view in that time period of
21   two-and-a-half million from all three of us. I believe    21   the investment in Kik?
22   it was a -- roughly seven-and-a-half million dollars      22      A So starting in about 2014, Kik started to
23   round.                                                    23   run into a number of challenges, and we saw sort of
24      Q Okay. So it's about approximately                    24   stagnating usage. We saw companies like Facebook both
25   33 percent of the Series A? The Series A belongs to       25   acquire and also build very large messaging



                                                                                     7 (Pages 22 to 25)
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 1   applications. We saw the emergence of iMessage,            1   off in the summer or fall of 2016. And I don't really
 2   Apple's native messaging platform of the iPhone really     2   remember, but I think by the end of '16 it was already
 3   start to become dominant.                                  3   pretty clear that that process wasn't going very well.
 4           And we also were really struggling with            4   And I think we halted it, you know, in the spring of
 5   trying to generate revenue for the business because our    5   2017. And I think that was a six-to-nine-month
 6   competitors like, you know, iMessage, and others,          6   process.
 7   didn't contain any advertising. So, you know, we           7       Q Okay. So by the time it was halted in late
 8   couldn't just load up our app with advertising because     8   '16, early '17, has it been -- Credit Suisse had been
 9   it would just make the experience less attractive          9   working for about six to nine months?
10   relative to our competitors. And a lot of our             10     A I think so.
11   competing -- a lot of our competitors were owned by       11       Q So what was sort of Kik's financial
12   very large companies who could afford to spend 50 or      12   position going into 2017?
13   $100 million a year, you know, managing a very large      13       A You know, I think we probably went into --
14   mobile messaging application without generating any       14   I think if you looked at the December 31st balance
15   revenue because it was strategic to their overall         15   sheet, you know, maybe we had 30 or 35 million in cash,
16   portfolio of products. We didn't have that advantage.     16   burning two-and-a-half to $3 million a month. And the
17         So the company really, I would say, had             17   thing you have to understand about Kik is even though,
18   been going through a very difficult period, and, you      18   you know, by then maybe we only had 20 or 25 million
19   know, we -- it was maybe into its third year of that.     19   monthly active users, it was a -- it -- that's still a
20   You know, the Tencent investment was sort of premised     20   lot of people using it, right.
21   upon a big strategic partnership between Kik in the       21          You know, relative to a WeChat or a
22   U.S. and WeChat in Asia that never really materialized.   22   WhatsApp or a Facebook messenger or an iMessage, it's a
23   So, you know, we sort of came up empty on that.           23   10th of the size of those user bases. So, you know, it
24         And so we decided to see if there was, you          24   doesn't look like, you know, a particularly successful
25   know, a big company in the United States, a big           25   application, but, nevertheless, to run a mobile


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 1   Internet company in the United States that didn't have     1   messaging app that, you know, 20 or 25 million people
 2   a mobile messenger that wanted to have a mobile            2   are using is an expensive proposition. You've got
 3   messenger or didn't have a popular mobile messenger        3   servers, you've got bandwidth, you've got engineers.
 4   that wanted to have a mobile messenger.                    4   You know, you got to keep this thing up and running,
 5          We hired Credit Suisse. We went around and          5   and people are -- expect those messages to go through
 6   talked to everybody, and, you know, we, essentially,       6   and to go through instantly.
 7   came up empty. And that, you know, is kind of where we     7      Q    The overhead's very high?
 8   were at the end of 2016.                                   8      A Correct. I mean, regardless of whether you
 9      Q Okay. So just -- to make sure I understand            9   have revenue or not, you've got a cost structure to
10   your testimony, so is it fair to say that Kik has never   10   maintain that. And so, you know, we were spending, you
11   really had a significant source of revenue?               11   know, a fair bit of money against basically no revenue
12      A We've tried a lot of things. We've tried             12   maintaining the Kik mobile messaging app.
13   being a developer platform, bot platform. We've tried     13      Q    Okay. So I think we -- I mean, you're not
14   using, you know, various sort of in-app promotional       14   the first witness to come in here and to help us
15   things, not ads per se, but, you know, get coupons and    15   understand what happened, but I think our understanding
16   things like that, and we've never been able to really     16   is that sort of at the -- going into 2017 that the sort
17   generate any meaningful revenue out of any of that.       17   of at the then present rate of consumption Kik was
18      Q Okay. So going into -- or coming out of              18   projected to run out of money in the fall of 2017?
19   2016 and going into 2017, the idea was to hire Credit     19      A Correct.
20   Suisse and to find out the buyer for Kik?                 20      Q    And have you heard that described as Kik's
21      A I think we hired Credit Suisse earlier than          21   runway?
22   that. I don't -- I mean --                                22      A Yeah. That's a -- just a very common term
23      Q Tell me what you recall about that.                  23   used in the world of startup is cash runway, runway,
24      A Well, I don't have a precise recollection            24   cash-out date. You know, all companies -- I mean, you
25   of it, but I feel like the Credit Suisse process kicked   25   know, the startup business is -- I mean, think about



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 1   the startup business. What is the startup business? A     1    costs. We had very large infrastructure costs to just
 2   startup business is you put money into a money-losing     2    maintain the network, the Kik network, right.
 3   business, and the team and the board and the investor     3           So even if we would've cut the headcount in
 4   group basically work over the course of, you know, some   4    half, which we didn't do, I don't think we could have
 5   period of time which is 3, 5, 7 years to build that       5    necessarily cut the burn rate. I don't think there was
 6   business to get a revenue or a monetization model and     6    any scenario in which we could've cut the burn rate
 7   then to ultimately get that business profitable. And      7    below $2 million a month.
 8   these companies face multiple cash-out dates along the    8       Q Okay. And that was actually my next
 9   way.                                                      9    question that because of the cost of running a
10          And so you -- you know, you hope that you          10   messenger app, there should -- the overhead can only go
11   can generate enough progress that you can get another     11   so low and have the messenger apps work?
12   round of financing done. So that's why you have Series    12      A Right. Exactly.
13   A, Series B, Series C, Series D, right. And so it's a     13      Q Okay. And is it also fair to say that you
14   pretty common thing that you'd have a money-losing        14   and other members of the board were growing sort of
15   business that would be running out of money.              15   increasingly frustrated of Mr. Livingston's performance
16          And then the other things to think about           16   as a CEO during this time period?
17   are can you bring in revenue, and how quickly can that    17      A That is true.
18   revenue start to cover your cost base? Can you reduce     18      Q Okay. What was -- and Mr. Livingston, it's
19   your cost base to extend your runway? Can you bring in    19   Ted Livingston; is that correct?
20   outside capital or potentially can you find a strategic   20      A Correct.
21   buyer for the business?                                   21      Q And what was it that frustrated -- I'm
22          And so those are -- you know, think about          22   talking about you. I don't -- you don't need to speak
23   you're like a juggler and you've got all those balls in   23   for the other members of the board.
24   the air. And so it's just not one of those; it's all      24          What was it during this time period that
25   of those, right. And you're constantly trying to          25   frustrated you about Mr. Livingston's performance as


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1    manage that, manage your cash-out date, manage your       1    CEO?
2    revenue line item, manage your cost structure, managing   2       A Well, Ted's an optimist, you know. And
3    your financing prospects, managing your strategic value   3    he's always seeing the bright side of things. And, you
4    to others. And then -- and that's what we were doing.     4    know, the business was not doing well, you know. And I
5       Q So just to make sure that I sort of                  5    think that, you know, his mode of operation is always
6    understand where we're at, so going into 2017, Kik had    6    to try something new, you know, try something new.
7    tried to find a strategic buyer unsuccessful?             7    We're going to get -- we're going to do this thing and
8       A Right.                                               8    it's going to work, right. And, you know, I just think
9       Q Kik had about 30 to $35 million in the bank          9    everybody around the company was starting to, you know,
10   to fund its operation?                                    10   lose a little bit of faith in that.
11      A Right.                                               11      Q Okay. What was your -- in the same time
12      Q Kik was burning about $2.5 million a month;          12   period, the early 2017 or sort of going into 2017, what
13   is that correct?                                          13   was your outlook on the -- on your firm's investment in
14      A I think more. I think it was north of                14   Kik?
15   three, and then in the February-March-April time frame,   15      A You know, we were not -- we were not that
16   we did a head count reduction and it took it down to      16   positive about, you know, the potential value creation
17   about two and a half.                                     17   of our equity investment in Kik.
18      Q I see. So Kik is -- the runway for Kik,              18      Q Now, in sort of other --
19   the financial runway for Kik ends in the fall of 2017     19      A Well, you know, let me just say something.
20   unless significant reductions in costs are made to        20      Q Please.
21   extend the runway?                                        21      A I never want to give up on a company. I
22      A Yeah. Right. But there's a limit to how              22   never want to give up on a founder. I never want to
23   far we can take down costs. I mean, we could have         23   give up on a team. I never want to give up on the
24   potentially cut our headcount maybe in half, but          24   users. You know, there's a lot of people in the
25   headcount wasn't maybe more than half of all of those     25   venture capital business who would've turned around and



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 1   run the other way from that company by then, and I'm        1   you.
 2   not that kind of investor.                                  2          Sort of building on that, how much of your
 3          I'm going to stick with a company until the          3   time personally was spent on Kik in this sort of early
 4   bitter end. And I'm going to try like hell to figure        4   2017 -- and if you want to talk about it on a monthly
 5   out how to make something go of it because that's what,     5   or a weekly or a daily basis, whatever basis sort of
 6   you know, I, as an investor and board member, feel like     6   makes sense.
 7   I owe the founders that we invested in, the companies       7          But what you're describing sounds like a --
 8   we invested in, the employees who work at those             8   far more than just making a financial investment and
 9   companies, and the users of those products.                 9   saying I really hope it works out?
10      Q That actually sort of anticipates what my             10      A You know, they come and -- these things
11   next question was. Because we -- you know, in this job     11   come and go. You know, there are periods of time when
12   I've had the opportunity to talk to a lot of venture       12   you're spending maybe as much as 20 or 30 percent of
13   capital investors, and there seems to be a general         13   your time on a specific company. It could even be 50
14   consensus that you want a company to fail fast.            14   or 60 percent of your time, and then there's times when
15          And it seems like that is not an investment         15   you're spending like literally one to two percent of
16   philosophy that you have; is that correct?                 16   your time on a company.
17      A No. I actually -- you know, if you look at            17          It's just these companies need help in
18   me as just a rational investor, that is absolutely         18   waves. And so with that, I would say that while the
19   true. It would be way better for Union Square Ventures     19   Credit Suisse process was going on I was not that
20   and me personally for the things that fail to fail         20   involved. I was somewhat involved, but not that
21   quickly and the things to succeed to succeed quickly       21   involved. Once it became apparent that the Credit
22   because that would allow us to invest most of our          22   Suisse process wasn't -- became apparent to me that the
23   capital and most of our time in things that are working    23   Credit Suisse process was not going to succeed, I
24   and not in things that are not working.                    24   started thinking a lot about whoa, what are we going to
25          But I also believe that it's a very                 25   do.


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 1   competitive business, the venture capital business, and     1      Q Okay. And it began to take up a lot more
 2   you compete every day to get an entrepreneur to take        2   of your time?
 3   money from you versus somebody else. It's not like the      3      A Uh-huh.
 4   public markets where if you want to buy Amazon, you can     4         MR. LEASURE: Why do you think Kik -- you
 5   buy Amazon. If you want to buy an investment in Kik,        5   know, the Credit Suisse process didn't work for Kik?
 6   you're going to go through a beauty contest, and the        6        THE WITNESS: You know, by 2016, most
 7   entrepreneur's going to pick one or two or three firms      7   companies that wanted a mobile messenger had bought a
 8   and let you do that, right.                                 8   mobile messenger or built one, and the companies that
 9          So you're -- so you have to differentiate            9   you would think would want one that didn't have one
10   yourself in the hearts and minds of entrepreneurs. And     10   like Amazon, Twitter -- you could argue that Twitter
11   I think the only way you can really do that is by what     11   direct messaging is a mobile messenger, but I really
12   you do after you make your investment, rolling up your     12   don't think that's true. And I just think that, you
13   sleeves and helping the company. And that is what we       13   know, we kind of missed the window where we -- where
14   do at Union Square Ventures, that. And if you surveyed     14   our strategic value was highest and, you know, we,
15   the market what you would find -- a brand, the brand of    15   frankly, waited too long.
16   me and the brand of all the partners in Union Square       16         MR. LEASURE: Got it. So if I can ask you
17   Ventures. That is what you would hear. We are              17   to do an alternative history, and I'm asking you to
18   supportive investors. We are committed investors. And      18   speculate. Kik in real history raised money through a
19   we stick with our companies.                               19   token offering in 2017, right?
20          And so it is not rational on, you know, a           20         THE WITNESS: In 2017?
21   marginal dollar basis to behave that way, but I think      21          MR. LEASURE: Yeah.
22   it is actually rational if you're thinking about the       22          THE WITNESS: Right.
23   lifetime value of a venture capital firm to behave that    23        MR. LEASURE: Let's say it didn't. And the
24   way.                                                       24   runway, you know, money was still spent and all of
25      Q I understand. That's very helpful. Thank              25   that, what would have happened to Kik?



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1             THE WITNESS: I think it was bought, but it        1   and the people involved?
2    would have been bought in a more challenged type of        2          THE WITNESS: Yeah. Absolutely. I mean,
3    transaction, you know, maybe a more distressed type of     3   that's not a happy outcome, but it's also not an
4    transaction.                                               4   unusual outcome. I mean, if you think about a venture
5             MR. LEASURE: At a lower valuation than say        5   capital portfolio -- and this is true, I think,
6    the earlier rounds of funding that Kik had received?       6   probably of every early-stage venture capital -- when I
7             THE WITNESS: Yes. But also, you know,             7   say early-stage, I'm talking about people who invested
8    maybe, you know, we would have, you know, slashed the      8   seed in Series A, but not -- this would not be true of
9    headcount costs. I mean, it would have been, you know,     9   people who typically invest later on.
10   a much more -- I think it would have been kind of a --    10          You know, you're going to see at least a
11   you know, kind of a challenging type of sale process.     11   third of the portfolio end up being completely
12            BY MR. SCHLEGELMILCH:                            12   worthless. You're going to see another third of the
13      Q Fire sale?                                           13   portfolio end up not being worth, you know, a
14      A You could use that term.                             14   meaningful amount of money, and then you're going to
15            MR. LEASURE: And was that in people's --         15   see pretty much 80 to 90 percent of all the value
16   sorry.                                                    16   distributed out to the investors coming out of that
17            Was that in -- was it your sense that that       17   final third. And it can often be one or two companies
18   was a prospect that was in Kik's management mind as a     18   that make up, you know, 60, 70 percent, you know.
19   possibility in early 2017?                                19          So it is -- and that is true of all venture
20            THE WITNESS: I can't really speculate what       20   capital portfolios that I've ever been involved with.
21   was on Kik management's mind. I can tell you what I       21   It's just -- it's the sort of the plutonium physics of
22   thought --                                                22   it, the venture capital. It's just -- it's true.
23            MR. LEASURE: Yes.                                23          So, you know, by, you know, the end of
24            THE WITNESS: -- but I can't tell you what        24   2016, that's where this company was in our portfolio.
25   they thought.                                             25   I mean, you know, I don't know that you subpoenaed our


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1             MR. LEASURE: Was that what you were               1   schedule of investments, you know, for 2008 fund, but
2    thinking?                                                  2   if you did, you know, I don't know where we were
3             THE WITNESS: Yeah. I thought that was a           3   carrying at year-end 2016. But it wouldn't surprise me
4    distinct possibility.                                      4   if we'd written it to zero or at least written it down
5             MR. LEASURE: And you -- it sounds like            5   below our costs by then, you know.
6    you've been -- you've for a while worked as an early       6          So, you know, we certainly had it either in
7    stage -- an early-stage investor in the space for a        7   that third that's going to not work or headed to that
8    while?                                                     8   third that's not going to work. And, you know, we're
9             THE WITNESS: Uh-huh.                              9   pretty aggressive at taking our write-downs. So, you
10            MR. LEASURE: You've seen companies go down       10   know, we sort of had made peace with that.
11   that ground before?                                       11          MR. LEASURE: I meant to ask this, and I
12            THE WITNESS: Right. Absolutely.                  12   apologize. How often did this fund do evaluation of
13            MR. LEASURE: Okay. And I take it that's          13   its Kik holder?
14   not -- I mean, I can appreciate from what you're saying   14          THE WITNESS: Every quarter.
15   there from your perspective and from the founders'        15          MR. LEASURE: Every quarter.
16   perspectives running a business is not just set on the    16          THE WITNESS: Every company in all of our
17   marginal dollar expense, it's also an emotional --        17   funds are evaluated every quarter.
18            THE WITNESS: Right.                              18          MR. LEASURE: Okay. But what was Kik, if
19            MR. LEASURE: You know, that is an                19   you remember? It sounds like your estimate in late '16
20   emotionally unpleasant road to go down.                   20   with Kik was at near zero in terms of USV's internal
21            THE WITNESS: Right.                              21   evaluation?
22            MR. LEASURE: The distressed or fire sale         22          THE WITNESS: Yeah, yeah. I don't remember
23   process.                                                  23   if we -- I know we took the value down below our cost.
24            THE WITNESS: Uh-huh.                             24   I don't know if we wrote it to zero, but, you know, we
25            MR. LEASURE: I take it for the founders          25   certainly acknowledged that it was, you know, an



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 1   underperforming investment on our books.                   1   billion dollars was accurate for purposes of USV's
 2            Now, we have taken it back to cost.               2   book?
 3            MR. LEASURE: Is that where it currently           3       A We never -- we never valued our investment
 4   is?                                                        4   in -- the equity value of our investment at Kik
 5            THE WITNESS: It is currently at cost.             5   anywhere near that number.
 6            MR. LEASURE: Okay. So it's increased from         6           MR. MITCHELL: Why not?
 7   late '16, but it hasn't gone to one of the -- you know,    7           THE WITNESS: We generally don't -- I don't
 8   when you say you value that cost, I take it hasn't gone    8   believe that finance evaluations are indicative of what
 9   to one of the third of the portfolio that provides all     9   companies would typically trade at. And we want to
10   the return?                                               10   value our investments that -- where companies would
11            THE WITNESS: No. It's still, you know, a         11   trade at because we don't want to have an investment in
12   relatively de minimus part of the overall value of that   12   a company that we're carrying at a billion dollars and
13   fund. Whether it's a cost -- you know, some of this is    13   then have it sell for $250 million. That would look
14   just signalling to our investors, you know. You know,     14   very bad, I think, in terms of our, you know, ability,
15   we also write, you know -- you know, we write something   15   to manage capital for others.
16   about our companies. But some of our investors just       16           MR. LEASURE: Can you outline for me -- and
17   like to look at the numbers, and they can just kind of    17   I don't need specific names. Can you outline for me
18   tell by looking at the numbers and how things are         18   the investor base of this particular 2008 fund?
19   changing. Like that in some ways to them is a more        19           THE WITNESS: It's in the response that we
20   efficient way for them to understand what's going on in   20   gave you, every single limited partner.
21   the portfolio.                                            21           MR. LEASURE: Oh, apologies.
22            So we do like to use value. We're required       22           THE WITNESS: But what I would tell you is
23   by GAAP, by the way, to value. We get audited once a      23   that about 20 institutions make up about 80 percent of
24   year, right. So we're not -- we don't have to value on    24   the capital, and then about 100 to 150 individuals make
25   a GAAP basis quarterly, but we typically use the same     25   up about 20 percent of the capital. And the


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 1   methodology which is that you should be carrying your      1   institutions are, you know, what you would expect; it's
 2   investments at what their fair market value is. That's     2   public pension funds; it's college endowments; it's
 3   what GAAP is.                                              3   that kind of thing.
 4            BY MR. SCHLEGELMILCH:                             4          MR. LEASURE: Got it. But that anticipates
 5         Q And it's your memory that in early 2017            5   my last question on that that it's not an unusual
 6   that USV was carrying it at -- below its cost?             6   investor base for this space? This particular fund,
 7         A When?                                              7   would you say it's a typical investor base?
 8         Q Early 2017. I don't know what I said, but          8        THE WITNESS: I think it's very -- our
 9   that's what I meant to say.                                9   investor base is very typical.
10      A Yeah. I think that's right.                          10         BY MR. SCHLEGELMILCH:
11            MR. MENDEL: Do you remember the quarter          11      Q And I think you said earlier that you serve
12   when you elevated the value of it to cost?                12   on Kik's board?
13            THE WITNESS: I think that after the              13      A That is correct.
14   company completed its ICO we took it back to cost.        14      Q Okay. How long have you served on the
15            BY MR. SCHLEGELMILCH:                            15   board?
16         Q And do you recall during the Tencent              16     A Since we made our investments in Kik. So
17   investment in the Series D that Kik had been valued at    17   whenever that was. It was either 2011 or 2012. We
18   a billion dollars?                                        18   could actually probably figure that out. I mean, we
19         A That is correct.                                  19   probably have it somewhere, but it's since then.
20         Q Okay. In late 2016, early 2017 did you            20      Q And, again, this is just for sort of
21   think that that was an accurate valuation for the         21   purposes of cast of characters, in this late 2016,
22   company?                                                  22   early 2017 time period, who else served on the board
23         A So we never wrote our investment up to that       23   with you?
24   valuation.                                                24      A Paul Holland from Foundation.
25         Q So, in other words, you didn't think a            25      Q Okay.



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 1       A Jim Estill who is an entrepreneur and Angel          1       A I would say that over the history of the
 2    Investor in the Waterloo/Toronto region, Ted              2    company I probably have been the closest to the product
 3    Livingston, Peter Heinke, and Sam Spadafora who's the     3    and the strategy and the business model issues. I
 4    chairman of the company who's a Silicon Valley            4    think that, other than Ted, of course, and Peter, I
 5    entrepreneur.                                             5    have been the director who is probably the most fluent
 6       Q Okay.                                                6    in the market segments that they operate in and
 7      A And I think that's it. I could be missing             7    provided a lot of counsel over the years to Ted and the
 8    somebody, but I think that's it.                          8    management team around those issues.
 9        Q And Mr. Livingston is the -- was the CEO or         9       Q In addition to that sort of informal role,
10    is the CEO of Kik?                                        10   do you serve on any committees of the board or are --
11         A He is.                                             11   does the board have committees?
12         Q And Mr. Heinke?                                    12     A The board does have the committees. I'm
13         A Yes.                                               13   not on the comp committee, and I may be on the audit
14         Q And what -- did he -- he was an employee of        14   committee. I think I am on the audit committee.
15    Kik, correct?                                             15         MR. LEASURE: Can I ask one follow-up?
16      A CFO.                                                  16         You said -- correct me if I'm wrong -- that
17        Q CFO. I'm going to change gears. So this             17   you are familiar with the segments that Kik operates
18    is a fine time for a short five-minute break.             18   in; what did you mean by that?
19             So why don't we go off the record.               19         THE WITNESS: You know, mobile
20             THE VIDEOGRAPHER: Going off the record.          20   applications, mobile messaging applications,
21    The time on the video monitor is 10:25 a.m.               21   monetization around those sectors, competitive dynamics
22          (A brief recess was taken.)                         22   around those sectors, things like that.
23          THE VIDEOGRAPHER: We are back on the                23         MR. LEASURE: Got it. Kik runs a messaging
24    record.                                                   24   app, correct?
25             The time on the video monitor is 10:36 a.m.      25         THE WITNESS: Correct.


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1             BY MR. SCHLEGELMILCH:                              1           MR. LEASURE: And does it -- does that
2          Q Welcome back, Mr. Wilson. You're still              2   messaging app from your sense have a particular user
3    under oath. I'm going to ask you a question that seems      3   base or focus on a particular group or groups?
4    ridiculous, and there's a whole sort of apocryphal          4           THE WITNESS: Yeah. It's mostly young
5    history about why I have to ask it. But I have to ask       5   people. And, you know, it -- it's not so much a
6    it.                                                         6   utility in the way that maybe iMessage is a utility.
7             And it's: Did you or any member of the             7   People use it more socially than that, which is part of
8    staff -- and by the staff I mean all the people on this     8   the reason it appeals to the younger audience.
9    side of the table -- have any substantive conversations     9           MR. LEASURE: And everyone's younger me.
10   during the break?                                          10           BY MR. SCHLEGELMILCH:
11         A No.                                                11       Q Yeah. I was going to ask the same
12         Q Okay. Your counsel shouldn't be interested         12   question.
13   but can tell you the -- sort of the apocryphal history     13           As a 45-year old, what do you mean by
14   of why that question is asked, but there you go. Yeah.     14   young?
15   That's pretty much what I expected.                        15       A From the minute you get your first phone
16            You mentioned prior to the break that you         16   until you get a real job.
17   served on the board of Kik. What are your sort of          17       Q All right. Just to sort of change gears a
18   roles and responsibilities on the board sort of            18   little bit. In September of 2017, Kik launched a
19   understanding that every board is different and every      19   digital token called Kin, correct?
20   board member is different? What do you do for Kik on       20       A Give me the date again, please.
21   the board? What's your role?                               21       Q Certainly. The month of September 2017.
22         A Are you asking what the board's role is or         22   During that month?
23   are you asking what my role is?                            23       A When you say launched, what do you mean by
24         Q The latter. But if you need to answer the          24   launched?
25   former to answer the latter, that's fine, too.             25       Q They had a -- the token distribution event?


                                                                                     13 (Pages 46 to 49)
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                                                        Page 50                                                      Page 52
 1      A Yeah, that's correct.                                    1   just felt like, you know, the time had come for us to
 2      Q It sort of went live, the tokens were                    2   do it.
 3   distributed?                                                  3       Q And why this time -- and I think the time
 4      A Right.                                                   4   period you're referring to is like late 2016, early
 5      Q There was a lot of lead-up to that event?                5   '17, why then?
 6      A Uh-huh, right.                                           6       A Look, if we're going to sell the company,
 7      Q And we'll talk about that probably for the               7   we don't need to do it, right. You know, then whoever
 8   balance of the day.                                           8   buys the company is going to do what they want to do
 9      A Right.                                                   9   with the business. And so it made no sense to pivot to
10      Q But the event was in 20 -- was in                       10   an entirely new business model when the plan was to
11   September 2017?                                              11   sell the company.
12      A Correct.                                                12           But once that was off the table and there
13      Q Okay. Where did the idea of launching a                 13   really wasn't a strategic buyer who was going to step
14   digital token come from?                                     14   up and do it, it seemed to me that, you know, we'd
15      A Are you asking within the Kik management                15   tried all the obvious things and, you know, they hadn't
16   team where did that come from? I mean, because that          16   worked. And, on top of that, you know, we were
17   idea is out there, you know, broadly in the world. You       17   increasingly seeing success stories out there in the
18   know, there's literally, you know, thousands of people       18   crypto market of people, you know, building and
19   who've done something like that now, right. So you're        19   launching crypto tokens and people using them to build
20   not asking me like who came up with the idea of doing        20   things.
21   something like that, are you?                                21           And so it just seemed to me that, you know,
22      Q I am not asking about who came up with                  22   we could do it and be the first mobile messenger to do
23   blockchain or the idea of using blockchain.                  23   it and that we should do it. And just, you know, I --
24      A Uh-huh.                                                 24   it -- you know, all of the reasons that had gotten in
25      Q That's been around since -- I don't know --             25   the way of us doing it in the past, in my view, had


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 1   2008, 2009, whenever Bitcoin went live.                       1   essentially come and gone, and there was no reason not
 2      A Well, the idea's been around for a lot                   2   to do it at this point.
 3   longer than that. I mean, the idea's probably been            3      Q What were the reasons that had sort of
 4   around since the late 90s.                                    4   stopped you from doing it in the past or stopped Kik
 5      Q Okay. My specific question -- and I                      5   from doing it in the past?
 6   appreciate the clarification for the record.                  6      A You know, I mean, probably the first and
 7         My specific question is: When did Kik --                7   foremost is that we didn't really have any crypto
 8   the management team of Kik begin to think, hey, maybe         8   engineers. We didn't really have any expertise in
 9   this is something we should do?                               9   building a crypto token and building a blockchain.
10      A Ted and I have had conversations about this             10   We -- you know, it was a very material pivot of the
11   idea on and off since the early days of Kik. But, you        11   business, you know, and there was a lot of risk
12   know, neither of us ever really felt like the time was       12   involved in doing that, right.
13   right until late '16, early '17 when I really started        13         You know, you stop doing the things that
14   pushing on it as what I thought that in a world where,       14   you've been good at and you start doing things that you
15   you know, the large incumbent tech companies have, you       15   don't really have any experience doing, and you might
16   know, essentially taken control of the messaging             16   just completely fall flat on your face. And, as I
17   market, we need a disruptive business model here. We         17   said, you know, if we thought that the likely outcome
18   need a way to compete with them on a dimension that          18   was that we would get bought, you know, that might
19   they won't compete on. And we need a revenue model           19   become very unappealing to a strategic buyer if all of
20   that's fundamentally different than the revenue models       20   a sudden, you know, we encumbered the business with a
21   that they use.                                               21   crypto token and a crypto business model.
22         And, you know, I felt that a crypto token              22         So there was a whole bunch of reasons not
23   could be that. And we already had, essentially, you          23   do it, but I think most of them, as I said, had sort of
24   know, an MVP of a crypto token with our Kik Points           24   come and gone.
25   product which was quite popular. And so, you know, I         25      Q So it sounds to me, based on your



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 1   testimony, that you and Mr. Livingston had a series of     1   think the next big business model for the Internet and
 2   conversations about this; is that correct?                 2   mobile is crypto tokens, and I was a believer. And I
 3      A Going back to at least 3 or 4 years                   3   thought we could be the first messaging app to do it.
 4   earlier.                                                   4      Q And is it also fair to say that the
 5      Q Were other people either at Kik or on the             5   issuance of these -- of a crypto token would also bring
 6   board involved in these conversations?                     6   in either fiat currency or another digital currency in
 7      A Yeah. I think that we may have talked                 7   the -- when the tokens were sold?
 8   about it very briefly at a few board meetings over         8      A That's part of the business model is that
 9   time, but never very seriously. And I'm sure that          9   you sell the crypto tokens in a Genesis Block sale or a
10   Peter was involved in some of those conversations and     10   token distribution event or whatever you want to call
11   probably other members of the Kik management team at      11   it. You raise the capital to get the flywheel going,
12   one time or another may have been involved in those       12   to fund the business until the flywheel can go. You
13   conversations.                                            13   also bring a community of buyers to the table, some of
14      Q How would the issuance or the creation of a          14   those might be developers who build applications, some
15   crypto token, as you call it -- how would that help       15   of those might be users who are incentive to come and
16   Kik?                                                      16   earn and spend those things.
17      A Well, it just creates an entirely new                17         If you look at Bitcoin, if you look at
18   business model. See, so Kik Points -- we often thought    18   Ethereum, if you look at the successful crypto tokens
19   that we could build a business model around Kik Points,   19   that have been merged, there is a -- you know, there's
20   that we could get developers to come and build            20   a community buy-in, you know, that goes on, and that's
21   applications or bots inside of the messaging platform,    21   what these token distribution events are all about.
22   and we could incentivize them with Kik Points and they    22   And it's putting skin in the game. It's, you know,
23   could earn Kik Points and then they could monetize        23   getting in.
24   those Kik Points and that we could also share in that     24         You know, imagine if the first users of
25   value creation.                                           25   Facebook got shares in Facebook. Imagine how wealthy


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 1         But we never came up with a way to make Kik          1   they would be, but they didn't make a dime on Facebook
 2   Points worth anything to anybody because they didn't       2   because Mark Zuckerberg and the investors in Facebook
 3   have any intrinsic value outside of Kik. And the idea      3   and the employees of Facebook got all of that money,
 4   of making them a crypto token that could trade on an       4   and all of the people who made Facebook what it is,
 5   exchange and be exchanged for other cryptoassets like      5   which is a social network, didn't make a fucking dime.
 6   Bitcoin or Ethereum or even for fiat currencies would      6   And that's what crypto token is going to change.
 7   establish a value of what a Kik point was worth.           7        The first people in the game are going to
 8          And then developers would be interested in          8   make the most money. That's why Bitcoin, the first
 9   coming and building games or other digital assets          9   minors got the most Bitcoin. And that's the crypto
10   inside of Kik and earning those. And, also, we could      10   token business model. And that's very appealing to me
11   earn those. And we could be in partnership in a way in    11   and I wanted to see Kik do it. And they're not the
12   sort of like a marketplace business model with those      12   only mobile messaging app that's doing it now.
13   developers around that, and that could turn into a        13   Telegram is doing it. Line is doing it. Even Facebook
14   meaningful amount of money every month for us that we     14   is doing it, right.
15   could use to sustain the cost operating of the            15         So all of the other mobile messaging apps
16   platform, which is really -- the fundamental problem we   16   are copying us, but we were the first ones to do it.
17   have is that we couldn't pay for the day-to-day cost of   17   We wrote the first white paper. We got there first.
18   operating this messaging platform. We needed to come      18   We did the first token distribution event. Now, we're
19   up with a way to do that.                                 19   going to have to execute and beat everybody in terms of
20         So for me it was -- it's a business model.          20   actually delivering it, which we're working hard on
21   And, you know, that's what interests me about this        21   doing but we were the first.
22   whole sector. And when I say whole sector, I'm talking    22      Q Okay. And so part of the change in
23   about the crypto sector. In fact, I think it's the        23   business model is that however much money or fiat
24   next big business model, you know, after banner ads and   24   currency, or either or whatever it is, that is sort of
25   search advertising and social and in-app purchases. I     25   taken in in this distribution event is used by Kik in



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 1   this instance to sort of fund its -- to keep the lights      1    advantage. We want to do the next big thing, and, yet,
 2   on, to keep the servers humming, and to --                   2    we don't know how to do it in a compliant way. There's
 3      A And to build out the blockchain, and, you               3    no rules. It's a real problem.
 4   know, to build all the security and all the other            4       Q So just to sort of dial this back a couple
 5   things that you need to do to do this business model.        5    minutes. The idea, as you understood it, was that Kik
 6      Q And the reason why somebody would get in at             6    could issue a token, a digital token, and people would
 7   the ground floor, would get in at this token                 7    purchase the digital token and it would be sort of akin
 8   distribution event level is to use the idea that you         8    to getting in on the ground floor of Facebook?
 9   said about Facebook is to sort of get in on the ground       9       A Yeah. But you could also earn it. You
10   floor and when it -- to make money.                          10   don't have to just purchase it. You could also earn
11        When it goes up, everyone goes up?                      11   it. You could just, you know, use your Kin app, and
12      A The problem we have in the startup economy              12   you could earn it and you could spend it and you could
13   is the only people who are allowed to invest in              13   do it that way, too.
14   startups are accredited investors and institutional          14           I mean, this is -- there's -- the beauty of
15   investors, and, yet, the people who are using these          15   it is you don't have to just buy it. You can also earn
16   products whether it's Facebook or Twitter or Amazon or       16   it, right. But, yes, you can buy it, if you want to do
17   eBay or Uber or Airbnb or whatever, they can't even          17   that.
18   invest in these companies. They're not allowed to.           18      Q Okay.
19   It's wrong. You guys got to change the rules.                19      A Not everybody wants to mine Bitcoin, right?
20      Q No rules are made on the first floor of                 20   Some people just want to buy Bitcoin.
21   this building.                                               21      Q And the idea is that there's a -- there
22      A I understand, but I'm just saying this is a             22   would be a finite amount of what became known as Kin?
23   problem. It's a real problem, and crypto tokens is           23      A That's a big part of the crypto token
24   going to solve this. That's why we've got to get             24   business model is that there's a finite amount of it,
25   excited about crypto tokens. You've got to stop              25   and no more of that will ever be created so that people


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 1   fighting it, and you've got to start supporting it.           1    know that the company can't just keep issuing it,
 2   Give us guidance. Give the boards of these companies          2    right, that there's no -- and that's -- I mean, that's
 3   guidance on how to do a crypto token offering in a            3    built into -- that's locked and loaded in the
 4   proper way.                                                   4    technology. It cannot be changed.
 5          But not just the offering. What happens                5        Q It's sort of infinitely divisible, but it
 6   afterwards, when they're traded? But we, the boards of        6    cannot be -- more cannot be --
 7   these companies and management companies, are operating       7        A Right. The most famous one is there's 20
 8   without any guidance. All we can see is Bitcoin did           8    million Bitcoin, and that's it.
 9   this, Ethereum did this, Tezos did this, BioCoin did          9        Q Right.
10   this, okay. That was all cool. Nobody stopped any of         10        A There will never be more than that.
11   that. Precedence set. We're going to follow those            11        Q And the idea sort of -- let's say starting
12   best practices and all will be cool. That's what --          12    in like May of 2017 sort of once the idea begins to
13   that's the only thing we've got.                             13    crystallize, the idea is that there would only be --
14          It's not enough. Guidance. Give us                    14    what is it -- ten trillion --
15   guidance. Tell us how to do it. We'll do it.                 15        A Correct.
16      Q    Well, I have no guidance for you here                16        Q -- Kin?
17   today. If -- you're going to be disappointed by a lot        17        A Correct.
18   of things that happen today, but let me get that out of      18        Q And I think it's one trillion Kin would be
19   the way to start with. I have no guidance to offer.          19    sold in the token distribution event?
20      A All right. Well, in the absence of                      20        A Correct.
21   guidance, we're just stumbling in the dark, and that's       21        Q Thirty trillion Kin -- not 30.
22   really, really bad. You know, as a board, it's a             22        A Three.
23   really, really bad place to be. We want to execute a         23        Q Three trillion Kin would go to Kik?
24   crypto token business model. We want to be able to           24        A Uh-huh.
25   compete with these incumbents so we have a competitive       25        Q And -- is that a yes?


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 1      A That's correct.                                          1   We've got a team of engineers in Waterloo who are doing
 2      Q And it would be sort of, I think, doled out              2   most of the work on the Kik side. And so, you know,
 3   quarterly for ten quarters?                                   3   we're spending some of the proceeds of the token
 4     A Vested.                                                   4   distribution event on doing that.
 5      Q I see. So it's -- they would get it -- Kik               5          MR. MITCHELL: And the people in Tel Aviv,
 6   would receive it at the moment of the distribution            6   those work for Kik?
 7   event, but it would vest quarterly.                           7          THE WITNESS: Correct.
 8          It would vest quarterly?                               8          BY MR. SCHLEGELMILCH:
 9      A I believe that's -- I mean, I think that's               9       Q And let me just -- so you said "we" a lot
10   how the smart contract works. This is encoded in an          10   in that answer.
11   Ethereum smart contract.                                     11       A Right.
12      Q Okay. And then the Kin Foundation -- which              12       Q By "we," you mean Kik?
13   we'll spend some more time talking about today. The          13       A Correct.
14   Kin Foundation would receive six trillion Kin, correct?      14          MR. MITCHELL: Why do you feel like Kik
15      A For the Kin Rewards Engine.                             15   needs to do those things?
16          MR. MITCHELL: Earlier I think you had said            16          THE WITNESS: Well, we committed to do
17   that after -- sort of after the sale -- after the sale       17   them, right. You know, when we -- when we, you know,
18   of the Kin tokens, you said, I think, something like         18   went to the world with the Kin business plan, that's
19   we'd still need to deliver.                                  19   what we said we were going to do, but that's also what
20          Do I have that right?                                 20   we have to do to make Kin valuable and to make Kin
21          THE WITNESS: Right. Absolutely.                       21   something that can really be a viable business model
22          MR. MITCHELL: What do you mean by that?               22   for us.
23          THE WITNESS: We need to come up with                  23          BY MR. SCHLEGELMILCH:
24   scalable blockchain technology so that thousands, tens       24       Q I'm going to mark an exhibit. We'll mark
25   of thousands, possibly millions of Kin transactions          25   this as 146.


                                                        Page 63                                                          Page 65
 1   could happen in any given day. We need to make sure          1              (SEC Exhibit No. 146 was marked for
 2   it's secure so that the people who own Kin can securely      2              identification.)
 3   hold that Kin and know that it's there. We need to get       3          BY MR. SCHLEGELMILCH:
 4   third party developers on the Kin platform integrating       4       Q I apologize for the copy. I might kill a
 5   Kin into their applications.                                 5    million trees today. I also apologize for the quality
 6          We need to get new developers building                6    of the copies, but I'm going to blame that on Kik. I'm
 7   applications on top of Kin, and we need to get Kin           7    sure this is Kik's fault. And It had nothing to do
 8   working inside of Kik. And we need to get, you know,         8    with SEC's technology.
 9   all of the users of Kik earning and spending Kin inside      9          So I'm going to -- all I'm -- I'm going
10   of Kik. And we're on a road map to do that.                  10   to -- I'm going to get very difficult to do -- what I'm
11          We had to build our own blockchain.                   11   going to ask you to do. But take a minute just to look
12   Ethereum just isn't scaling quickly enough for us to do      12   at this, and I'll read -- I'll sort of describe it for
13   this on Ethereum. So we took a blockchain called             13   the record.
14   Stellar, we forked it. And we're running Kin on that         14         This is an e-mail from Mr. Livingston to
15   blockchain now. And we have third party developers now       15   William Mougayar -- I'm positive I'm mispronouncing --
16   who are integrating Kin into their applications. So,         16   carbon copied to you dated June 21, 2016 at 9:29 a.m.
17   you know, we're executing on that road map.                  17   The Bates number is Kik_00028449. 448 -- no. 449.
18          And I think that we -- we were the first              18   I'm sorry. Okay.
19   messenger to have a crypto token live in the                 19         This is an -- it's an e-mail chain. So
20   application. I think we're going to be the first             20   they work the way all e-mail chains -- the list -- the
21   crypto token to be adopted by multiple mobile                21   earliest is at the bottom, the latest is at the top.
22   applications, and, you know, we've just -- you know,         22      A Although, I would point out that that's not
23   we've got to keep doing that.                                23   the case here. For some reason, my e-mail to William
24          We've got, you know, a team of engineers in           24   is time-stamped 9:31, and the e-mail at the top is
25   Tel Aviv that's doing all the crypto engineering.            25   time-stamped 9:29. That's always puzzled me about this



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 1   one.                                                       1      A Correct.
 2      Q This is rank speculation, but it may have             2           MR. MITCHELL: Who picked Mr. Mougayar?
 3   to do with the fact that some computers are -- what is     3           THE WITNESS: Why did the Kin Foundation
 4   it -- what's the universal time --                         4   pick him versus anybody else?
 5       A Right.                                               5           MR. MITCHELL: No. Who?
 6      Q -- UTC and some computers are local time              6           THE WITNESS: Who picked him? That's a
 7   zone.                                                      7   great question. I'm not entirely sure, actually.
 8           MR. MITCHELL: Just another -- are there            8           MR. MITCHELL: Do you know anyone who was
 9   times you worked in California?                            9   involved in making the decision?
10           THE WITNESS: Yeah, absolutely. But not in         10           THE WITNESS: Well, I mean, this was a
11   June.                                                     11   decision that has been going on for a long time about
12           MR. LEASURE: Take a look at the substance         12   who would be a good board member for the Kin
13   of the text and see if you can come up with a view on     13   Foundation, but I don't know the answer to technically
14   the chronology of the e-mails within.                     14   who appointed him to it. I don't know the answer to
15           THE WITNESS: I mean, this is an odd one,          15   that.
16   right, because it starts out with an e-mail between me    16           BY MR. SCHLEGELMILCH:
17   and William, and the next thing you know, William is      17      Q And the discussion, is that discussion of
18   talking to somebody and it's not clear exactly who he's   18   Kik personnel and board members, is that discussion
19   talking to. And then the next thing you know Ted is       19   among --
20   responding to it. So I, honestly -- I don't know. I       20      A Yeah. And management team members and
21   mean, I vaguely remember this conversation, right.        21   other investors in Kin, people in the Kin community.
22           So -- and it's -- clearly, this                   22   You know, it's a broader group of people than that.
23   conversation happened. I'm not suggesting it didn't,      23      Q Okay. Putting aside the -- sort of the
24   but I'm not entirely sure how this ended up looking       24   discontinuity in time in this document, do you recall
25   like this.                                                25   reaching out in approximately June 2016 to Mr. Mougayar


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 1           BY MR. SCHLEGELMILCH:                              1   and sort of relaying to him that Mr. Livingston is
 2      Q Fair enough. It is what -- well, we are               2   thinking about a Genesis block sale of Kik Points?
 3   presented with what we are presented with. And so let      3       A I do. And the reason I reached out to
 4   me see if I can ask some questions and we can --           4   William was that William was an early advisor to
 5      A Okay.                                                 5   Vitalik Buterin, and the Ethereum Foundation and was
 6      Q -- figure out what you recall about this              6   very familiar with how Ethereum did their Genesis block
 7   conversation.                                              7   sale. And this was one of those moments where Ted and
 8           First of all, who -- and I know I'm going          8   I were kind of talking about, you know, could we turn
 9   to mispronounce it, but, miraculously, it'll appear        9   Kik Points into a crypto token. And I wanted to get
10   correct on the written transcript -- William Mougayar,    10   William's take on that.
11   how do you pronounce that and who is that?                11       Q Okay. And did -- we'll see -- we see it
12     A I think that's how you say his name, and he           12   here and we'll see it a couple other places.
13   is an entrepreneur. He's an Angel Investor. He's an       13           What is a Genesis block sale?
14   author. He runs a conference called the Token Summit.     14       A It's the first -- it's like saying okay,
15   He's been an advisor to Kik, and he is now a board        15   we're going to get a token live and we're going to --
16   member of the Kin Foundation.                             16   the way we're going to do it is we're going to sell --
17      Q Since when?                                          17   like we're going to sell some tokens to a group of
18      A Recently.                                            18   people, and then once those people have it, they can
19      Q Like days, weeks, months?                            19   start trading and the token will be a thing. Like it's
20      A I would say in the last month-ish.                   20   kind of the bootstrap mechanism.
21      Q Okay. Who else is a member of the Kin                21       Q The moment?
22   Foundation board?                                         22       A Right.
23      A Ted.                                                 23       Q Okay. The moment where it becomes a thing?
24      Q Okay. So just Mr. Mougayar and                       24       A Right.
25   Mr. Livingston?                                           25       Q Okay. And Mr. Mougayar responds to you and



18 (Pages 66 to 69)
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                                                            Page 70                                                        Page 72
 1   maybe to Mr. Livingston. And he asks, "Why do you want            1   Genesis sale --
 2   to do this? What is your understanding of the                     2     A Right.
 3   benefits," among other things.                                    3      Q -- and then also Kik would have a -- I
 4           Do you recall -- and then Mr. Livingston in               4   think you said a take rate --
 5   the top e-mail writes that it's a way to raise capital;           5      A Yes.
 6   do you see that?                                                  6      Q -- on each transaction?
 7      A I do.                                                        7      A Correct. And that's really -- you know,
 8      Q And do you recall that being consistent                      8   how do we get Kik Points to be a business model?
 9   with sort of the rationale during this time period of             9   Step 1 is make Kik Points worth something. Step 2 is
10   why Kik would issue a crypto token?                              10   get people developing third party applications where
11      A I mean, clearly, that's what Ted wrote.                     11   users can earn and spend Kik Points. Step 3 is take a
12   And so I'm not going to, you know, try to, you know,             12   take rate on that. Step 4 is build this massive
13   get inside his mind about, you know, what he saw the             13   economy inside of Kik. Step 5 is become profitable.
14   benefits of it were, but I don't think that that was             14      Q And all of those steps require sort of the
15   the only benefit to doing something like this. And nor           15   raising of capital through the Genesis offering?
16   do I think Ted thought so either.                                16      A Well, it requires the establishment of a
17      Q Okay. But it was a benefit?                                 17   market value, and there is no way to get a market value
18      A Absolutely.                                                 18   unless there are buyers and sellers of it in an
19      Q What were the other -- and during this time                 19   exchange environment. And the only way -- the best way
20   period -- because I suspect that you're sort of                  20   to do that is to do a Genesis block sale and to
21   thinking on it --                                                21   bootstrap that.
22      A Right.                                                      22      Q What do you mean by bootstrap that?
23      Q -- has sort of crystallized over time.                      23      A You need some way for Kik Points -- in this
24           In the June 2016 time period, what were --               24   case we'll just call it Kik Points or we can call it
25   what was in your mind of being a benefit of doing a              25   Kin, it doesn't really matter -- to have some market


                                                            Page 71                                                        Page 73
 1   crypto offering?                                                 1    value to be worth $0.10 or a dollar or $50 or whatever.
 2      A To get Kik Points to have real value to                     2          I mean, we can't just say that. I mean,
 3   developers and users and not just sort of phantom                3    you can't just say well, now we believe that Kik Points
 4   value.                                                           4    is worth $0.10. You need the market to establish that,
 5      Q And why is that a benefit to Kik?                           5    and the only way to do that is to sell some and then to
 6      A Because then Kik Points could become our                    6    have exchanges operating where those things are traded.
 7   business model that we could then operate a business, a          7    And people can look at that and say oh, Kik Points are
 8   marketplace, if you will, and we could, you know, tax            8    trading today at $0.10. They must be worth $0.10. I'm
 9   it, you know. And if you think about like businesses,            9    happy to earn Kik Points because I now know that I
10   eBay, Etsy, Uber, Airbnb, you know what people are               10   could sell them for $0.10.
11   basically doing in a -- probably, you know, the most             11      Q And by exchanges, you mean places where you
12   fundamental Internet business model -- is create a               12   can exchange Kin for another -- for Ether or Bitcoin or
13   marketplace and you as the operator of the marketplace           13   fiat currency?
14   tax it, and that's your business.                                14      A Exactly.
15      Q And by tax it, you mean impose some sort                    15      Q Okay. And so it's -- sort of the idea of
16   of --                                                            16   an exchange is -- or not the idea -- the existence of
17      A A take rate.                                                17   an exchange is sort of a necessary precondition to all
18      Q Or a transaction cost or whatever you want                  18   this working?
19   to call it?                                                      19      A Absolutely. And that's the amazing thing
20      A Right, exactly, exactly.                                    20   about what's happened, right. You know what has
21      Q Okay. And that was sort of -- I'm just                      21   happened is Bitcoin has come along and exchanges got
22   trying to make sure I understand how what you just said          22   built up where people could exchange with my Bitcoin
23   relates to this document. That's your understanding of           23   and then they could exchange Bitcoin for dollars or yen
24   one of the ways the business model works is that you             24   or euros. And then Ethereum came along and the same
25   raise capital through the initial offering or the                25   thing happened. And now we have thousands of



                                                                                           19 (Pages 70 to 73)
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                                                        Page 74                                                          Page 76
 1   cryptoassets out there that have come along that can          1   exhibit. This will be 147.
 2   get exchanged.                                                2            (SEC Exhibit No. 147 was marked for
 3         So now we have this economy, this crypto                3            identification.)
 4   economy that exists that allows people to execute this        4          BY MR. SCHLEGELMILCH:
 5   business model. That's the greatest thing that's              5      Q And while you're reading, I'll just read it
 6   happened in the tech sector in -- since the invention         6   into the record. This is an e-mail from you to
 7   of the Internet.                                              7   investment team dated January 15th, 2017, at 7:09 a.m.
 8      Q And returning to Kin, we talked about the                8   And it is forwarding an e-mail that you sent to
 9   ten trillion Kin that exists, the finite number of Kin.       9   Mr. Livingston earlier in the day, just five minutes
10   And the idea is -- I think to build on what you just         10   earlier, six minutes earlier. And it's -- the Bates
11   said, the idea is that each of those Kin are fungible.       11   number on it is USV 0008290 and 91.
12   And what I mean by that is there are no preferred Kin?       12          Have you had a minute to look at it?
13      A A Kin is a Kin is a Kin.                                13      A Yeah.
14      Q And the Kin that, for example, Kik owns,                14      Q Oh, great. You looked like you were lost
15   the three trillion Kik -- the three trillion Kin that        15   in thought.
16   Kik owns, that Kin is worth exactly the same as the Kin      16      A No, no, no, no. Just pondering who Bates
17   that Mr. Mitchell, you know, gets by answering a             17   was.
18   Dunkin' Donuts survey?                                       18      Q Bates is a machine that in the olden days
19      A Correct.                                                19   were used to -- it was the machine that stamped --
20      Q Okay. Now, this e-mail is dated June 2016.              20   physically stamped documents. So now any number -- any
21   I think your testimony was that you recalled some            21   sequentially numbered thing at the bottom of the
22   generalized discussion about a cryptoasset prior to          22   document is called a Bates number.
23   this time period?                                            23      A Presumably, Bates was the man or woman who
24      A As I said, there was an on-again, off-again             24   invented the machine?
25   conversation about could we do something like this           25      Q Or the company that made -- that sold the


                                                        Page 75                                                          Page 77
 1   going back to maybe as early as 2012, 2013, you know.         1   machine, but it was like a physical stamp.
 2   And, you know, Ted and I always thought that like it          2      A Got it.
 3   would be a great thing to do, but then we were always         3      Q That's basically what I learned working at
 4   daunted by how hard it was. And you know, what                4   a law firm.
 5   happened is it got easier and easier.                         5          So I think that this e-mail sort of picks
 6        The big thing that happened was that a                   6   up nicely where you left off in the story that after
 7   standard was built on top of Ethereum called ERC-20           7   the -- after your June exchange with Mr. Mougayar and
 8   that allowed you to build a token, a crypto token on          8   Mr. Livingston sort of nothing happened until --
 9   top of Ethereum. And I don't know when that emerged           9   because the Credit Suisse process was going on; is that
10   but it emerged sometime in 2016. And that really             10   correct?
11   fuelled the creation of new crypto tokens and the sale       11      A Yes.
12   of these crypto tokens and the trading of these crypto       12      Q And in your e-mail to investment team --
13   token. And we all know that and you can just look at         13   and just a little -- to pause there.
14   it and see it. Boom. That -- that, you know, was such        14          What is the investment -- it says, "to
15   a -- I mean, all it was was just a speck, you know, 50       15   investment team."
16   lines of code, 100 lines of code and, yet, what it's         16          What is that? Is that an e-mail group?
17   unleashed is just unbelievable.                              17      A Yeah. It's the subset of the team at USV
18       Q So what happened -- to the extent you                  18   that actively works on investing that would be as
19   recall, what happened after this June 2016 e-mail?           19   opposed to the finance team or the admin team.
20      A Nothing because we were doing a sale                    20      Q Okay. And do you recall who was a member
21   process.                                                     21   of that group, like the names of the people that --
22      Q And by that you mean through Credit Suisse?             22      A Well, it changes because, obviously, people
23      A Yeah. Just was not -- this never got any                23   come and go. But in January of 2017, it would have
24   real, you know, mindshare inside the company.                24   been the five partners we had then. Rebecca Kaden
25       Q Okay. Let me -- let's mark another                     25   joined us in roughly October, November of '17.



20 (Pages 74 to 77)
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                                                       Page 78                                                       Page 80
 1          So the five partners being myself, Brad              1          MR. LEASURE: So any time we see someone at
 2   Burnham, Albert Wenger, John Buttrick, Andy Weissman;       2    USV forwarding something to the other partners and the
 3   plus, Carrie Rachlin, who runs our finance team;            3    investment team, it could be on an FYI basis, it could
 4   Bethany, who runs our portfolio network; Lauren, who        4    be to seek advice?
 5   works with Bethany on our portfolio network; and then       5          THE WITNESS: I would say that -- yes. It
 6   our analysts who -- and Nick Grossman, who does a lot       6    serves both functions.
 7   of things for us, sort of a utility infielder type of       7          MR. LEASURE: Okay. It just depends on the
 8   role; and then our analyst team who is -- at the time       8    context of the e-mail?
 9   was Joel Monegro, Jacqueline Garavente, and Jennifer        9          THE WITNESS: Right.
10   Campbell.                                                   10         BY MR. SCHLEGELMILCH:
11          MR. LEASURE: Do all of the individuals               11      Q Returning to the text of your e-mail, you
12   you've mentioned, the partners, the analysts, I think       12   write at the very top, "I participated in a call with
13   the finance team you might have mentioned, too -- at        13   Credit Suisse on Friday in which we learned that the
14   the time, did all of them work on Kik and the Kik           14   Kik sale process is doing poorly with most of the
15   investments?                                                15   target buyers having passed in the last two weeks
16          THE WITNESS: No, no. But, you know, our              16   setting a number of things including declining user
17   culture is that we share information with each other.       17   numbers, a large team with no revenues, heavy losses to
18   We support each other on our investments. So, you           18   absorb, and messaging not being strategic or they
19   know, my job as a board member is enhanced by input         19   already have one."
20   from the investment team, largely from the partners,        20         What I -- my first question -- I think you
21   probably an 80/20 thing but to some extent the other        21   talked about it quite a bit already this morning --
22   people on the investment team.                              22   but -- is: Who do you recall Credit Suisse reaching
23          MR. LEASURE: So is it fair to say that               23   out to during this process or which companies or
24   within USV, you were the point person for the Kik           24   potential buyers?
25   investment?                                                 25      A We talked to all the usual suspects. I


                                                       Page 79                                                       Page 81
 1          THE WITNESS: Absolutely.                              1   mean, the big Internet companies, Facebook, Apple,
 2          MR. LEASURE: Okay. And I take it some of              2   Google, Amazon. We talked to Twitter. We talked to
 3   the other partners were point people for other --            3   some of the other messaging apps like Vine, and
 4          THE WITNESS: Every investor has a point               4   Tencent, WeChat who was already an investor in the
 5   person.                                                      5   company. More than that for sure. Maybe we talked to
 6          MR. LEASURE: And so they, in turn -- I'm              6   some of the big tech companies like Microsoft and IBM.
 7   making up a company that has a point person, right?          7         I mean, I don't have the exact list in
 8          THE WITNESS: Right.                                   8   front of me, but, you know, it was more than ten,
 9          MR. LEASURE: One of the other partners                9   probably less than 25.
10   might be the point person for ABC company?                  10      Q Okay. And you recall that the process, it
11          THE WITNESS: Right.                                  11   went poorly? Everyone sort of passed?
12          MR. LEASURE: They would forward you an               12     A Right.
13   e-mail about ABC company?                                   13      Q One of the things I don't think we've
14          THE WITNESS: All the time.                           14   talked about today is declining user numbers.
15          MR. LEASURE: And it wouldn't be to get               15         Do you recall what the situation was with
16   your advice or input on ABC necessarily --                  16   user numbers with Kik?
17          THE WITNESS: No. It might be though.                 17      A Yeah. I mean, we peaked in terms of our
18          MR. LEASURE: Okay. But it also could be              18   monthly user count in probably 2014 or 2015 at maybe 40
19   just so you see what's happening generally in the world     19   or 50 million monthly users, and by this time maybe we
20   or --                                                       20   were at 25 million-ish. So it'd come down a fair bit.
21          THE WITNESS: Yeah. You might say it                  21      Q Okay. And it was continuing to trend --
22   serves a lot of purposes, but the primary purposes are      22   plateau or trend down?
23   information sharing throughout the firm and                 23      A Correct, correct.
24   solicitation of advice and counsel from the investment      24      Q Okay. You next write, "Ted and his team
25   team, largely the partners, sometimes others.               25   are going to figure out how to restructure the business



                                                                                     21 (Pages 78 to 81)
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                                                    Page 82                                                           Page 84
 1   in light of that. At this time, we have enough cash to     1       A Just we got to get it all in exchange, and
 2   get the company through the summer."                       2   I think we talked about this. And I think that's
 3         I think we've already talked about the cash          3   fundamental because unless Kik Points had a valid
 4   situation and the burn rate and sort of there wasn't       4   third-party established market value nobody was going
 5   much to do about the burn rate because of the cost of      5   to want to, you know, earn it. Like it just -- you
 6   operating the business; is that right?                     6   know, earning fake money wasn't appealing to people,
 7     A Correct.                                               7   but earning real money is appealing to people.
 8       Q What do you recall Ted and his team trying           8       Q In Kik -- I mean, I don't mean to be
 9   to figure out about how to restructure the business        9   pejorative, but Kik Points were in a way sort of fake
10   during this time period January 2017?                     10   money?
11      A I mean, we were obviously looking at                 11      A Correct, correct. I mean, it's true of
12   headcount reductions, and, you know, what we could        12   video games, right. You play video games and you earn
13   actually part with and what we absolutely needed to       13   virtual goods, but those virtual goods are not worth
14   have. There was also a conversation about getting off     14   anything outside the video game. So there's --
15   of our own infrastructure. We were still running at       15       Q Unless you're a 12-year-old boy.
16   the time -- were still running Kik on our own server      16       A Right. But imagine a world in which those
17   infrastructure. That's no longer the case. We now got     17   virtual goods are going to be valuable outside of video
18   in the cloud at, I think, Amazon, but I'm not sure. I     18   gaming. That's where this is going. And I think
19   mean, it could be at Google or Microsoft, but I think     19   that's just going to -- I just think it's going to 10X
20   it's at Amazon now.                                       20   the potential value of the video game business.
21         And that had long-term potential to save            21        When you can earn something in Fortnite or
22   some real money, but actually in the short run was        22   something and then you can take it to -- when you're
23   going to cost us money. And, you know, there may have     23   done playing, you've spent your 10,000 hours of
24   been some other -- other things that we could do, but     24   obsession and you just go and you take your entire, you
25   we were just looking at everything and asking can we      25   know, set of assets that you've earned and sell them.


                                                    Page 83                                                           Page 85
 1   run this less expensively.                                1          It's going be -- I think it's going to
 2      Q Okay. And it looks like your response to             2    really -- it's going to be like a huge next up leg in
 3   this was to send an e-mail to Mr. Livingston earlier in   3    the video game business.
 4   the day and advocating for sort of a pivot to the         4       Q I have a 12-year-old boy, and this is like
 5   issuance of a crypto token; is that right?                5    music to his ears.
 6      A Yep. I mean, that's what I wrote to my               6          In 8, you write, "Launch a token offering
 7   partners. "I sent the e-mail to Ted this morning.         7    in which Kik sells a certain number of these Kik tokens
 8   I've been advocating for this monetization strategy for   8    to investors for USD" -- which, I think, is U.S.
 9   a while now, but I'm going to push harder for it."        9    dollars -- "to fund the business."
10      Q And I think a lot of this we talked about.           10      A Right.
11   Some question -- there's some things I'm not sure I       11      Q And I think we talked about this a little
12   understand.                                               12   bit earlier, and that the idea is that whatever token
13           If you look on the second page, you have a        13   gets issued has to be finite. There has to be a
14   number of bullets. I think it's 1 through 8. And I        14   certain number of them?
15   have some questions about some of these, specifically     15      A Uh-huh.
16   number six.                                               16      Q Is that correct?
17           "Get an exchange like Poloniex to create a        17      A Yes.
18   market in BTC" -- which I think is Bitcoin -- "slash      18      Q The other rule I should've mentioned at the
19   Kin token so that Kik token becomes a traded asset and    19   beginning, which I'll blame your counsel for not
20   establishes a market value."                              20   prepping you on, you have to answer orally. So it's
21           What is Poloniex?                                 21   not like a regular conversation.
22      A It was one of the popular exchanges at the           22      A Okay. Gotcha.
23   time.                                                     23      Q And so I'll be rude and I'll say --
24      Q Okay. So where did -- what are you                   24      A Okay.
25   suggesting needs to happen here?                          25      Q -- you mean yes, but that's -- anyway.



22 (Pages 82 to 85)
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                                                      Page 86                                                             Page 88
 1         So the idea is that whatever cryptoasset              1   consultant for Ted to hire to help him execute this
 2   Kik issues has to be finite; is that correct?               2   eight-part strategy that I had laid out.
 3     A That is correct.                                        3      Q Okay. And you provided Mr. Livingston with
 4       Q Okay. And that -- that's -- the revenue               4   something that Mr. Brukhman had written; is that
 5   receipt from the sale of these assets would be used to      5   correct?
 6   fund the business to extend the runway for Kik?             6      A Correct.
 7      A Right. It's interesting you say that.                  7      Q Where is that from?
 8   That is exactly how Kik accounted for these dollars.        8      A I don't recall. But it was a
 9   We -- it was accounted for as revenue. Not as -- like       9   cut-and-paste.
10   when you do a venture capital financing and you sell       10      Q It looks like a cut-and-paste.
11   you know ten percent of your company and you bring in      11      A Right.
12   $20 million, you don't book it as revenue on your          12      Q Why did you provide this to Mr. Livingston?
13   financial statements. You book it against your capital     13            What was it about this cut-and-paste that
14   account and your balance sheet.                            14   you thought he needed to read?
15        But when Kik did this $100 million, we                15      A I think what this is about is -- the
16   booked it as revenue because it was a sale of assets,      16   about -- the about -- moving away from
17   not a sale of equity. And that's -- and we paid taxes      17   centrally-controlled companies like Facebook and Google
18   on it. You know, it's a taxable event. You know, we        18   into more community-owned-and-operated networks, and,
19   have net operating losses.                                 19   you know, that's, you know, something -- I mean, you've
20         So what we really did was we burned through          20   heard me talk about this a little earlier. It's a
21   all of our net operating losses, but that's the            21   powerful idea, one whose time has come. And, I mean, I
22   accounting treatment. It's a sale of assets, not a         22   wanted Ted to see that other people were thinking about
23   sale of equity.                                            23   this and I thought the way that Jake had described it
24       Q Okay. Let me hand you what we'll mark as             24   was quite good.
25   148.                                                       25      Q Okay. And it's this idea of a


                                                      Page 87                                                             Page 89
1              (SEC Exhibit No. 148 was marked for              1    decentralized ownership model, I guess, is the way he
2              identification.)                                 2    put it?
3           BY MR. SCHLEGELMILCH:                               3       A Correct, correct.
4       Q And this is an e-mail string. The Bates               4       Q Okay. So then Mr. Livingston responds to
5    number is Kik_00026346 through 48, and the top e-mail      5    your e-mail on January 17th, 2017, at 9:44 a.m., and,
6    is an e-mail from Mr. Livingston to Mr. Wilson and Jim     6    essentially, he lays out what he sees Kik's options are
7    Estill dated January 17th, 2017 at 9:44 a.m.               7    at this point. That's sort of the cryptoasset idea
8           Take a minute to read this over. Okay.              8    that your -- that you've proposed, and then three other
9    The bottom portion of the e-mail is your sort of bullet    9    options.
10   points to Mr. Livingston that we looked at in the          10      A Uh-huh.
11   earlier exhibit?                                           11      Q Cost reductions, revenue, or, essentially,
12      A Right.                                                12   sell the assets or sell the company.
13      Q And Mr. Livingston responds and you have              13      A Uh-huh.
14   a -- sort of an e-mail exchange about this idea. And       14      Q So those are the four options that Kik
15   in the e-mail, dated January 17th, 2017, at 6:55 a.m.,     15   really has in front of it; is that correct?
16   you suggest that Mr. Livingston contact Jake Brukhman      16      A Yeah. I mean, I'm not sure that they are
17   in New York City?                                          17   mutually exclusive. You know, I mean, we could do some
18      A Yep.                                                  18   cost reductions. We could do some revenue, and we
19      Q Who is Mr. Brukhman?                                  19   could get some investment, right. And that might --
20      A He is a principal of a firm called                    20   that group of things together might be the answer,
21   CoinFund. I'm not sure that CoinFund was a thing back      21   right.
22   in January of '17. I'm not entirely sure if that had       22            So I just -- I'm trying to kind of make a
23   been established, but he was introduced to me by an        23   point that he may have laid it out like we can either
24   analyst who worked for us at the time named Joel           24   do cost reductions or revenue or invest and sell, but
25   Monegro. And Joel thought that Jake would be a good        25   the answer probably was some combination of all of



                                                                                       23 (Pages 86 to 89)
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                                                   Page 90                                                          Page 92
 1   that.                                                     1    short of that -- I mean, I didn't think that there was
 2      Q I see. Was it your view during this time             2    -- anything else was going to get us there. And I was
 3   period of January 2017 or even after that the issuance    3    really advocating for that path. And the board and the
 4   of a digital token by Kik was sort of a Hail Mary to      4    management team were thinking about it as one of our
 5   save the company?                                         5    options, but I was really pushing on it hard.
 6      A I'm not sure that I would say to save the            6             MR. LEASURE: So I think I understand your
 7   company, but at this time in January of 2017, I did not   7    testimony. I want to make sure I do. It sounds like
 8   anticipate the market for crypto tokens to explode the    8    you wanted -- you wanted and pushed for Kik to move to
 9   way it did. And so I definitely felt that it was a        9    a token model for its business?
10   long shot in January of 2017.                             10            THE WITNESS: Correct.
11      Q I see. Okay.                                         11            MR. LEASURE: And you wanted that
12       MR. LEASURE: The market exploded later on             12   regardless of whether it would raise a little or a lot
13   in the year, from your perspective?                       13   of money in a Genesis or a token distribution of that?
14           THE WITNESS: Yeah. I mean, we can go look         14            THE WITNESS: Absolutely.
15   at the data, but if you look at the amount of money       15            MR. LEASURE: Okay. But the amount of
16   that was raised in token sales each month over the        16   money -- I want to go back to some earlier parts of
17   course of '17, you know, it kind of went like this        17   your testimony.
18   (indicating).                                             18            The amount of money Kik raised wasn't
19           MR. LEASURE: Right.                               19   wholly immaterial, if I understand right?
20           THE WITNESS: Right.                               20            THE WITNESS: Yeah. I mean, it's -- it's
21           MR. LEASURE: Upward curve. So giving it           21   a -- it's an exercise in how much money it actually
22   an upward curve?                                          22   costs to run the business, how quickly can we get a
23           THE WITNESS: Correct.                             23   token economy operating inside of Kik, how highly we
24           MR. LEASURE: I take it as -- moving the           24   can tax that to actually book our own revenue, and will
25   camera forward slightly, I take it as you saw that, did   25   that cover whatever the cost structure is we think we


                                                   Page 91                                                          Page 93
 1   that give you more confidence in the prospects for a      1    need to manage the business and how long is that going
 2   token project for Kin?                                    2    to take.
 3          THE WITNESS: I -- look, I mean, to be              3             MR. LEASURE: Right.
 4   clear, I wanted Kik to convert to a crypto-token-based    4             THE WITNESS: And how much cash do we have
 5   business model, first and foremost. The sale of crypto    5    now and how much incremental capital might we need to
 6   tokens is essential to executing that business model.     6    execute that, right.
 7   The amount of money you raise in the sale of crypto       7             MR. LEASURE: Right.
 8   tokens is not that essential, right.                      8             THE WITNESS: That's a spreadsheet. You
 9          So you have -- you know, we talked about           9    know, we can sit there and make that spreadsheet. And
10   this a bunch. You have -- it's a piece of what it         10   depending on what your assumptions are, you know, that
11   takes. You've got to get a market established for the     11   number could be 10 million, that number could be 50
12   crypto tokens. Best way to do that is to do a Genesis     12   million, right. It all depends on a whole bunch of
13   block sale. I think Ethereum raised somewhere between     13   variables in terms of how optimistic you are and how
14   10 and $20 million in their Genesis block sale. I         14   quickly you think you can do it, all that kind of
15   don't think it was a lot of money, and Ethereum is now    15   stuff.
16   worth 20 billion or 30 billion or something like that.    16            MR. LEASURE: Got it.
17          So I never thought that you have to raise a        17            BY MR. SCHLEGELMILCH:
18   lot of money in that, and I didn't think, you know, at    18      Q So like Goldilocks, it has to be just
19   the time I wrote this that we could raise a lot of        19   right?
20   money in doing that.                                      20      A I don't get that analogy.
21        What I did think was that if we could get            21      Q Well, you can't be too hot. You can't be
22   Kik Points to have real value as opposed to in-game       22   too cold. It has to be just right?
23   value or in-app value that that could unlock a real and   23         MR. LEASURE: To be clear, transforming Kik
24   sustainable business model that could keep the Kik        24   as a messaging app business in early '17 into a
25   messenger as a real, live, profitable business and that   25   decentralized token-based business, that doesn't happen



24 (Pages 90 to 93)
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                                                     Page 94                                                         Page 96
 1   overnight, correct?                                        1   two. We are back on the record. The time on the video
 2           THE WITNESS: Correct.                              2   monitor is 11:41 a.m.
 3           MR. LEASURE: And it doesn't happen for             3            BY MR. SCHLEGELMILCH:
 4   free?                                                      4      Q I'd like to go back to CoinFund.
 5           THE WITNESS: Correct.                              5        Did Kik eventually hire CoinFund?
 6           MR. LEASURE: You can't snap your fingers?          6      A Yes, they did.
 7           THE WITNESS: Correct.                              7      Q Okay. What did CoinFund do for Kik?
 8           MR. LEASURE: And it didn't happen at the           8      A I would say they were a consultant. They
 9   time, in fact, of the token distribution event, right?     9   helped the -- so one of the issues we had at Kik that,
10           At the time of the token distribution             10   you know, prevented us from jumping on this idea
11   event, would you agree that Kik wasn't a fully            11   sooner, say, in '14 or '15 or '16 is that we really
12   decentralized token-based business?                       12   didn't have a lot of crypto-domain expertise in the
13           THE WITNESS: It's not that even now.              13   company. And so CoinFund really helped supplement the
14           MR. LEASURE: Right.                               14   management team in their knowledge of the market, how
15           THE WITNESS: I mean, we have a road map to        15   one would build a crypto token, how to think about, you
16   get it there, but it will take time. I mean, you know,    16   know, what blockchain to use, how to secure it, how to
17   there's two ways to do this. There are the projects       17   implement it, you know, how to think about how much of
18   that start out day one decentralized, like Ethereum,      18   the token to sell, how much of the token to retain, how
19   and then there's the projects like Kik and Telegram and   19   much of the token to reserve for the community.
20   others that start out mostly centralized and have a       20            You know, just the whole litany of issues
21   path to get decentralized. I don't think we yet know      21   that the company needed help -- and we needed to move
22   which of those two pathways is going to be the better     22   quickly or we weren't -- we didn't have a year to
23   path way, but I think both are viable.                    23   figure out all this stuff. We had to figure it out in
24           MR. LEASURE: I can see that. And then             24   the span of a couple months. So they were really quite
25   closing the loop here then in terms of understanding      25   helpful in doing that.


                                                     Page 95                                                         Page 97
 1   the importance of the -- importance or the unimportance   1       Q Okay. And one of the things, I think, you
 2   you would place on the amount of money Kik could happen   2    said is that CoinFund did a market survey; is that
 3   to raise in a token distribution, the money it could      3    correct?
 4   raise would enable it to have funds, resources, and       4       A They did do a market survey.
 5   time to transform the business into a decentralized       5       Q Okay. Did you see that?
 6   token-based business, right?                              6       A I'm sure that it was circulated to the
 7          THE WITNESS: Correct.                              7    board.
 8          MR. LEASURE: Got it.                               8       Q Okay. And do you recall thinking to
 9          BY MR. SCHLEGELMILCH:                              9    yourself like that the survey was flawed or didn't make
10      Q    We've been going for another hour. Unless         10   any sense or did you find it helpful?
11   you'd like a break, my preference would be to do          11      A You know, I did -- you know, I did not
12   another 20 or 30 minutes and to break for lunch.          12   spend a lot of time on it, to be honest. I think it
13          But if you would like a break or your              13   was very helpful for some of the other board members
14   counsel would like a break?                               14   who weren't as familiar with this market as I was, but
15          MR. CADIGAN: That's fine. 20, 30 minutes?          15   I don't remember spending a lot of time with it.
16          MR. SCHLEGELMILCH: This will be an actual          16      Q With the market survey portion of what
17   20, 30 minutes, not like a just --                        17   CoinFund did?
18          THE VIDEOGRAPHER: Actually, if could do            18      A Right.
19   just a quick tape change?                                 19      Q I see. But you think that other board
20          MR. SCHLEGELMILCH: Oh, then, why don't we          20   members probably did because they were less familiar
21   go off the record. We'll change the tape.                 21   with the space?
22          THE VIDEOGRAPHER: Going off the record.            22      A Yeah. I mean, we had a bunch of people on
23          The time is now 11:39 a.m.                         23   our board who had never been involved with a crypto
24          (A brief recess was taken.)                        24   company, crypto project or anything. I mean, they had
25          THE VIDEOGRAPHER: This begins disc number          25   never -- this was all new to them.



                                                                                    25 (Pages 94 to 97)
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                                                        Page 98                                                         Page 100
 1       Q Like for instance, Mister -- I'm going to               1   the last e-mail we looked at was dated January 17th.
 2   mispronounce his name -- Mr. Spadafora?                       2           Between that and May 2017, what was
 3       A Uh-huh.                                                 3   happening at the company with respect to the creation
 4       Q How do you pronounce that?                              4   of a digital token?
 5       A I'm not sure.                                           5       A It got more and more real as Ted and the
 6       Q Okay.                                                   6   management team started to believe that this was the
 7       A Sam. I call him Sam.                                    7   best path forward for the company, and, you know, we
 8       Q Thank you. Did he -- is he one of the                   8   had advisors like CoinFund who really helped the
 9   people you're referring to?                                   9   company get up the learning curve. The team in Tel
10      A Yes. And Paul, too.                                     10   Aviv was supplemented with some additional people who
11       Q Mr. Holland?                                           11   helped that team.
12       A Yep.                                                   12       Q Was it Coin Tree?
13       Q Okay. And Mr. Heinke, the CFO?                         13       A It was -- there was a consultant called
14       A Peter definitely needed some hand-holding,             14   Coin Tree who was more of a technical consultant and
15   you know, from CoinFund, more operationally I would say      15   really helped supplement the engineering team that we
16   than his role as a board member. But he had a lot of         16   had in Tel Aviv and helped them get up the crypto
17   questions about how to -- how are we going to do this,       17   learning curve. None of those people, I believe, are
18   you know, what -- you know, how do we -- going to            18   still employed by the company and some of them never
19   execute it operationally, you know, all of that kind of      19   were.
20   stuff.                                                       20           But they were very helpful in converting
21       Q And CoinFund also provided expertise on                21   that engineering team that we had in Tel Aviv to really
22   sort of who would buy Kin in this token distribution         22   be, I think, a very good crypto engineering team, which
23   event, correct?                                              23   they were not at the beginning of '17 and, you know,
24      A I believe so.                                           24   18, 21 months later they really are.
25       Q Okay. And Kik -- the board of Kik and the              25       Q Okay. What was your view in sort of the


                                                        Page 99                                                         Page 101
 1   management of Kik used CoinFund's work with marketing        1    spring 2017 time period of Mr. Livingston's performance
 2   and with this market survey in order to sort of make         2    as CEO?
 3   decisions on how to do the Kin offering correct?             3       A You know, that's a -- it's hard for me to
 4      A Yeah, I believe so.                                     4    answer that question at moment in time.
 5      Q The fact that I'm skipping exhibits would               5       Q Sure.
 6   be -- it means that's a good thing.                          6       A I have felt for a long time that Ted has
 7         Do you recall during this time period --               7    great strengths and great weaknesses. He is a great
 8   and by time period I mean like spring, so like January,      8    evangelist. He is a real visionary. He's great at
 9   February, April -- or March and April, do you recall         9    taking an idea and, you know, just kind of crafting it
10   approaching Zynga, the sort of game manufacturer?            10   into something that's actionable and getting buy in
11         Am I pronouncing that right?                           11   from a group of people around him to go execute against
12      A So, yes, I do recall approaching Zynga. I               12   that. So those are, I think, some of his great
13   am not sure that that's when those conversations were        13   strengths.
14   going on but -- I mean, I can't tell you exactly when        14           He is challenged as an operator. He's
15   but I definitely did. It wasn't the first time,              15   challenged as a leader and a manager, and he's an
16   though. I mean, Zynga had had conversations with Kik         16   optimist, as I mentioned earlier in this testimony.
17   going back as far as like 2014 or 2015.                      17   And he, you know, is constantly, you know, kind of
18      Q And just for the record, Zynga makes?                   18   moving on to the next thing, this is going to be the
19      A Mobile games.                                           19   thing, this is going to be -- this is going to be the
20      Q Mobile games. Okay. And those went                      20   thing. So, you know, that wears on you after a while.
21   nowhere, the conversations?                                  21      Q Well, that sort of anticipates my next
22      A Well, not -- I mean, I wouldn't say they                22   question. How was he, as a leader of a company that
23   went nowhere. You know, a transaction was not                23   was making what, by all accounts, seems to be a
24   concluded.                                                   24   significant pivot in its entire business model?
25      Q I see. Okay. Sort of between -- I think                 25      A He's brilliant. I mean, just amazing. I



26 (Pages 98 to 101)
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                                                Page 102                                                           Page 104
 1   mean, I can't -- I can't imagine that the CEOs of many    1    a table of contents. And just -- if you want to take a
 2   of our portfolio companies could pull off what he         2    minute to look through this. And if this sort of
 3   pulled off. It's what he's good at.                       3    refreshes your memory of specific sections that you
 4       Q Okay.                                               4    worked on or had a role in or had specific comments on
 5           MR. LEASURE: Did he drive the project             5    that would be very helpful.
 6   in --                                                     6       A You know, as a general matter, I don't
 7           THE WITNESS: Absolutely, absolutely.              7    recall specifically what my comments were. However, I
 8           BY MR. SCHLEGELMILCH:                             8    would say that I focused a lot on the first several
 9       Q And he was -- I think to use your word --           9    pages because I felt that the vision and the
10   an evangelist for the product?                            10   positioning of what Kin was was super important. I'm
11       A Absolutely.                                         11   sure I had some comments on the implementation details
12       Q Or the project I guess?                             12   and some of the other things, but I do recall being
13       A Yep.                                                13   quite focused on those first three pages.
14       Q Do you recall that Kik issued a white paper         14      Q Okay. Now, the purpose of the white paper
15   or made available online, a white paper?                  15   was essentially to mark it as the digital token,
16       A I do.                                               16   correct?
17       Q Did you have any role in the creation of            17      A I'm not sure that that's correct. I think
18   the white paper?                                          18   that -- the purpose of a white paper is to lay out the
19       A Well, I read it. And I gave comments on             19   vision of what the project is and to get people excited
20   it. But I wouldn't say that I was on the team that put    20   about both developing for this platform, using this
21   it out.                                                   21   platform, and also investing in the platform. But I --
22       Q Who was on the team that put it out?                22   it -- there are multiple audiences for a white paper.
23       A It was mostly the Kik management team; Ted,         23   It's not just the investor community.
24   Peter, Tanner, Erin, and then absolutely complimented     24      Q Now, in addition to the white paper, what
25   by the CoinFund folks. I think the Coin Tree folks had    25   else did Kik do to -- I'll limit it to marketing the


                                                Page 103                                                           Page 105
 1   some involvement in it as well, and other advisors that    1   offering.
 2   we had to the company. You know, so it was -- you          2          What else did Kik do to market the
 3   know, like anything of this ilk, it was a group            3   offering?
 4   project.                                                   4          Now, I know that you said the white paper
 5     Q But you recall reading it before it was                5   does multiple things, but I want to focus on marketing
 6   made available to the public?                              6   the offering.
 7     A Yes, I do.                                             7      A Well, I'm not -- I didn't participate in
 8      Q Okay. And commenting on it?                           8   any of the meetings or anything like that. So I'm not
 9      A I do.                                                 9   100 percent sure what the substance of those meetings
10      Q Do you -- and I have a copy of it if it              10   was like. I know there was a video made, and there may
11   will be helpful for your answer.                          11   have been other marketing materials. I'm not
12         Do you recall focusing on specific portions         12   100 percent sure.
13   of it?                                                    13      Q Okay. Did you see the video before it was
14       A You know, without looking at my specific            14   made available to the public?
15   comments, I think I have a hard time really               15      A I'm not sure.
16   recollecting the substance of what my comments were.      16      Q Okay. Did Mr. Livingston speak publicly on
17     Q Well, I brought the copies. We might as               17   the Kin idea?
18   well -- this is -- I'm going to hand you what has been    18      A Oh, yeah. I mean, he effectively announced
19   previously marked as Exhibit 2.                           19   it at Token Summit, and there may have been other
20         And Exhibit 2 is a copy of the white paper          20   public appearances as well.
21   and it starts on Kik_000001. And it was -- just for       21      Q Okay. And where does Token Summit take
22   sort of purposes of the timeline, it was issued by the    22   place?
23   company in May 2017?                                      23      A The first one took place in New York at
24     A Yes.                                                  24   NYU, which is where I think Ted announced Kin. But
25      Q Okay. And if you look on page 04, there's            25   it's also taken place in San Francisco and maybe



                                                                                27 (Pages 102 to 105)
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                                             Page 106                                                           Page 108
 1   elsewhere.                                                 1   crypto token, in theory -- now, it turns out to be more
 2       Q Okay. But the one where Kik was -- or                2   complicated than that, as we've found. But in theory,
 3   excuse me.                                                 3   you can introduce that crypto token to tens of millions
 4          The one where Kin was announced by                  4   of people like that, and that, I thought, was a
 5   Mr. Livingston was at NYU?                                 5   powerful idea.
 6       A Yeah, at the Stern School of Business.               6          MR. MITCHELL: Powerful in that it leads to
 7       Q Okay. And that's in Manhattan?                       7   adoption of that token?
 8       A Correct.                                             8          THE WITNESS: Correct, correct. And that
 9          MR. MITCHELL: I want to ask you a question          9   developers could use that token, build new
10   about the video.                                          10   applications, you know, just create an ecosystem around
11          The video that you were describing, was            11   that, you know, and do it that way versus, you know,
12   that published about the same time as the white paper?    12   the way that every crypto project up until then had
13          THE WITNESS: I don't know, honestly.               13   kind of come to market.
14          MR. MITCHELL: Did you link -- do you do a          14          BY MR. SCHLEGELMILCH:
15   personal blog?                                            15      Q So I think you said that Mr. Livingston
16          THE WITNESS: I do.                                 16   spoke at Token Summit?
17          MR. MITCHELL: Did you link your blog to            17      A Yes.
18   that video that Kik created?                              18      Q Are you aware of any other public speaking
19          THE WITNESS: I believe so, yes.                    19   that Mr. Livingston did regarding the digital token?
20          MR. MITCHELL: Why?                                 20      A Vaguely but not specifically. Like I just
21          THE WITNESS: I wanted to, you know, share,         21   have this recollection that there was more than that,
22   you know, with my readership, you know, this vision,      22   but I can't tell you where.
23   you know, of a crypto token running inside of an          23      Q Did -- were you -- did you know what
24   existing mobile application, and that this is a, at the   24   specifically Mr. Livingston was going to say at Token
25   time, I think quite a novel idea. Like I said, other      25   Summit before he said it?


                                             Page 107                                                           Page 109
 1   people have copied it now, but it was the first that I     1      A Did I review his presentation? Is that
 2   had ever seen.                                             2   what you're asking?
 3           MR. MITCHELL: So you thought it was                3      Q Yes, sir.
 4   important that it was operating inside an existing         4      A Possibly.
 5   mobile application?                                        5      Q Okay. Did you review any other
 6           THE WITNESS: That, at the time, was a              6   presentation that Mr. Livingston made regarding the
 7   pretty unique idea that, you know, an existing mobile      7   digital token?
 8   application could adopt a crypto token business model.     8      A Maybe. But I'm not sure.
 9           MR. MITCHELL: Did that seem valuable to            9      Q Okay. Do you know whether other members of
10   you?                                                      10   the Kik board reviewed Mr. Livingston's statement at
11           THE WITNESS: Yeah. Because I think at the         11   the Token Summit or any other statement?
12   time everybody's thinking oh, you know, I've got to go    12      A I can't say.
13   do an Ethereum or I've got to do a Bitcoin. You know,     13      Q Okay. I guess the question I'm asking is:
14   that's the way you could do something like this, and,     14   Is this something that you were doing as sort of an
15   you know, the fact of the matter was that Kik was         15   advisor to Kik or something that you were doing as a
16   showing another way.                                      16   board member?
17           MR. MITCHELL: And the other way was using         17      A I don't know. I'm not sure that I'd make
18   the existing messaging?                                   18   that distinction.
19           THE WITNESS: Right. Something that's              19      Q Okay. Fair enough. Did you make any
20   already used by tens of millions of people, right. I      20   public statements or give any public talks about the
21   mean, that's the move, right, is -- if you're starting    21   digital token?
22   Ethereum, right, the day you start Ethereum, there's      22      A Other than what was written on my blog, I'm
23   nobody using Ethereum.                                    23   not aware of any public statements or publicity that
24           If you have an application that's being           24   I -- and my participation in the video.
25   used by tens of millions of people and you launch a       25      Q Can you describe for me your participation



28 (Pages 106 to 109)
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                                               Page 110                                                          Page 112
 1   in the video?                                              1   didn't have any conversations with the staff, the folks
 2       A They came in and they recorded me.                   2   on this side of the table about the case?
 3       Q Okay. And do you write your own blog?                3      A I did not.
 4       A I do.                                                4      Q Great. I think -- before I ask any more
 5       Q Okay. I didn't know if it was                        5   questions, I think Mr. Mitchell is going to ask a few.
 6   ghostwritten.                                              6         MR. MITCHELL: Sure. Before the break we
 7       A No, it's not ghostwritten.                           7   were sort of talking about the time period when the
 8       Q And who's the audience for your blog?                8   white paper came out.
 9       A It is a collection of tech entrepreneurs,            9           THE WITNESS: Uh-huh.
10   tech investors, employees at tech companies, and other    10           MR. MITCHELL: At that point -- in the
11   people who are interested in tech startups and venture    11   second half of May, at that point did Kik have a plan
12   capital.                                                  12   to sell a trillion Kin token?
13       Q Who are the -- who's sort of the audience           13           THE WITNESS: I don't recall.
14   of Token Summit?                                          14           MR. MITCHELL: Okay. So then let me pass
15       A I would say that is the crypto community,           15   that down. I'm going to give you what we've already
16   that is crypto entrepreneurs and -- largely crypto        16   marked as Exhibit 18 A. Take all the time you want to
17   entrepreneurs, people who are trying to start companies   17   look at it.
18   in the crypto sector, I'd say probably are the vast       18           The first question is going to be: Do you
19   majority of the attendees there.                          19   recognize the document?
20       Q Crypto investors?                                   20           THE WITNESS: Yes, I do.
21       A Maybe. But that's often one in the same             21           MR. MITCHELL: What is it?
22   thing, right. You know, a lot of the largest investors    22           THE WITNESS: It's the deck for a board
23   in crypto projects are also founders of crypto projects   23   call.
24   themselves.                                               24           MR. MITCHELL: Okay. So what I'm -- the
25          MR. MITCHELL: Does the conference audience         25   reason I wanted to give it to you to start off at least


                                               Page 111                                                          Page 113
 1   include a significant number of people who own             1   is do what lawyers call refresh your recollection.
 2   messaging apps?                                            2         THE WITNESS: Right.
 3         THE WITNESS: People on messaging apps?               3          MR. MITCHELL: Is this the deck for a board
 4         MR. MITCHELL: Who own messaging apps?                4   call on May 23rd, 2017?
 5         THE WITNESS: I don't know. I don't know              5           THE WITNESS: Yes, it is.
 6   if anybody from the other messaging apps came to it.       6           MR. MITCHELL: And if I could just take
 7   It wouldn't surprise me, though.                           7   you, again, to the Bates number. This document has a
 8         MR. SCHLEGELMILCH: Why don't we break for            8   Bates number of Kik_00106868 through 689, but if you
 9   lunch?                                                     9   could turn to the page that ends in 6890 and look at
10         THE WITNESS: Okay.                                  10   90, 91, 92, going on from there to maybe 96.
11         MR. SCHLEGELMILCH: As promised on                   11          MR. SCHLEGELMILCH: Looks like the slides
12   schedule.                                                 12   are also numbered 23.
13         Can we go off the record.                           13        MR. MITCHELL: Yeah. The slides have
14         THE VIDEOGRAPHER: Going off the record.             14   numbers, too.
15         The time on the monitor at 12:03 p.m.               15         Again, if you want, I can take you to the
16         (Recess.)                                           16   page that ends in 93.
17         THE VIDEOGRAPHER: We are back on the video          17           THE WITNESS: Yep.
18   record. The time is 1:11 p.m.                             18           MR. MITCHELL: Does this refresh your
19         BY MR. SCHLEGELMILCH:                               19   recollection about what Kik planned to offer to the
20      Q Great. Thank you. And welcome back,                  20   public or offer in general?
21   Mr. Wilson.                                               21           THE WITNESS: Yes.
22         You understand that you're still under              22           MR. MITCHELL: And was it one trillion
23   oath?                                                     23   tokens?
24      A I do.                                                24         THE WITNESS: Ten trillion, I think.
25      Q Great. And during the lunch break you                25           MR. MITCHELL: Okay. So you're looking at



                                                                              29 (Pages 110 to 113)
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                                                  Page 114                                                        Page 116
 1   the page that ends in 93?                                  1   really close to the token distribution event, but,
 2          THE WITNESS: Yes.                                   2   absent that, no, I don't think so.
 3          MR. MITCHELL: There is a number ten T               3          MR. MITCHELL: The event that you were --
 4   tokens, that's the ten trillion?                           4   the events that you were just thinking of right now
 5          THE WITNESS: I believe so, yes.                     5   were those -- those were happening during the time that
 6          MR. MITCHELL: Okay. And was that the full           6   people were actually putting up their Ether to buy Kin?
 7   supply or was that what was taken -- going to sell to      7          THE WITNESS: Yes.
 8   the public?                                                8          MR. MITCHELL: And was that around sort of
 9          THE WITNESS: I think -- I mean, I                   9   the idea whether Kik had to burn -- had to choose
10   interpret as the total supply.                            10   whether it would burn some or distribute them?
11          MR. MITCHELL: Okay. And then do you                11          THE WITNESS: Yes. I don't remember
12   remember what percentage of the total supply Kik          12   exactly how we resolved it, but it was resolved.
13   intended to sell?                                         13          MR. MITCHELL: Was there any point during
14          THE WITNESS: Ten percent.                          14   this process that Kik had a plan to just sell the piece
15          MR. MITCHELL: So at that time, was there a         15   to accredited investors and then, you know, just sort
16   plan to sell them to anyone in particular, any type of    16   of go on with its business?
17   person in particular? What was the plan at that point?    17          THE WITNESS: Well, look, we certainly
18          THE WITNESS: It looks like the plan was            18   discussed a number of scenarios, and I have to believe
19   laid out on the page before.                              19   that that was one of the scenarios we discussed. But
20          MR. MITCHELL: The page that ends in 892?           20   that's certainly not what we ultimately ended up doing.
21          THE WITNESS: Right. Where up to 50                 21          MR. MITCHELL: This -- to the best of your
22   million would be sold to accredited investors, and then   22   memory, the slides in this board deck, they accurately
23   the balance would be sold in the token distribution       23   reflect the plan as of the time of this board call?
24   event.                                                    24          THE WITNESS: I think they do.
25          MR. MITCHELL: And this -- this was all --          25          MR. MITCHELL: Thank you.


                                                  Page 115                                                        Page 117
 1   these are just two parts of the ten of the one trillion    1         BY MR. SCHLEGELMILCH:
 2   tokens?                                                    2      Q So the sale of a hundred -- of one trillion
 3          THE WITNESS: I believe so, yes.                     3   tokens was sort of divided into these two halves, the
 4          MR. MITCHELL: And the -- that first part,           4   presale and then the token distribution event?
 5   the up to $50 million part, was that -- was it Kik's       5      A Right.
 6   plan at that point to offer that just to accredited        6      Q How was the presale going to work?
 7   investors?                                                 7      A I'm not clear what you mean by that.
 8          THE WITNESS: Yes.                                   8      Q Sure that's fair. It was a lousy question.
 9          MR. MITCHELL: And then the second                   9        Who was going to be permitted to buy?
10   whatever -- the second part would be -- would go to the   10      A Accredited investors were going to be
11   public?                                                   11   permitted to buy.
12          THE WITNESS: To anybody who wanted to buy.         12      Q Okay. What does that mean?
13          MR. MITCHELL: Did that plan, that plan for         13      A Well, it's a definition that is in the
14   the offering change between the time of May and the       14   securities regulations.
15   time of September when the token distribution event       15      Q Okay. And was there a document or a
16   happened?                                                 16   contract that was used to effectuate this sort of
17          THE WITNESS: I'm sure it changed in some           17   presale purchases?
18   respects but not materially.                              18      A Yeah. I think we used something called the
19          MR. MITCHELL: Did it change in any                 19   Simple Agreement For Future Tokens, a SAFT.
20   respects in terms of the number of tokens Kik planned     20     Q Okay. And where did document come from?
21   to sell?                                                  21     A I'm not sure who prepared it, but I suspect
22          THE WITNESS: You know, there was some back         22   we got it from our law firm.
23   and forth around the smart contract that we used at the   23     Q Now, were the tokens purchased through the
24   token distribution event as it related to 50 versus 75    24   SAFT, were they purchased at a discount?
25   million that I remember we had to work on as we got       25     A I believe so.



30 (Pages 114 to 117)
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                                                 Page 118                                                     Page 120
 1      Q Do you recall what the discount was?                  1   Francisco. The principal is a gentleman named Olaf
 2      A No. Not really.                                       2   Carlson-Wee. Union Square Ventures is an investor in
 3      Q Okay. And accredited investors, that                  3   Polychain. We own a piece of the general partner of
 4   implies that you have certain levels of sort of assets     4   Polychain.
 5   or wealth at your disposal; is that correct?               5      Q Okay.
 6      A That is correct.                                      6       MR. MITCHELL: Do you own that through one
 7      Q Okay. Do you recall how many purchasers               7   of the funds that you've raised?
 8   actually purchased in the presale portion?                 8          THE WITNESS: We own it through the Union
 9      A I do not.                                             9   Square Ventures 2016 fund.
10      Q Okay. What about an order of magnitude for           10        BY MR. SCHLEGELMILCH:
11   the number of purchasers?                                 11      Q And I think you mentioned Pantera?
12      A I'd be guessing.                                     12      A Pantera is another token fund.
13      Q Okay. What about during the token                    13      Q Okay. Can you tell me -- what do you know
14   distribution event or what's, I think, sometimes called   14   about --
15   the public sale?                                          15      A I don't know a lot about Pantera, but I
16         Is that a term that you're familiar with,           16   know a few things. There's a principal there named Dan
17   the token sale?                                           17   Morehead, and they are also an investor in the general
18      A Yes, yes.                                            18   partner of Polychain.
19      Q Okay. How was that going to work? And                19      Q Okay.
20   what I mean by that is -- let me ask -- let me --         20      A And they are a token fund like Polychain.
21   strike that. Let me ask one other question.               21      Q Were -- was USV, the 2016 fund an investor
22         What currency was the presale denominated           22   in Polychain at the time they invested in the Kin
23   in?                                                       23   presale?
24      A I believe we sold the SAFT for dollars.              24      A I believe so, but I can't say definitively
25      Q U.S. dollars?                                        25   that that is so.


                                                 Page 119                                                     Page 121
 1      A I believe so.                                         1      Q Okay.
 2      Q Okay. And do you recall how much money was            2      A Because it's really a timing question. You
 3   raised?                                                    3   know, I don't know exactly when the presale was done,
 4      A 50 million U.S. dollars.                              4   and I don't know exactly when we became an investor.
 5      Q Okay. And was that the cap for the                    5   But it was very likely that we were.
 6   presale?                                                   6      Q Okay. I guess what I'm trying to get at is
 7      A I think so. I mean, I think we could have             7   does USV, albeit, perhaps indirectly have a financial
 8   sold more, but we didn't.                                  8   interest in Kin or a position in Kin?
 9      Q Okay. That's, I think, what I was actually            9      A I believe that we did at one time through
10   getting at was $50 million the target or the cap or was   10   Polychain, but I don't think we do anymore.
11   it just that's where it ended, that's where the           11      Q Okay. You think that Polychain has
12   interest stopped?                                         12   liquidated its position?
13      A I think it was a target and a cap.                   13      A I believe so, but I don't know for sure.
14      Q Okay. Do you recall the name of any                  14      Q Okay. Did investors in the presale -- did
15   investor during the presale?                              15   they receive the Kin that they had purchased through
16      A Sure.                                                16   the SAFT in increments like two halves?
17      Q Who do you recall?                                   17      A I'm not entirely sure if there was any
18      A I know that Pantera bought in the presale,           18   vesting provisions or lockup provisions. I'm not
19   and I know that Polychain bought in the presale.          19   entirely sure how that was done, to be honest.
20      Q Okay. What is Polychain?                             20      Q USV did not directly purchase Kin through
21      A Polychain is a token fund.                           21   the presale; is that correct?
22      Q And just forgive me.                                 22      A We did not.
23        What does that mean?                                 23      Q And you didn't -- and USV also did not
24      A It is a partnership, like a venture capital          24   invest in Kin in the public sale?
25   fund, but it buys crypto tokens. It's based in San        25      A We did not.



                                                                              31 (Pages 118 to 121)
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                                                Page 122                                                         Page 124
 1      Q Okay.                                                 1   with presale buyers about Kin or anything like that. I
 2       MR. LEASURE: Why not?                                  2   do recall a number of people reaching out to me saying
 3         THE WITNESS: We own about five and a half            3   that they had an interest in Kin, and I connected them
 4   percent of Kik. Kik owns about 30 percent of Kin. So       4   to the company in some cases, not in all cases. But I
 5   our five percent of Kik would give us an underlying        5   don't think I was involved in any due diligence or any
 6   interest in about one and a half percent of the entire     6   of the marketing activity of it.
 7   token supply, and at that price of the sale, if 100        7      Q Okay. You said that people had reached out
 8   million is buying ten percent of Kin, then one and a       8   to you and that you connected them to Kik?
 9   half percent of Kin would be worth something like          9       A Uh-huh.
10   $15 million which would be by far and away the largest    10       Q And I don't -- I'm not trying to misquote
11   token position by like several multiples of what we       11   you. I'm just trying to reorient you.
12   have in our funds.                                        12        Do you recall who reached out to you?
13         So we felt that, if anything, we were               13       A Well, I know that the folks at IBG, which
14   overexposed and just didn't feel like it was              14   is a big Asian investor, got connected to me through
15   appropriate to extend our exposure beyond that.           15   somebody and was interested, and I think I connected
16        BY MR. SCHLEGELMILCH:                                16   them to the folks at Kik.
17     Q Do you know how many purchasers                       17       Q Okay.
18   participated in the public portion?                       18       A I remember that, and I think it may have --
19     A I don't know the exact number, but I do               19   I think, you know, others may have done the same.
20   know that we KYCed everybody, and I remember Ted          20       Q Okay. Do you recall anyone other than the
21   telling me that we received over 10,000 passports that    21   folks at IBG?
22   we had to go through.                                     22      A Not -- I mean, not specifically.
23         Now, I don't know if all of those people            23      Q Okay. Did the folks at IBG tell you why
24   that we KYCed bought, but I suspect that the number of    24   they were interested in the Kin offering?
25   people who bought was, you know, in the thousands and     25       A No.


                                                Page 123                                                         Page 125
 1   maybe as much as 10,000. I mean, it was a large            1      Q What about Mr. Morehead at Pantera?
 2   number. I really don't know how many, but it was a         2         Did you speak with Mr. Morehead at Pantera
 3   large number of people.                                    3   about the Kin offering?
 4       Q Okay. And the public sale portion or the             4     A I don't think I spoke to him about the Kin
 5   token distribution event, that was denominated in          5   offering. I certainly don't recall speaking to him
 6   Ether, correct?                                            6   about the Kin offering.
 7       A Correct, yes.                                        7      Q Okay. Did you speak with anyone that
 8       Q Why do it in this way?                               8   participated in the public sale regarding the Kin
 9          Why do it in two steps?                             9   offering?
10       A Well, we had a lot of institutional                 10      A I don't think so.
11   interest in Kin, and we felt that we could issue Kin --   11      Q Okay.
12   we could sell Kin to institutional and accredited         12      A Certainly not before the offering. There
13   investors through a SAFT structure prior to the token     13   was a conference that Kik did in -- I don't really
14   being live and the network being up and running. And      14   remember, but I think maybe the late fall or early
15   so we felt that the prudent thing to do would be to do    15   winter of last year where they invited Kin developers
16   that, go ahead and do that via the SAFT structure, and    16   and Kin community members to come to New York and I
17   then once the network was live and the token was live     17   spoke at that. And I'm sure that some of the people
18   we could then offer the token to the community, the       18   who were at that conference were people who bought Kin,
19   broader community.                                        19   but that was well after the event.
20       Q Okay. Is that what ultimately happened?             20      Q Okay. What was -- do you recall what the
21       A More or less, yes, that's what ultimately           21   name of that conference was or did it have a name?
22   happened.                                                 22     A It definitely had a name, but I don't
23       Q Did you personally speak with any                   23   remember what the name was.
24   purchasers in the private sale, the presale portion?      24      Q Okay. And what did you speak on?
25       A I don't think that I had any conversations          25      A I think they wanted me to speak broadly



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                                                   Page 126                                                        Page 128
1    about the cryptocurrency market, not so much about Kin    1       A I believe that's -- I think that's what was
2    but just my views of what was going on in the             2    going on in the broader market, not just the Kin.
3    cryptocurrency market at the time.                        3       Q But including Kin?
4       Q Okay. Just returning sort of to this what            4       A Certainly.
5    I'll call summer and fall 2017, what was the state of     5       Q Okay. Let me hand you what will soon be
6    the crypto market or the market for digital tokens like   6    marked as Exhibit 149.
7    Kin?                                                      7               (SEC Exhibit No. 149 was marked for
8       A At what time?                                        8               identification.)
9       Q Let's start with like May. We just talked            9          BY MR. SCHLEGELMILCH:
10   about the white paper which was in May of 2017. Let's     10      Q As you're reading, this is an e-mail chain.
11   talk about sort of May leading up to the token            11   The top e-mail on the chain is from Erin Clift to
12   distribution event in September.                          12   Mr. Wilson dated June 3rd, 2017, and the Bates number
13      A I think in May the market for crypto tokens          13   is Kik_00022109 and 110. And just let me know when
14   was starting to become very interesting to lots of        14   you've had a chance to read it.
15   people, and Ethereum was starting to increase in value    15      A Okay.
16   significantly. And people were then thinking okay,        16      Q I'd like to focus on the e-mail at the
17   what's the next Ethereum, want to get in the ground       17   bottom from Mr. Grossman to you, carbon copied to
18   floor of the next Ethereum and that -- so that what was   18   Mr. Wenger.
19   kind of going on in the May time frame.                   19      A Yep.
20      Q Okay. And I think you said earlier in                20      Q Am I pronouncing that right?
21   response to a question that Mr. Leasure posed that it     21      A Uh-huh.
22   sort of -- it had really ramped up significantly?         22      Q And Mr. Weissman and -- dated May the 31st,
23      A Yes.                                                 23   2017. And Mr. Grossman is a partner at USV?
24      Q Okay. And that just there was far more               24      A Not a partner. He is on the investment
25   demand for digital tokens than there had ever been        25   team but not a partner.


                                                   Page 127                                                        Page 129
 1   previously?                                               1       Q Thank you. But Mr. Wenger and Mr. Weissman
 2      A Yeah. Well, you know, I think part of what           2    are partners?
 3   was going on was that people had participated in the      3       A Yes, correct.
 4   Ethereum project and that had increased in value          4       Q Okay. What is it that Mr. Grossman is
 5   significantly. And a lot of these offerings were done     5    proposing to you? How did you understand
 6   for Ethereum.                                             6    Mr. Grossman's proposal or his e-mail to you?
 7         So, you know, one thing you could think             7          What was he trying to communicate to you?
 8   about was that people were taking some percentage of      8       A The plan, which is still the plan, for Kin
 9   their Ethereum that had appreciated significantly and     9    is to get multiple applications to adopt it as an
10   diversifying their cryptoasset portfolio by taking some   10   engagement and monetization mechanism. And he was
11   of their appreciated Ethereum and turning around and      11   proposing that we had a bunch of companies in our
12   buying other cryptoassets and then creating more of a     12   portfolio who could be candidates for doing that.
13   diverse portfolio.                                        13         And he was also suggesting that Kin could
14         I mean, I think was fuelled by the rapid            14   take some of the 30 percent that was being allocated to
15   rise of Ethereum. So all of a sudden people who maybe     15   Kik and sharing that with other partners to get them to
16   had $10,000 of Ethereum all of a sudden had a $100,000    16   commit to being early platform partners.
17   of Ethereum and they're like, well, let me take 20 or     17      Q Okay. And Mr. Grossman lists a number of
18   30,000 of that and put it into five or six other          18   what he calls USV companies and this is a list of
19   things, get a diverse portfolio, and possibly get on      19   companies in which USV had an ownership interest or
20   the ground floor of the next one.                         20   some investment in?
21        So I think that was a big part of what               21      A That's correct.
22   happened in 2017.                                         22      Q Let me ask you this: Does USV -- does it
23      Q Okay. And that's part of what happened               23   only take equity stakes in the companies in which it
24   with the interest in Kin, correct? It was -- some         24   invests?
25   people were diversifying their portfolios from Ether?     25      A Versus what?



                                                                               33 (Pages 126 to 129)
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                                                      Page 130                                                      Page 132
 1      Q Debt.                                                  1    ultimately happened.
 2      A Yes. We're equity investors.                           2       Q Okay. Putting aside -- now, this is very
 3      Q Okay. So I'm not going to go through all               3    helpful. Putting aside Coin Tree and CoinFund, at the
 4   of them, but YouNow -- and Mr. Grossman writes obv,         4    time of the token distribution event, were there any
 5   which I read as obvious?                                    5    other companies or service providers that accepted Kin
 6      A Uh-huh.                                                6    as a medium of exchange?
 7      Q What is YouNow?                                        7       A Not to my knowledge.
 8      A YouNow is a mobile video messaging app.                8          MR. SCHLEGELMILCH: Okay. This is 150,
 9   It's very similar to Kik except it's focused on video       9    please.
10   as opposed to text.                                         10             (SEC Exhibit No. 150 was marked for
11      Q Okay. And he writes that it was an obvious             11             identification.)
12   participant?                                                12         BY MR. SCHLEGELMILCH:
13      A Same issues have played that company that              13      Q This is an e-mail from you to investment
14   have played Kik over the years.                             14   team dated June the 8th, 2017. And the Bates number is
15      Q Okay. And he lists a number of other                   15   USV 0003712. Just take as much time as you need. I'll
16   companies maybe 9 or 10 in all. Are any -- at the           16   just ask you a few questions.
17   moment of the token distribution event in September of      17      A Okay.
18   2017, did any of these USV companies accept Kin?            18      Q Can you walk me through what this e-mail is
19      A No.                                                    19   attempting to convey?
20      Q Okay. Okay. Do any of them currently?                  20      A Yeah. This is -- this e-mail is a
21      A No. There are conversations going on                   21   discussion inside of our firm about the conversation we
22   between YouNow and Four Square and maybe 1 or 2 others.     22   had a little bit earlier about why we chose not to buy
23   I'm not totally up to date on where all of our              23   in the presale. This was sort of a back of the
24   partnership discussions are, but nothing has concluded      24   envelope approach to figuring out what our underlying
25   with any of them at this time.                              25   interest in Kin would ultimately be vis-a-vis the


                                                      Page 131                                                      Page 133
 1      Q Okay.                                                   1   equity we had in Kik. And, I mean, we can go through
 2         MR. MITCHELL: Those are conversations                  2   it if you'd like, but, ultimately, I concluded that we
 3   between Kik and those companies?                             3   should sit on the sidelines.
 4         THE WITNESS: Yes, that's correct.                      4      Q Okay. And just -- I think it may make
 5         MR. MITCHELL: And Kik is trying to sort of             5   sense to go through it in some amount of detail, but
 6   recruit them to join the Kin Ecosystem?                      6   the idea -- I'm looking specifically at your bullet
 7         THE WITNESS: Correct, exactly.                         7   number one -- is that Kik was going to receive
 8         BY MR. SCHLEGELMILCH:                                  8   30 percent of the offering?
 9      Q Other than the companies that are listed                9      A Uh-huh.
10   here under USV, are you aware of any other company at       10      Q Is that correct?
11   the time of the token distribution event in                 11      A That's correct.
12   September of 2017 that had agreed to accept Kin?            12      Q And that it would be permitted to sell
13      A In return for?                                         13   portions of its Kin allotment into quarterly increments
14      Q Anything. Any service or product.                      14   to finance its burn, which I think you said is about
15      A Yeah. I think that -- well, I don't                    15   $2.5 million?
16   exactly remember how we concluded the CoinFund and Coin     16      A Uh-huh.
17   Tree deals. So I don't know if we ultimately paid           17      Q Do I have that correct?
18   their advisory services in cash or Kin or both, but,        18      A That's correct.
19   certainly, it was contemplated at the time that we          19      Q Is that currently what's happening?
20   might pay for their services in Kin.                        20      A No, that is not happening.
21      Q But you don't know whether that happened?              21      Q Okay. Well, why is that?
22      A I don't.                                               22      A Because Kin is currently using the proceeds
23      Q Okay.                                                  23   of the token offering to manage the business.
24      A I mean, no. Because I think it moved                   24      Q The $100 million?
25   around a bit between the initial conversations and what     25      A Correct.



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                                                    Page 134                                                         Page 136
 1      Q Okay. But it's not liquidating sort of in            1    think we have felt that that's something the developers
 2   regular increments its allocation of Kin?                 2    will want to see us do in order to get on board.
 3      A It has not liquidated any Kin to my                  3            MR. MITCHELL: Did that smart contract
 4   knowledge.                                                4    exist here?
 5      Q Okay. You write in bullet four, "The Kin             5            THE WITNESS: Yeah, that's is great
 6   Rewards Engine will pay out something like 12 percent     6    question that I -- I don't know the answer to that.
 7   in year one. So if Kin stays at 1 billion, that's         7            BY MR. SCHLEGELMILCH:
 8   $128 million, and Kik will stand to get much of that."    8       Q Well, let me ask a more basic question
 9        Can you explain to me what that means?               9    then.
10      A Yeah. First of all, I'm not sure that this           10           Does the Kin Rewards Engine -- is it
11   is still what we are contemplating. So I think our        11   operational?
12   plans here have changed, but at the time that I wrote     12      A Not at this time. It is not paying any --
13   this e-mail my understanding was that any application     13   I believe that the foundation still holds all of its
14   that was using Kin would participate in a Kin Rewards     14   Kin, and it is not paying out any on the rewards
15   Engine. And that -- I thought Kik would be the largest    15   engine.
16   application in the Kin Ecosystem and would get a lot of   16      Q Okay. In the paragraph right under four
17   the Kin Rewards Engine.                                   17   you write, "So if Kin is successful, meaning that
18         I think what we ultimately decided to do at         18   investors who buy in the presale and the ICO make
19   some point post me writing this e-mail is to say that     19   money, then it looks to me that Kik would end up owning
20   Kik would not participate in the rewards engine for       20   a lot of Kin and would likely dividend it out at some
21   some period of time to give all the developers            21   point to its shareholders, and we would get some of it
22   confidence that they wouldn't be crowded out of the       22   from that."
23   rewards engine.                                           23           You -- the first part, if Kin is
24         So that's why I say I don't think that              24   successful, meaning that investors who buy in the
25   bullet point four is really accurate anymore, but at      25   presale and ICO make money, in June of 2017, is that


                                                    Page 135                                                         Page 137
 1   the time I wrote the e-mail that's what I thinking.        1   sort of how you envisioned success looking like or is
 2      Q No, no. I understand. Thank you. That's               2   that what you thought success looked like?
 3   very helpful.                                              3      A No. I think what I was writing -- you
 4         And just for the record, you wrote this              4   know, I was really trying to do an economic analysis
 5   e-mail in June 2017?                                       5   here. So what I was thinking about as I wrote that is
 6      A Correct.                                              6   how investors who bought in the presale would think
 7      Q And we're now over a year later?                      7   about Kik being -- Kin being successful.
 8      A Right.                                                8         I don't know that that's, for me, the
 9          MR. MITCHELL: The change that you were              9   totality of what a definition of success would be, but
10   just alluding to, do you remember whether that happened   10   I was trying to just take a stab at should we buy in
11   before or after the token distribution event?             11   the offering. And so then looking at if the offering
12         THE WITNESS: Well, I think that this has            12   is successful, we would make money buying in the
13   been a little bit of a moving target over the past        13   offering. But if the offering is a success, then we
14   year. I think that there was a commitment not to have     14   would also stand to benefit a lot from our underlying
15   Kik participate in the rewards engine for some period     15   ownership. So that's really the context of which I
16   of time before we did the token distribution event, but   16   wrote this e-mail.
17   I think we may have even moved further on that since      17     Q Okay. But from your point of view, like a
18   then.                                                     18   purchaser in either the presale or in the token
19         MR. MITCHELL: So the ideas you were                 19   distribution event, their view of whether the offering
20   talking about, they're all made to be integrated into     20   was successful or not had to do with whether --
21   the Kin Rewards Engine; is that right?                    21      A They made money or not.
22         THE WITNESS: The Kin Rewards Engine is a            22       Q Okay. Thank you. This also speaks of
23   smart contract that, you know, will start paying out      23   using Kin as a dividend to Kik shareholders?
24   Kin, but I think that Kik has the ability to defer        24      A Uh-huh.
25   taking Kin out of the rewards engine if we want. And I    25       Q Is that correct?



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                                                 Page 138                                                           Page 140
 1      A Yes.                                                 1       Q This is an e-mail chain. The e-mail at the
 2      Q Did that happen or is that contemplated?             2    very top is an e-mail from you to a lot of people, Miss
 3      A It has not happened, and I'm not sure that           3    Wochtas -- probably mispronouncing that -- Spadafora,
 4   that's the right way to ultimately align the interests    4    Mr. Holland, and Mr. Estill dated June the 13th, 2017,
 5   of the Kik shareholders and the Kin holders. I think a    5    at 6:53 a.m. And the Bates number is
 6   better approach might be to do some sort of exchange.     6    Kik_foundation_cap_002701 and 02.
 7      Q And that prompts sort of a lot of questions          7       A Okay. I've read it.
 8   in my mind.                                               8       Q Thank you. Referring to the e-mail that is
 9         What sort of exchange are you talking               9    at the bottom of the first page on 2701, an e-mail from
10   about?                                                    10   you to Mr. Heinke and mister -- with a carbon to
11       A One could imagine 3, 5, 10 years from now,          11   Mr. Livingston, you write, "Just so you both know, I am
12   if Kin has a market cap of billions of dollars and Kik    12   increasingly nervous about the speculative fever in the
13   owns a meaningful piece of that that Kik's Kin position   13   token sale world."
14   could be in the hundreds of millions or maybe even more   14         Can you explain what you were thinking
15   than that and that what we could do at that time is to    15   about in this time period when you wrote that?
16   say to our shareholders in Kik, exchange your stock in    16      A You know, I'm a conservative person, and it
17   Kik for some of our underlying Kin, you know, like a      17   just felt to me that, you know, things were getting a
18   redemption or, you know, some sort of buyback, if you     18   little out of hand.
19   will.                                                     19      Q And what do you mean by a little out of
20      Q Okay. So the stock could be bought back or           20   hand?
21   bought out using Kin as the currency?                     21      A You know, projects -- and I'm not speaking
22     A Yes.                                                  22   about Kin here.
23       Q Or the medium -- whatever you want to call          23      Q Understood.
24   it, the medium of exchange?                               24      A Projects with very little, other than, you
25       A Yeah. I think that's a better approach for          25   know, an idea presented on a white paper or raising 50,


                                                 Page 139                                                           Page 141
 1   a bunch of reasons than doing a dividend.                 1    100, a million even more. You know, I've been in the
 2      Q Okay. And I think you had mentioned                  2    venture capital business for 30 years, and, you know,
 3   earlier -- and I'm not trying to misquote you, I'm just   3    when someone writes their ideas on a business plan, you
 4   trying to bring us back -- that you felt that to use      4    know, maybe they can raise a million or 2 million of
 5   Kin as a dividend misaligned interest -- and here's       5    seed capital. But then they got to go out and, you
 6   where I'm -- I'm not trying to misquote you, but I        6    know, actually build something in order to get another
 7   think you --                                              7    round done. And it just felt to me like there was
 8      A No, no, no, no, no. That's not what I was            8    something sort of -- you know, it just didn't -- it
 9   saying.                                                   9    didn't -- wasn't making a lot of sense to me.
10      Q Thank you. What were you saying?                     10      Q Okay. And, again, we talked about how the
11      A Well, you know, if one group of investors            11   demand for these digital tokens had just skyrocketed?
12   are shareholders in a corporate entity and one group of   12      A Right.
13   investors are token holders and the business really       13      Q And we -- you write, "Specifically, one, we
14   moves to a decentralized platform, it may be the case     14   should cap our SAFT at $50 million" -- which I think
15   that the best alignment would be for everybody to just    15   we've talked about previously -- "and sell it only to
16   be Kin holders and we would all be interested in making   16   institutions that can do the required due diligence and
17   Kin worth the most and not have any equity value          17   can afford to take a loss on the investment."
18   necessarily outside of the value of Kik's holding in      18         And then, two, you write, "We should not
19   Kin, that that might be the best way to assign            19   sell Kin tokens to the crowd until we have implemented
20   everybody's interest.                                     20   Kin inside Kik and can show it working just like Kik
21      Q I understand now. Thank you.                         21   Points. We should show that we can settle off-chain
22           We'll mark this as 151.                           22   and on-chain before offering Kin to the crowd."
23             (SEC Exhibit No. 151 was marked for             23         And I'd like to just break that down. When
24             identification.)                                24   you say we should not sell Kin tokens to the crowd
25           BY MR. SCHLEGELMILCH:                             25   until we've implemented Kin inside Kik and can show it



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 1   working just like Kik Points, what did you mean by       1    Stellar, which I think is going to be a better
 2   that?                                                    2    solution. But I was aware of that and -- which is why
 3      A I wanted Kin to be functional inside of the         3    I wrote on and off-chain. Because if I had wrote just
 4   Kik app.                                                 4    on-chain, I think the management team would come back
 5      Q And just -- what does functional inside the         5    and say that's never going to work. So that's why I
 6   Kik app mean?                                            6    wrote off-chain and on-chain.
 7      A There would be a wallet there. You could            7       Q Okay. And why was it important to have Kin
 8   see it. You know, you could do something with it.        8    implemented inside of Kik and to show it working just
 9   Like it would be -- I could actually open up my Kik,     9    like Kik Points? Why was that important to do it
10   see the Kin there. I could earn some Kin. I could        10   pre-crowd scale?
11   spend some Kin. You know, just, you know, that it's      11      A There's a whole bunch of reasons why that's
12   working.                                                 12   the case, some which are sort of, you know, I would say
13      Q Okay. What did it mean when we could show           13   best practices and some that I just think, you know,
14   that we can settle off-chain and on-chain before         14   were the right thing to do. I think that before, you
15   offering Kin to the crowd?                               15   know, we sold Kik to, you know, the community we had to
16      A That Kin could move from one wallet to              16   demonstrate that it was working. And I just think
17   another, one Kin wallet to another that -- on a          17   that's like -- I mean, it just makes sense that you --
18   blockchain.                                              18   because, otherwise, it's just, you know, you're selling
19      Q Okay. Is that what off-chain means?                 19   a dream. And that's, I don't think, the way to do
20      A Off-chain would mean that if it was                 20   things.
21   happening from one Kin wallet inside of Kik to another   21      Q Okay. Were you able to -- if you -- if you
22   Kin wallet inside of Kik, we could settle those          22   owned Kin at the time of the token distribution event,
23   off-chain, and those transactions could be like batch    23   were you able to send Kin from one Kik user's wallet to
24   processed onto the Ethereum blockchain at some later     24   another Kik user's wallet at the time of the
25   date, which would give us the ability to do higher       25   distribution event?


                                                Page 143                                                            Page 145
 1   throughput transactions.                                 1       A No. Because we decided to not allow
 2      Q Okay. Because the Ethereum blockchain can           2    peer-to-peer payments functionality inside of Kik for,
 3   just only handle so many transactions?                   3    you know -- I would say trust and safety reasons. And
 4      A Correct.                                            4    so you could earn it; you could spend it; but you
 5      Q And are you familiar -- you probably are            5    couldn't do peer-to-peer payments.
 6   far more familiar than I am with the Cyber Kitty?        6       Q At the time of the token distribution
 7      A Crypto Kitty.                                       7    event, how could you earn it? How could you earn Kin?
 8      Q Crypto Kitty. See, like I said, you're              8       A I think you just earned it by sort of
 9   more familiar with it than I am.                         9    opting into it. You'd get, I think, 400,000 Kin by
10     A I'm an investor in Crypto Kitty.                     10   just kind of opting into it.
11      Q That was a smart thing to do.                       11      Q Okay. And how could you spend it?
12      A Maybe. We'll see in years.                          12      A You could buy stickers and things like
13     Q But that -- the Crypto Kitty sort of idea            13   that.
14   swamped and basically shut down the Ethereum             14      Q At the time of the token distribution
15   blockchain, correct?                                     15   event?
16      A Correct.                                            16      A I believe so.
17     Q And so the concern was -- is that can the            17      Q Okay.
18   Ethereum blockchain handle all these Kik -- Kin          18           MR. LEASURE: From who?
19   transactions?                                            19           THE WITNESS: From Kik, I guess.
20      A Right, right. And at the time our idea to           20           MR. LEASURE: Anyone else?
21   solve that problem would be to settle transactions       21           THE WITNESS: Not aware of anybody else.
22   inside of -- from one Kik user to another Kik user       22           MR. LEASURE: So would you say the
23   off-chain or sidechain is another term people use.       23   limitations you proposed on this item 2 limiting what
24         Ultimately, we decided to move off of the          24   should be in place before a crowd sale took place,
25   Ethereum blockchain entirely and do this fork of         25   would you say that those limitations were in the event



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 1   followed?                                                  1           THE WITNESS: That -- yes. That was
 2          THE WITNESS: I certainly think that --              2    definitely discussed at that board meeting.
 3   well, here's what I would say.                             3           MR. LEASURE: Can you tell me anything
 4          MR. LEASURE: Yeah.                                  4    about that particular discussion?
 5          THE WITNESS: The management team got me             5           THE WITNESS: What do you want to know? I
 6   and the board comfortable, that we had satisfied           6    mean, it's -- the problem is that I don't have a
 7   certainly the spirit of bullet number two before we did    7    perfect recollection. I was only on for 30 minutes.
 8   the token distribution event.                              8    So it's kind of tough to just answer questions like
 9          BY MR. SCHLEGELMILCH:                               9    that.
10       Q How did they do that?                               10           MR. LEASURE: No, no. Okay. So
11      A There was a subsequent board meeting where           11    reaction-wise, did people discuss what you were
12   we discussed this. And the specifics of what would be     12    proposing sort of a -- things to be in place before the
13   live inside of the Kik app and what would not were        13    public crowd sale?
14   discussed and we signed off on it.                        14           THE WITNESS: Yeah.
15       Q And do you recall what was told to you              15           MR. LEASURE: And what was their reaction?
16   about what would be live inside the Kik app?              16           THE WITNESS: I think, generally speaking,
17      A I could recall it, if I was aided by, you            17    the board agreed that this was a good framework.
18   know, some of the board materials. I mean, I remember     18           MR. LEASURE: And do I have it right that
19   the board meeting and I remember the conversation, but    19    there was a -- was this the meeting where management
20   I don't want to try to just do it on memory.              20    presented and made people comfortable that they had
21       Q Okay.                                               21    a --
22          MR. LEASURE: Was it -- this e-mail on top          22           THE WITNESS: See, that's what I don't
23   of the other things, seems to be setting up an upcoming   23    remember.
24   board meeting?                                            24           MR. LEASURE: That's okay.
25          THE WITNESS: Yeah. I don't know whether            25           THE WITNESS: I mean, it may have been


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 1   it was at that board meeting or another board meeting     1    another call or meeting that we had between this and
 2   where we locked into the specifics. It may have been      2    September. You know, we were evolving things as we
 3   that board meeting, but, you know, ultimately, we         3    went through the spring and summer, and so I don't know
 4   didn't do the token distribution event for almost two     4    whether we locked and loaded on it at this meeting or
 5   months. So I don't know if things changed between then    5    another meeting.
 6   and when we ultimately did it.                            6          BY MR. SCHLEGELMILCH:
 7         MR. LEASURE: Okay. Do you remember a                7       Q Let me mark one more exhibit, which I think
 8   board meeting in mid-June that you -- it looks like you   8    may --
 9   called into for the first 30 minutes?                     9       A Okay.
10          THE WITNESS: Yeah.                                 10      Q -- shed a little bit of clarity on this
11         MR. LEASURE: Tell me about that board               11   meeting versus another one.
12   meeting.                                                  12         So we'll mark this 152.
13         THE WITNESS: What do you want to know               13             (SEC Exhibit No. 152 was marked for
14   about the board meeting?                                  14             identification.)
15         MR. LEASURE: What did you say? What did             15         BY MR. SCHLEGELMILCH:
16   other people say? What was discussed?                     16      Q And just for the record, this is an e-mail
17          THE WITNESS: I think we were talking about         17   from you to investment team dated June 14, 2017. The
18   the logistics of both the SAFT and the crowd sale, and,   18   Bates number is USV 0011717.
19   you know, how we were going to go about doing these       19      A All right. Great.
20   thing and so on and so forth.                             20      Q Does this do anything to refresh your
21         MR. LEASURE: The items that we spent some           21   memory about what was discussed at the board meeting?
22   time walking through where you wanted to put some --      22      A Yeah. But -- except for the fact I don't
23   it's fair to say -- guardrails or limitations on when     23   know if -- I mean, this is certainly the plan of action
24   to do the public crowd sale, was that discussed at that   24   that we agreed to at that board meeting, but what I
25   board meeting?                                            25   don't know is whether that plan of action changed



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                                                    Page 150                                                       Page 152
1    between that board meeting and the ultimate token         1       Q I see. But at the -- at the end of the
2    distribution event.                                       2    day --
3       Q Fair enough. So let's -- and it may help             3       A We ended up raising 100.
4    to sort of break it down and we can sort of do it item    4       Q Okay. And is that because it was capped or
5    by item because what you do in your e-mail is you list    5    just because that's where the -- sort of the interest
6    sort of five bullet points and then have a --             6    ran out?
7       A You noticed my tendency to do that?                  7       A Well, we -- you know, we held the SAFT to
8       Q It's very convenient. I appreciate that.             8    $50 million. And then when we did the crowd sale we
9          So the first -- the very first sentence,            9    raised 50 but not 75. So it ended up being 100. So
10   writes -- you write, "We had a board meeting yesterday    10   it's a little above.
11   to make some decisions on our SAFT."                      11      Q Was the cap at 75?
12         And is that something that you would do             12      A On the crowd sale?
13   following a board meeting with Kik? You'd send it to      13      Q Yes, sir?
14   the investment team?                                      14      A Yes.
15      A Certainly.                                           15      Q Okay. You talk about doing AML and KYC,
16      Q Okay. And why would you do that?                     16   which is anti-money laundering and know your client?
17      A To keep everybody informed, get advice,              17      A Uh-huh.
18   counsel.                                                  18      Q Is that what those stand for?
19      Q Okay. You wrote, "There is north of                  19      A Uh-huh.
20   $50 million of soft-circle demand for the Kin SAFT.       20      Q And then you write, "We will only draw down
21   Apparently, Olaf has indicated some interest from         21   on 20 percent of the SAFT until the ICO is completed."
22   Polychain. I will circle back with him."                  22            What does that mean?
23         What does soft-circle demand mean?                  23      A That means that the company would not get
24      A That is a term of art which says that                24   access to the entire 50 million. We would only get
25   these, you know, people are, you know, putting in         25   access to 20 percent of it.


                                                    Page 151                                                       Page 153
1    indications of interest or sizing up their perspective    1       Q Okay. And do you recall whether that
2    interest in an offering.                                  2    actually -- was that how it actually worked?
3       Q But no one has committed to anything,                3       A I believe that is how it actually worked.
4    nothing is irreversible?                                  4       Q Okay. And what was -- why? Why do it that
5       A Correct.                                             5    way?
6       Q Okay. And Olaf, that's the -- I don't know           6       A It just felt like it was a conservative
7    what his title is.                                        7    thing to do, to not take 50 million from a bunch of
8       A Founder of Polychain.                                8    investors and spend it and never actually execute on
9       Q Founder of Polychain. Okay.                          9    the token distribution event. It just seemed to
10         You wrote, "Vaguely, they can raise and             10   protect them and, also, you know, incentivize us to
11   close on 75 million in the next week to ten days"?        11   deliver on what we were supposed to deliver on, which
12         Who is the they?                                    12   is to get the crypto token live and get it working
13      A The management team.                                 13   inside of Kik and demonstrate that we could do all of
14      Q Of Kik?                                              14   that.
15      A Yeah.                                                15      Q Okay. And then you write, "We will not ICO
16      Q Okay. And then, "We decided the following:           16   until Kin is working inside of Kik and we can settle
17   We will hard cap the entire offering presale and ICO to   17   Kin off-chain and on-chain."
18   $100 million."                                            18            And I think we talked about that.
19      A Uh-huh.                                              19            Looking at the rest of your e-mail which
20      Q Do you recall that being discussed?                  20   reads, "What this all means is that Kik is raising this
21      A I do.                                                21   money from sophisticated investors and is a security
22      Q And that's what ultimately happened,                 22   offering for now. It also means that Kik will have
23   correct?                                                  23   access to roughly $15 million of the SAFT proceeds,
24      A No, actually. There was a time when we               24   which when combined with the $15 million they have in
25   thought about raising 125.                                25   the bank will fund the business for 12 months which



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                                                   Page 154                                                           Page 156
 1   gives them plenty of time to properly implement Kin        1   look, I mean -- I mean, I lived through the first
 2   inside of Kik and the scaleup before they can be ICO."     2   Internet bubble, you know, when, you know, things just
 3         When did you understand they were going to           3   went crazy and all of a sudden people were raising
 4   do the ICO?                                                4   hundreds of millions dollars, you know, on a napkin,
 5      A When we could get Kin working inside of               5   and, you know, that ended badly. And I felt, you know,
 6   Kik. I mean, to me, it wasn't clear when that would        6   a lot of, you know, muscle memory from that period and,
 7   happen.                                                    7   you know, I just -- I have a natural instinct to be --
 8      Q Okay. And why was it not clear to you?                8   you know, when everybody wants to buy, you know, I want
 9      A Because we to had to build the software.              9   to sell, you know.
10   We had to actually, you know, make it work.               10          It's like I've got a contrarian mindset.
11      Q When did you understand or when did you              11   Like when everybody is jumping into this thing -- you
12   come to learn that they were actually going to do the     12   know, we have been in this market since 2011. You
13   token distribution event or the ICO, whatever you want    13   know, we've been investing in the crypto market for
14   to call it in September, which was, you know, only a      14   now, you know, six years and all of a sudden everybody
15   few months after this?                                    15   wants to get in. You know, I want to get out, you
16      A I don't know, to be honest. I mean, I                16   know. So that's what you -- you know, I'm a
17   can't recall when that became crystal clear to me, but    17   conservative contrarian person.
18   you know, I just wanted -- what you're seeing in this     18       Q Okay. That's very helpful. We've been
19   e-mail is me communicating to my partners that the SAFT   19   going for another hour.
20   bought us time to do it properly and that the company     20      A Okay.
21   would do it properly and that I had a commitment from     21       Q Any objections to a short break? Great.
22   the company to do it properly.                            22   All right.
23      Q Okay. And what did do it properly mean?              23          Can we go off the record, please?
24      A Make sure that it was working, that we               24          THE VIDEOGRAPHER: This ends disc number
25   were -- that we had a live crypto token working inside    25   two. Going off the record. The time is now 2:13 p.m.


                                                   Page 155                                                           Page 157
 1   of Kik before offering crypto tokens to the community.     1          (A brief recess was taken.)
 2      Q And is it your view that that's what                  2          THE VIDEOGRAPHER: This begins disc number
 3   ultimately happened?                                       3   three. We are back on the record. The time on the
 4      A It is my view that that's what ultimately             4   video monitor is 2:27 p.m.
 5   happened.                                                  5          BY MR. SCHLEGELMILCH:
 6      Q Okay. Were you surprised to learn at some             6      Q    Welcome back, Mr. Wilson.
 7   point during the summer of 2017 that Kik only needed       7          During the break you didn't have any
 8   until mid-September to have a -- to have it work inside    8   substantive conversations with the staff?
 9   of Kik?                                                    9      A I did not.
10      A I wasn't surprised. No. But, you know, I             10      Q    I think we overheard a conversation about
11   think that the engineering team in Tel Aviv is much       11   the New York Knicks, but I think that was about it.
12   stronger than the engineering team we had prior to        12      A Does that count as substantive?
13   acquiring that group. And they really -- they did a       13      Q    It depends on your affiliations. Let me
14   lot that summer. They -- it was, I would say -- I         14   mark another, and I made all these copies. I might as
15   don't know if surprising is the right word, but I would   15   well mark them. And this has been marked as
16   say I was certainly pleased that our team was as good     16   Exhibit 153.
17   at doing this as they ended up being.                     17             (SEC Exhibit No. 153 was marked for
18      Q Okay. You write in the last sentence of              18             identification.)
19   your e-mail, "This is still a lot of money, and it        19          BY MR. SCHLEGELMILCH:
20   makes me nervous. But I do feel that this plan is         20      Q    And it's an e-mail from you to -- it's an
21   appropriately cautious and certainly much less            21   e-mail chain, but the one at the top is an e-mail from
22   aggressive than some of the things that are getting       22   you to Mr. Wenger, Burnham, and investment team dated
23   done out there right now."                                23   June the 15th, 2017 at 10:44 a.m. And it's USV 0011600
24          Why did it make you nervous?                       24   to 601. And just let me know when you've had a chance
25      A You know -- I just -- you know, I felt --            25   to read it.



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                                                    Page 158                                                       Page 160
1       A Okay.                                                1       A I mean, that is what -- I mean, that is
2       Q Perfect. What I'd like you to do is to               2    what makes Polychain different than Union Square
3    turn to the second page which begins -- the e-mail        3    Ventures. You know, we own illiquid securities, and
4    chain looks like it begins with an e-mail from Olaf       4    they own largely liquid securities. So, yes, that is
5    Carlson-Wee to you dated June the 14th, 2017?             5    what I mean.
6       A Yep.                                                 6            Now, the truth is they probably hold more
7       Q And Mr. Carlson-Wee is the founder of                7    illiquid securities than one might imagine because they
8    Polychain?                                                8    bought a lot of these SAFTs over the years. So
9       A Correct.                                             9    maybe -- I don't know -- some percentage, 20,
10      Q And it looks like Mr. Carlson-Wee has read           10   30 percent of their fund might actually be in illiquid
11   the Kik white paper and has heard Mr. Livingston speak    11   securities, but that's what I meant by what I said.
12   about the Kin offering in some form whether on video or   12      Q Okay. And when you wrote this e-mail on
13   live or something like that?                              13   June 15th, was there, in your mind, some risk that Kik
14      A Uh-huh.                                              14   would do the SAFT, that they would do this presale and
15      Q And he e-mails you about his interest in             15   not do the ICO?
16   the Kin offering?                                         16      A Not so much that they wouldn't ultimately
17      A Yep.                                                 17   do the token distribution event but that it might take
18      Q Okay. I just want to make sure -- I'm just           18   a while to get there, you know.
19   trying to lay a little bit of context here.               19      Q And that the tokens that Mr. Carlson-Wee
20           It looks like you forward Mr. Carlson-Wee's       20   would purchase on behalf of Polychain would be sort of
21   e-mail to somebody. It doesn't say who.                   21   waiting for the token distribution event to be issued?
22           And you write, "Olaf is bullish on Kin. I         22      A Right.
23   will dialog more with him on this to make sure he         23      Q The ones that he purchased through the
24   understands the risks here. I want to strike a            24   SAFT?
25   balance."                                                 25      A That's one of the risks.


                                                    Page 159                                                       Page 161
1            When you wrote that you want to make sure          1      Q And that it might be an indefinite period
2    he understands the risks, what risks were you referring    2   of time?
3    to?                                                        3      A It could've been a longer period of time
4       A You know, whether we could get to a token             4   than he was counting on.
5    distribution event, which would then convert the SAFT      5      Q Okay. And so is it fair to say in June of
6    into a token that he could own. I mean, it's a token       6   2015 that you -- or let me ask it a better way.
7    fund, right. So he's not really in the business of         7           Did you know in June 2017 when the token
8    owning illiquid assets. And, you know, just, you know,     8   distribution event was going to occur?
9    the challenges of taking a centralized system like Kik     9      A No, I did not.
10   and decentralizing it with a crypto token, which I        10      Q Okay. And it looks to me, based on my
11   don't think is -- even though that was our game plan,     11   career of reading other peoples e-mails, that you
12   you know, there's some challenges around doing that,      12   forwarded this e-mail to Mr. Burnham at USV?
13   scalability being one that we discussed in this e-mail.   13      A I think I probably forwarded it to either
14      Q Okay. I just want to make sure I                     14   the investment team or another group, which would have
15   understand your answer. You said that Polychain was       15   been the partners at USV. I'm pretty certain I didn't
16   not in the business of holding illiquid assets.           16   just -- just the way that Brad replies to it, it looks
17           Is it -- is what you meant by that -- and         17   to me like there were other people on this than just
18   first of all, I'm not trying to misquote you in any       18   Brad.
19   way, if I get it wrong, just say, no, that's not what I   19      Q I see. Can you -- what did you understand
20   said.                                                     20   Mr. Burnham to be writing in response to your e-mail
21           But is it -- your testimony is that in your       21   about Mr. Carlson-Wee?
22   mind Polychain was in the business of owning crypto       22     A Well, he started out by saying Olaf has
23   tokens or blockchain tokens that it could sell easily     23   this exactly right. Brad, you know -- it's a little
24   if the -- if it needed to match it's investment           24   bit like you have -- you know, you've got to understand
25   interest?                                                 25   our partnership to truly understand this e-mail, but



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                                                       Page 162                                                        Page 164
 1   Brad is the sort of -- he's the sort of big-picture           1      Q Okay.
 2   macro thinker, you know, and he -- Albert's the               2      A But, you know, I mean, I wanted to make
 3   technician, the one thinks who about how you actually         3   sure that we had a working implementation of Kin inside
 4   implement something and whether it will scale and the         4   of Kik. That's what I kept sort of hammering on.
 5   computer scientist, and Brad is much more sort of the         5      Q And what is it -- am I reading this
 6   market strategist and macro thinkers.                         6   correctly when you say should I cave and say yes to
 7            So, I mean, this is classic, actually,               7   that, it should -- and I'm speaking as you -- should I
 8   reading this e-mail how our partnership behaves, but          8   say yes to this sort of minimum whatever, this minimum
 9   what Brad was basically saying is that, you know, we          9   thing that Ted is pushing you on?
10   should not implement Kin in some sort of -- you know,        10      A Yes.
11   there was this conflict of, like, private blockchains        11      Q Okay.
12   and, you know, fake blockchains. And, you know, I            12      A And Brad came back and said, you know, if
13   think Brad was saying, you know, we put it on Ethereum       13   the limited utility is clearly defining a path towards
14   and make it work on Ethereum, and that's going to be a       14   an open decentralized protocol, then I don't see why
15   better solution.                                             15   not. His point was, you know, it can be minimally
16         Q Okay. And then you respond it looks like             16   viable day one, and then you can make it more and more
17   to Mr. Burnham's e-mail at 9:45 a.m. and you write,          17   and more viable every single day and deliver what you
18   "Your idea limited utility day one is exactly what Ted       18   want to see thread over some period of time as opposed
19   is pushing me on. Should I cave? And say yes to              19   to having it all there day one. That was what he was
20   that."                                                       20   saying.
21            What does that mean? What are you                   21      Q Okay. But your preference was to have it
22   referring to when you wrote that?                            22   all sort of there on day one?
23      A Well, because the Ethereum blockchain could             23      A I wanted my cake and eat it, too. Don't we
24   not really process many transactions, if Kin was going       24   all?
25   to be alive on the Ethereum blockchain, we would have        25      Q And so you respond to Mr. Burnham's e-mail,


                                                       Page 163                                                        Page 165
 1   to really minimize what transacting could be done with       1    "I feel like the bling is leading the blind"?
 2   it. It would have to be very sort of minimally viable,       2       A That's a typo. That's the blind.
 3   which is what Brad was basically arguing for is put it       3       Q Okay. So what you meant to write was I
 4   on a public blockchain, make it a real blockchain, and       4    feel like the blind is leading the blind here?
 5   just, you know, start with a very, very, very thin           5       A Yes.
 6   amount of utility versus putting it on a private chain       6       Q And what did you mean by that?
 7   that we could then let people do all sorts of things         7       A You know, we're stumbling in the dark. We
 8   with it.                                                     8    don't really know, you know. We're trying to figure
 9         Q And when you wrote that Ted is pushing you           9    out what, you know, the right thing to do here is, and
10   on -- well, let me ask it in a better question.              10   there's not a lot of guidance being given by anybody,
11            What was Ted pushing you on?                        11   you know.
12         A Ted wanted to put it on Ethereum and, you            12          And we're going to -- you know, we're
13   know, really release a minimally viable implementation       13   setting a precedent for how a large centralized network
14   of Kin inside of Kik, one that Ethereum could support        14   decentralizes. And, you know, Ted's relying on me and
15   but would not -- you wouldn't be able to do much with        15   I don't have a lot of experience in this. And, you
16   it.                                                          16   know, I'm reaching out to my partners to help, you
17         Q Okay. And what -- in the version that --             17   know. Help me. Help me help Ted. Help me help the
18   during this time period that Mr. Livingston was pushing      18   company.
19   you on, what was the minimum?                                19      Q Okay. And then looking at the top
20         A That's the part that's a little, you know,           20   e-mail --
21   hard for me, you know, to, you know, reconstruct what        21      A Right.
22   that looked like on June 15th versus what that looked        22      Q What you wrote was, "What Ted wants to do
23   like on July 15th versus what that looked like on the        23   is on-chain but not a truly transactional service day
24   day of the token distribution event. You know, this          24   one. You would be able to have Kin and display them on
25   is -- this was an ongoing conversation.                      25   your profile but not send them around. I think that is



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                                                Page 166                                                    Page 168
 1   what Brad meant 'status' and not a lot more."              1   There's no bright line test of that. You know, it's
 2        What do you recall about this, what Ted               2   just an excruciating part of trying to be a responsible
 3   wants to do being on-chain but not a truly                 3   board member and do the right thing without any
 4   transactional service --                                   4   guidance.
 5      A This is -- you know, I mentioned this                 5          MR. LEASURE: Just because we talked about
 6   before. They did not want to allow peer-to-peer            6   guidance earlier in the day, and I think you were
 7   transactions between Kik users -- me sending you Kin --    7   connecting guidance to securities law guidance. When
 8   inside Kik, day one. They didn't think that they could     8   you're talking in this context, are you talking about
 9   support that from a scaling perspective, and there was     9   just business cases went up from a business
10   also trust and safety issues around that, too.            10   perspective?
11      Q When you say trust and safety issues, what           11          THE WITNESS: No. Not -- I mean, it would
12   do you mean by that?                                      12   be helpful to know when something is a utility token.
13      A You know, we -- you know -- you just -- you          13          MR. LEASURE: Under -- okay. And I'm
14   know, you can have some bad person doing some bad         14   asking in these -- we see these e-mails in mid-June --
15   thing, right. We've got to make sure that, you know,      15          THE WITNESS: Uh-huh.
16   we're not, you know, facilitating, you know, people       16          MR. LEASURE: Is that -- and we see the
17   doing things -- you need to be -- if you're going to      17   word utility in there.
18   implement something like, you know, a peer-to-peer        18          THE WITNESS: Uh-huh.
19   payment system, you've got to have it instrumented so     19          MR. LEASURE: And are you talking -- are
20   you can kind of watch the stuff go around and make sure   20   these discussions in part concerns about securities
21   that there's not sketchy stuff going on.                  21   laws or are they concerned about just business case,
22      Q Okay. And you write, "You would be able to           22   what's responsible -- I'm trying to get context of what
23   have Kin and display them on your profile."               23   your concerns are at this time in June.
24        What does that mean?                                 24          THE WITNESS: It is my belief that you
25     A You know, like say like I've got 400,000              25   cannot have a functioning crypto token economy where


                                                Page 167                                                    Page 169
 1   Kin or I've got 300,000 Kin or I've got 500,000 Kin.       1   every crypto token is a security. We're never going to
 2      Q And I think that -- I think you write this            2   get there, okay. So we have to have a bright line test
 3   in the next sentence that you would be able to -- that     3   about when something is no longer security and it is a
 4   your status or the amount of Kin that you own --           4   utility. Okay. That's what we need. And no one's
 5      A Uh-huh.                                               5   given it to us. So we're making it up.
 6      Q -- would be displayable or known?                     6          MR. LEASURE: Well, I'm asking a slightly
 7      A Right.                                                7   different thing.
 8      Q Is that how -- at the time of the token               8          THE WITNESS: Okay.
 9   distribution event, is that the -- is that what you        9          MR. LEASURE: And I just want to be clear.
10   could do with Kin?                                        10   These discussions in June where it looks like you and
11       A No, no, no. Because I think that we                 11   Ted are having a back and forth about what, you know,
12   ultimately added the ability to earn and spend by         12   should be implemented in Kin on day -- at Kik on day
13   buying stickers.                                          13   one --
14      Q Okay. At the time of the token                       14          THE WITNESS: Uh-huh.
15   distribution event?                                       15          MR. LEASURE: I'm trying to understand if
16      A Yes, yeah.                                           16   those are business discussions or if those are
17      Q Okay.                                                17   discussions about securities laws, something else --
18       MR. MURTHA: If you hadn't had the ability             18          THE WITNESS: Everything, everything.
19   to buy and spend, do you think that this was a -- have    19          MR. LEASURE: All of it altogether?
20   minimum liability?                                        20          Because it's not just about securities
21        THE WITNESS: I mean, look, this is all an            21   laws, it's about, you know, users are going to be
22   unknowable answer, right. Like, we don't -- there --      22   earning Kin, right. We want that Kin to be something
23   there's no -- there's no guidance on that. We -- I        23   that they can spend, that they can exchange, right.
24   don't know, you know. That's why, you know, I feel        24   You know, so it's got to be utility. It's got to be
25   like the blind's leading the blind here, you know.        25   something like a currency. It's got to be something



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                                                      Page 170                                                        Page 172
 1   like a euro or a yen, right.                                 1   regulators prior to token distribution event?
 2          And so it's about securities laws. It's               2             THE WITNESS: I do not.
 3   about tax laws. It's about, you know, a lot of things.       3             MR. LEASURE: But was there discussion
 4   It's not just about securities laws in my mind.              4   about doing so?
 5          BY MR. SCHLEGELMILCH:                                 5             THE WITNESS: There may have been, but I
 6      Q You talked about guidance regarding the                 6   don't know.
 7   securities issues.                                           7             MR. LEASURE: You weren't involved in it?
 8          Do you know whether or not Kik sought                 8             THE WITNESS: Maybe I was. Maybe I wasn't.
 9   guidance from the Ontario Securities Commission?             9   I don't recall.
10      A I'm not sure why they went and talked to               10             MR. LEASURE: You don't recall. Okay.
11   the Ontario Securities Commission, but they did.            11             BY MR. SCHLEGELMILCH:
12      Q Okay. Do you have an understanding of what             12      Q And I should have made this clear at the
13   guidance the Ontario Securities Commission -- well, let     13   beginning of the day and I didn't, but I'm not trying
14   me step back and -- that's sort of preliminary              14   to get into your conversations with counsel. Those
15   question.                                                   15   are -- the company has not waived it's privilege. I
16          Do you know what Kik asked the Ontario               16   have no interest in making you waive on their behalf.
17   Securities Commission about?                                17   I just -- I'm not trying to invade that at all.
18         MR. CADIGAN: Well, actually, I just want              18       A Okay.
19   to -- I mean, if we step out, I just want to make sure      19      Q So if there's a -- if I ask you any
20   you agree that your knowledge is based upon                 20   question where the answer to it depends or turns or
21   communication with counsel. I instruct you not to           21   includes conversations that you had with counsel, we
22   answer that. If we need to step out to discuss that.        22   can call a time out and we can figure out how to
23          THE WITNESS: I don't really know,                    23   resolve it.
24   honestly. I don't really know why we went and talked        24      A Okay.
25   to the Ontario Securities Commission. I know we did.        25      Q Is that fair, counsel?


                                                      Page 171                                                        Page 173
 1         BY MR. SCHLEGELMILCH:                                 1          MR. CADIGAN: Yes, yes. Thanks.
 2      Q Okay. And do you know that -- and with                 2          BY MR. SCHLEGELMILCH:
 3   your counsel's sort of concerns sort of baked into my       3       Q Let me hand you what will be marked as 154.
 4   question, do you know what they asked about of the          4                (SEC Exhibit No. 154 was marked for
 5   Ontario Securities Commission?                              5                identification.)
 6      A I do not. I do not.                                    6          BY MR. SCHLEGELMILCH:
 7      Q Okay. Do you know -- and, again, with your             7       Q And just for the record, this is an
 8   counsel's concern sort of baked into this question, do      8    e-mail -- it's an e-mail string. The top of the string
 9   you know what Kik was told in response to their quarry      9    is from you to Mr. Burnham and carbon copied to
10   to the Ontario Securities Commission?                       10   investment team dated June 16, 2017, at 4:45 a.m. I
11      A I do not. But I do know that all Canadian              11   can only hope that you were on the west coast when this
12   passports that we received in our KYC effort were           12   went through, and it's USV 0011569 through 573.
13   removed from the offering.                                  13      A By the way, I believe that this entire --
14      Q Meaning that Canadian citizens, people who             14   not that this is material in any way -- this entire
15   had a Canadian passport were not participating -- were      15   chain of e-mails starting on June 3rd and going to this
16   not permitted to participate in the token distribution      16   one were sent by me when I was in Europe. I was in
17   event?                                                      17   Europe for the entire month of June in 2017.
18      A That is what resulted from that meeting,               18      Q Okay.
19   and I don't know what we asked them for and I don't         19      A So that may explain some of the time stamp
20   know what they told us. But I know that was what the        20   issues.
21   result was.                                                 21      Q Well, I would have also accepted I'm an
22         MR. LEASURE: With your counsel's                      22   early riser.
23   admonitions, again, going through these series of           23      A I am, but I think that's what was going on.
24   questions -- the Ontario securities regulators, do you      24      Q Okay. Oh, you're ready. I'm sorry. I
25   know if they ever reached out to the U.S. securities        25   didn't want to rush you.



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                                                   Page 174                                                         Page 176
 1            What this looks like, if you look on page 2      1       Q Okay.
 2   of the exhibit, is a lengthy e-mail from Mr. Morehead     2       A Everything that I wrote here I heard
 3   at Pantera Capital to someone named Sunil?                3    thirdhand through Ted.
 4      A Uh-huh.                                              4       Q What did Mr. Livingston tell you he was
 5      Q Do you know Sunil Shah?                              5    getting from Mr. Morehead at Pantera?
 6      A I do.                                                6       A He was saying got to get the token
 7      Q Okay. Who is Sunil Shah?                             7    distribution event done ASAP.
 8      A He's a venture capitalist on the west                8       Q And why?
 9   coast.                                                    9       A Because the first centralized -- again, Dan
10      Q Okay. So and he writes a lengthy e-mail to           10   never said this to me. What I heard third party from
11   Mr. Shah regarding among other things Kin; is that        11   Ted was that Dan's argument was the first centralized
12   correct?                                                  12   app to have a live token would be wildly successful and
13      A Yes.                                                 13   the second one would barely register.
14      Q Okay. I'm not going to spend a ton of time           14      Q And the analogy that you understood from
15   on Mr. Morehead's e-mail. I don't know that it makes a    15   Ted was -- looking -- I think you're right.
16   ton of sense to talk with you about it, but Mr. Shah      16         "He literally told Ted do you know who the
17   takes Mr. Morehead's e-mail and forwards it to            17   second black baseball player is," meaning that -- the
18   Mr. Monegro who works for Union Square?                   18   baseball player that came after Jackie Robinson?
19      A Not at the time. He was gone by the time             19      A That's what Ted told me he said.
20   this happened. He now works for a fund called             20      Q Okay. And just for the record, it's Larry
21   Placeholder.                                              21   Doby, and he played for the Cleveland Indians. And
22      Q Okay. So at the time of this e-mail,                 22   he's the first American league professional -- African
23   Mr. Monegro worked for Placeholder?                       23   American professional baseball player. I grew up in
24      A Correct.                                             24   Cleveland. There's a statue of Larry Doby. He's a big
25      Q Mr. Monegro forwards it to Mr. Burnham               25   deal. And I promised, specifically Mr. Murtha, I would


                                                   Page 175                                                         Page 177
1    with a carbon to Mr. Burniske?                            1    get this on the record.
2       A Who is his partner at Placeholder.                   2       A I think it's important that it be on the
3       Q I see. But Mr. Burnham works at USV.                 3    record, and I didn't know the answer to that. And I
4    Okay. So that is the route that this e-mail took          4    would -- if Dan ever asked me who the second black
5    through the ether, not capitalized. And then              5    baseball player is, now I know.
6    Mr. Burnham responds, and it looks like he forwards it    6       Q It's Larry Doby.
7    on talking about he finds it wild that someone is using   7       A How do you spell it? D-o-b-e?
8    Kik's white paper. And then we get to your e-mail         8       Q D-o-b-y.
9    which appears to be a response to Mr. Burnham's. Okay.    9       A D-o-b-y. Okay.
10   That's where we're at. It was a long walk for a short     10      Q You write next, "I've been arguing that we
11   drink, but that's where we're at.                         11   should do the token distribution event when Kin is live
12            You write, "Dan at Pantera is my problem         12   and working in Kik then we can settle on and off-chain.
13   right now in managing Ted. Dan is pushing Ted to          13   Anything short of that seems janky to me."
14   optimize for market cap not token utility. He's           14         What did you mean by anything short of that
15   arguing that the first token to hit CoinMarketCap that    15   seems janky to me?
16   is about decentralizing an existing centralized app       16      A Well, we've discussed this, you know, for
17   will go right to the top of the charts and the next one   17   the past half hour. So I just wanted real utility.
18   will hardly register." Just stopping right there.         18      Q And you understood through Ted -- I
19            How was Dan at Pantera your problem right        19   understand this was through Mr. Livingston -- that
20   now in managing Ted?                                      20   Mr. Morehead at Pantera was pushing for speed over
21      A He was giving Ted a different set of advice          21   utility?
22   than I was.                                               22      A Yes. That's what I heard from Ted.
23      Q What's your understanding of what mister --          23      Q "Dan is arguing we should rig something up
24   what Dan at Pantera was telling Ted?                      24   that is gimmicky but passes the Howey Test and do the
25      A So I never talked to Dan.                            25   token distribution event ASAP."



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 1           What did you mean by rig something up that         1    think that's -- I don't really think that was what the
 2   is gimmicky but passes the Howey Test?                     2    tone intended or the conversation was. I think Dan was
 3       A I don't know. I mean, I don't know whether           3    very bullish on Kin. He wanted to see us move it very
 4   those were Ted's words or Dan's words or that I wrote      4    quickly to move on what he saw was a first move or
 5   them. I really don't know. But I mean, I -- you know,      5    advantage. And he was just putting a lot of pressure
 6   something less than what I wanted.                         6    on Ted to move more quickly. And that's -- I think is
 7      Q Okay. What is the Howey Test?                         7    the extent of it.
 8      A The Howey Test is one of the tests to know            8           MR. MURTHA: But you're just speculating
 9   whether something's a security or not.                     9    that? You never came to actually --
10      Q Okay. And you understood through Ted that,           10           THE WITNESS: I never talked to Dan, but I
11   again, Mr. Morehead was pushing for speed and was         11    don't think -- I don't know because I never talked to
12   willing to do something gimmicky to pass the Howey        12    Dan. But I don't think that there was some you got to
13   Test?                                                     13    do it this way or we won't put money in this out there.
14     A I think he was arguing that Kik should be             14    I really don't think that that's what was going on. I
15   willing to do that.                                       15    think it was more like I'm really excited about this,
16      Q Okay. Understood.                                    16    can we go faster. It was -- I think it was that kind
17       MR. LEASURE: Why would Ted care what Dan              17    of conversation.
18   Morehead wants?                                           18           MR. MURTHA: At the time you wrote this
19           THE WITNESS: You know, Ted -- you know,           19    e-mail on June 16th, did you have any kind of
20   Ted's a -- you know, Ted's a -- you know, he's -- he      20    expectation how long it would take until the Kin was
21   takes counsel from lots of people. And, you know, in      21    live and working on Kik, even if it was like a range of
22   the -- my relationship with him, going back to the        22    time?
23   earliest days, you know, he'd call me up and say so and   23           THE WITNESS: I mean, no. I mean, I
24   so thinks we should do this, what do you think. It's      24    thought we could do it, you know, in -- certainly by
25   just one more example of that.                            25    year-end, you know. I mean, I thought we could get it


                                                 Page 179                                                          Page 181
 1           MR. LEASURE: All right. So just because           1    done in '17. But I -- you know, I didn't know the way
 2   Dan Morehead -- any other reason than that?               2    that we could get it done in a month, two months, three
 3           THE WITNESS: I don't know. I mean, I              3    months, four months, five months. I just didn't have a
 4   wasn't involved in that conversation. I really don't      4    good sense of that.
 5   want to speculate. But, you know, this was not            5          BY MR. SCHLEGELMILCH:
 6   atypical of my relationship with Ted where he would run   6       Q Let me hand you what's been previously
 7   a conversation he had with somebody else by me.           7    marked as Exhibit 48.
 8           BY MR. SCHLEGELMILCH:                             8          What is Exhibit 48?
 9      Q Pantera ultimately was one of the larger             9          Let me ask you a better question than that:
10   purchases during the presale, correct?                    10   Have you ever seen Exhibit 48 before?
11     A Correct.                                              11      A Yes.
12           MR. LEASURE: But at this time Pantera -- I        12      Q Okay. What is it?
13   think I have this right.                                  13      A It's the board resolutions that we passed
14           Pantera still had the option of walking           14   that authorized the company to do the SAFT. And I
15   away from the presale?                                    15   guess -- and maybe aspects of the token distribution
16           THE WITNESS: I don't know. I mean,                16   event as well. I'm not entirely clear whether this was
17   when -- I don't know when, you know, they committed to    17   the entirety of the resolutions that were required for
18   it. I don't know when they funded it. I really don't      18   the token distribution event, but, certainly, this was
19   know.                                                     19   the board resolution that gave the company the
20           MR. LEASURE: Is it -- well, never mind.           20   authority to the do the SAFT.
21           MR. MURTHA: Did you ever come to                  21      Q Well, let's look at the whereas clause. If
22   understand that Pantera might be willing to walk away     22   you look at the first whereas clause, it reads,
23   from investing in the Kin ICO if Kik didn't               23   "Whereas the company has been developing a strategy to
24   acquiesce --                                              24   build out a semi-centralized blockchain-based computer
25           THE WITNESS: No. I don't think -- I don't         25   network called the Kin Ecosystem that enables economic



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                                                  Page 182                                                        Page 184
 1   transactions and a reward system for digital service       1   once the Kin Ecosystem is built out, does that mean to
 2   providers as well as an application to make it's           2   have Kin working within Kik?
 3   network accessible via the Kik messaging platform,         3            THE WITNESS: I think what we wanted to do
 4   defined as the network application.                        4   was demonstrate real functional utility of a Kin token,
 5          "Whereas the corporation proposes to offer          5   and the place we wanted to do that was inside of the
 6   for sale to the public an appcoin called Kin at such       6   Kik app.
 7   time as the Kin Ecosystem is functional.                   7            MR. LEASURE: And that's what's meant by
 8          "Whereas the corporation requires                   8   the Kin Ecosystem is built out?
 9   additional funds to finance the development of the Kin     9            THE WITNESS: I think the Kin Ecosystem
10   Ecosystem and the network application before such         10   actually in that resolution refers to Kin running on a
11   rollout of the Kin Ecosystem and development of the       11   public blockchain. And running inside of Kik in that
12   network application."                                     12   resolution is the network application, I think, is what
13          So what did you -- when you -- if you look         13   the definition is. So, you know, I think this
14   at the last page of this, you signed this?                14   resolution may be a -- you know, this is written like a
15      A Uh-huh.                                              15   board resolution, and that's what it is.
16      Q You DocuSigned it?                                   16            BY MR. SCHLEGELMILCH:
17      A I did.                                               17      Q Okay. Let me hand you what's been
18      Q What was your understanding of what you              18   previously marked as Exhibit 49.
19   were DocuSigning with respect to these, these two         19        Have you ever seen this document before?
20   whereas clauses or these three whereas clauses?           20      A This looks like the same resolution.
21      A Well, like I said, I was certainly                   21      Q But that's -- and I understand you're --
22   consenting to the SAFT offering and possibly also         22   you acted like you were kind of frustrated with my last
23   pieces of the token distribution event.                   23   round of questions, which is fair. There's a long line
24      Q Well, yeah. And the next whereas clause              24   of people who are frustrated with me.
25   discusses the SAFT.                                       25            But it's dated two days later. It's dated


                                                  Page 183                                                        Page 185
1       A Right.                                               1    June the 28th, right?
2       Q And then the whereas after that was,                 2       A Yeah.
3    "Whereas the corporation proposes to raise up to 50       3       Q The last one we looked at was dated June
4    million in presales pursuant to the SAFT, which a         4    the 26th. It appears to cover the same topic, and by
5    significant portion of that amount raised under the       5    topic I mean the SAFT. And the -- but it does it in a
6    SAFT will be used to fund the corporation's build out     6    different way.
7    of the Kin Ecosystem and network application."            7          And your DocuSign appears on both of them
8          And then, "Whereas the corporation proposes         8    two days apart, correct?
9    to raise an additional 50 million in a public token       9       A Yes.
10   distribution event once the Kin Ecosystem is billed       10      Q And my question is: Why was there two days
11   out," meaning the -- token distribution event.            11   later another board resolution on exactly the same
12         Again in -- this is dated January -- or I'm         12   topic?
13   sorry -- June 26, 2017. When was your understanding of    13      A I don't know. Honestly, I mean, I'm sure
14   when that token distribution event was going to happen    14   there's a reason, but I can't recall why that happened.
15   or what needed to happen before it could happen?          15      Q You don't recall any like conversation
16      A Those are two separate questions.                    16   about hey we need to redo the board resolution or hey?
17      Q Well, then I'll break it -- I'll -- what             17      A No, I don't recall, but I'm sure it
18   needed to happen before this token distribution event     18   happened.
19   could occur?                                              19      Q Okay. If you look at the second whereas on
20      A We needed to get Kin working inside of Kik.          20   the June 28th board resolution, it talks about -- it
21      Q Okay. And, again, at the end of June, do             21   reads, "Whereas the corporation proposes to offer for
22   you recall what your understanding was of when that was   22   sale to the public an app coin called Kin at such time
23   likely to happen?                                         23   as the corporation can introduce the MVP," which is
24      A For the, at least, 5th time, no.                     24   defined on the next page.
25         MR. LEASURE: So just to -- when this is --          25         Do you see that?



                                                                                47 (Pages 182 to 185)
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                                                  Page 186                                                     Page 188
 1      A Yep.                                                 1    Kin to get the stickers.
 2      Q What does that mean?                                 2       Q Okay. That's your memory?
 3      A Well, it looks like, you know, we're more            3       A That's my memory.
 4   tightly defining when we can do a sale to the public by   4       Q Okay. Let me hand you what we'll mark as
 5   introducing the concept of an MVP, which is then          5    155.
 6   described in some detail at the end of the resolution.    6               (SEC Exhibit No. 155 was marked for
 7      Q Okay. And do you recall why that happened?           7               identification.)
 8      A I do not recall why that happened.                   8           BY MR. SCHLEGELMILCH:
 9      Q Okay. What is your recollection of what an           9       Q And this is an e-mail from you to Alexander
10   MVP meant in the context of this board resolution?        10   Ljung?
11    A Well, in the context of this board                     11      A Yeah.
12   resolution it meant what it says right here at end of     12      Q Did I get that right?
13   the signatures.                                           13      A Yep.
14      Q Sure. My question, though, is slightly               14      Q Pronunciation-wise that's right?
15   different. I'm just asking what you -- what, if           15      A Uh-huh.
16   anything, you recall about the discussion of the MVP      16      Q And Eric Wahlforss and Christophe Maire
17   during this time period?                                  17   dated July the 16th, 2017. And it is USV 0011165
18     A And I really don't recall why there's two             18   through 167. And my questions are only going to focus
19   resolutions here. And, you know, I'm not trying to be     19   on your e-mail.
20   difficult here, but I just don't really remember this.    20      A Uh-huh.
21      Q Okay.                                                21      Q And, first of all, who is Alexander Ljung?
22       MR. LEASURE: And was the Kin Ecosystem                22      A He's the former CEO of SoundCloud.
23   functional at the time of the token distribution event?   23      Q Okay. And Mr. Wahlforss?
24         THE WITNESS: As defined by the definition           24      A Alex's cofounder and currently the chief
25   in this first resolution?                                 25   product officer at SoundCloud.


                                                  Page 187                                                     Page 189
 1         MR. LEASURE: Yes. Exhibit 48.                        1      Q And Mr. Maire?
 2         THE WITNESS: Yes. I would say that the               2      A He is a board former -- well, former board
 3   company had built out a semi-centralized                   3   member and investor in SoundCloud.
 4   blockchain-based computer network. Yes, I would say        4      Q Okay. You write -- and this is, again, in
 5   that that was functional.                                  5   July -- July 16, 2017, "It took Kik about six months to
 6         BY MR. SCHLEGELMILCH:                                6   get to the point where they could do a presale of their
 7      Q Was the MVP, as defined in Exhibit 49, was            7   token, which is going on now, and will take another six
 8   that functional at the time of the token distribution      8   to 12 months before they can release Kin token inside
 9   event?                                                     9   of Kik."
10      A I don't know whether -- I mean, what I               10          Do you see that?
11   would say is that most of this functionality was live     11      A I do.
12   at the time of the token distribution event, but I        12      Q Is that an accurate statement or was it an
13   can't say definitively that all of it was. For            13   accurate statement in July of 2017 of when you
14   example, I don't know that a Kik user who has a wallet    14   understood Kik could release the Kin token inside of
15   will be able to send any of his or her premium stickers   15   Kik?
16   to any Kik user. I don't know. I don't know if that       16     A Not -- I mean, well, in hindsight,
17   actually was implemented.                                 17   certainly not an accurate statement. They got it done
18      Q Okay. Well -- and, again, if you don't               18   much more quickly than that.
19   recall, that's fine.                                      19      Q Okay.
20        What do you recall being functional?                 20      A But it does, I think, point out that it was
21      A The wallet and the ability to use the Kin            21   unclear to me at the time that I wrote this how quickly
22   to acquire stickers.                                      22   they could ultimately do that.
23      Q Which were awarded based on how much Kin             23      Q Okay. And, again, you were at the -- you
24   you had?                                                  24   understood that the big problem was the number of
25     A No. I think you had to actually spend the             25   transactions on the Ethereum network?



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                                                     Page 190                                                   Page 192
 1       A Right.                                                1   believe I did.
 2       Q And even as you sit here that problem                 2       Q Okay. And it's your practice to do that?
 3   hasn't been solved yet; is that correct?                    3      A Generally speaking, I would do that.
 4     A It's getting better but not quickly enough.             4       Q Okay. And that's actually all I have on
 5       Q You know, here's the thing.                           5   this one.
 6        Can we go off the record?                              6          MR. LEASURE: Why would you do that?
 7         THE VIDEOGRAPHER: Going off the record.               7          THE WITNESS: So we have a practice at USV
 8   The time on the video monitor is 3:14 p.m.                  8   of sharing all board decks internally.
 9          (A brief recess was taken.)                          9          MR. LEASURE: So there wasn't a particular
10          THE VIDEOGRAPHER: We are back on the                10   thing about that board deck that would have led you to
11   record. The time is now 3:34 p.m.                          11   do so?
12         BY MR. SCHLEGELMILCH:                                12          THE WITNESS: Not necessarily. I mean, we
13       Q Great. Welcome back, Mr. Wilson.                     13   don't always 100 percent do it, but it's like a
14        During the break, Mr. Wilson, did you and             14   95 percent thing. Like, we want to do that. That's
15   any member of the staff have any substantive               15   our practice.
16   conversations?                                             16          MR. LEASURE: Yeah. And I'm asking was
17       A Nope.                                                17   there something in particular about that board deck and
18       Q Great. You mentioned earlier that you have           18   the content of it that led you to forward it to the
19   a blog; is that correct?                                   19   investment team?
20      A That is correct.                                      20          THE WITNESS: I don't think so.
21       Q How frequently do you post on the blog?              21          MR. LEASURE: Okay. And did you expect any
22       A Every day.                                           22   particular feedback on that board deck in particular?
23       Q That is impressive.                                  23          THE WITNESS: I didn't expect it, but it
24       A Thank you.                                           24   would have been great to get it.
25       Q What is the name of your blog?                       25          MR. LEASURE: Sure. You won't mind it?


                                                     Page 191                                                   Page 193
1       A AVC.com.                                               1         THE WITNESS: Right.
2       Q Okay. Right. Let me mark -- this is 156.               2         MR. LEASURE: But there wasn't a demand or
3             (SEC Exhibit No. 156 was marked for                3   an expectation about that particular board deck that
4             identification.)                                   4   you get some particular important feedback?
5          BY MR. SCHLEGELMILCH:                                 5          THE WITNESS: There might have been, but I
6       Q This is an e-mail from Peter Heinke dated              6   don't recall that to be the case.
7    June the 12th 2017 to Paul Holland, Michelle Dent, and      7         MR. LEASURE: That's fine.
8    Kik board with carbons to some other folks.                 8         MR. MITCHELL: And why do you like this --
9          Do you see that?                                      9   why do the folks at USV like to share these board
10         Well, let me give you a chance to read it.           10   decks?
11      A Okay. Okay.                                           11          THE WITNESS: It's just a great way for all
12      Q My question really just concerns the e-mail           12   of us to stay up to speed on all of our portfolio
13   from Michelle Dent to Kik board on Monday, June            13   companies and the issues that they all are facing.
14   the 12th, 2017.                                            14   And, you know, we invest in a lot of companies that are
15         Do you see that?                                     15   similar. So it's shared learning and just sort of what
16      A I do.                                                 16   our practice is.
17      Q Okay. Are you a member of the Kik board               17         MR. MITCHELL: And I have a couple follow
18   e-mail group?                                              18   ups on that. I had gotten a letter before with some
19      A I am.                                                 19   names of companies. I just want to make sure I
20      Q Okay. And it's not on this exhibit, but               20   understand it right.
21   did you forward this e-mail from Michelle Dent to Kik      21        The entity that owns the Kik share is Union
22   board to investment team?                                  22   Square Ventures 2008, LP?
23      A I may have.                                           23         That's correct.
24      Q Okay. Do you recall doing that?                       24         MR. MITCHELL: And there's another entity
25      A Honestly, I don't recall doing it, but I              25   Union Square Ventures, LLP?



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                                                  Page 194                                                      Page 196
 1          THE WITNESS: That's our management                   1   And I know what the risks are on that. And, you know,
 2    company.                                                   2   I can make a -- you know, an informed decision about
 3          MR. MITCHELL: And that also provides                 3   whether or not I want to do that.
 4    investment advisor services into funds like Union          4        And here I just -- you know, I don't -- I
 5    Square Ventures 2008, LLP?                                 5   mean, this is -- you know, a relatively new concept of
 6          THE WITNESS: Yes.                                    6   a crypto economy, you know, decentralized with a
 7          MR. MITCHELL: And Union Square Ventures,             7   foundation, you know, at the center of it and what the
 8    LLP advises.                                               8   boards responsibilities are and so on and so forth. It
 9          Does it provide advice to Kik?                       9   just was something that I just couldn't wrap my head
10          THE WITNESS: Not formally, no.                      10   around.
11          MR. MITCHELL: Did -- well, did Union                11      Q Okay. When you wrote I don't like the
12    Square Ventures 2008, LP have any role in planning or     12   personal risk, what were you referring to?
13    conducting the Kin token offering sale?                   13      A Just, you know, I think that sitting on
14          THE WITNESS: Union Square Ventures 2008?            14   boards is a -- you know, is a, you know -- you're
15          MR. MITCHELL: Yeah.                                 15   staking your reputation and possibly more on your
16          THE WITNESS: No.                                    16   ability to live up to your obligations as a director.
17          MR. MITCHELL: Okay. Did Union Square                17   And, you know, I just wasn't comfortable with, you
18    Ventures, LLP, have any role in the Kin token offering?   18   know, what that was here.
19          THE WITNESS: Other than the fact that I'm           19      Q Okay. Prior to the token distribution
20    a board member of Kik, no.                                20   event, did Kik increase the amount of directors and
21          BY MR. SCHLEGELMILCH:                               21   officers liability insurance it carries?
22       Q Moving right along. Look at all this                 22      A For the company?
23    progress we're making. Let's mark this as 157.            23      Q Yes, sir.
24             (SEC Exhibit No. 157 was marked for              24      A I think so.
25             identification.)                                 25      Q And do you recall what it was and what it


                                                  Page 195                                                      Page 197
 1         BY MR. SCHLEGELMILCH:                                 1   sort of increased to?
 2      Q In Exhibit 157 is an e-mail string at the              2      A I do not.
 3   top of the string is an e-mail from you to                  3      Q Do you recall why that was increased?
 4   Mr. Livingston. The e-mail at the very top is dated         4      A I think the board felt like there was an
 5   May 20, 2017, at 9:03 a.m. The Bates stamp is               5   increased possibility of litigation against the
 6   Kik_00025016 through 17. This looks like it should be       6   directors and officers of the company and that it
 7   a pretty quick read.                                        7   warranted getting more insurance.
 8         In the e-mail that appears in the middle of           8     Q Litigation regarding what?
 9   the page, the middle of the first page, you write to        9     A Just the new business model and all of the
10   Peter, who I suspect is Mr. Heinke, and Ted who is Ted     10   new stakeholders in that business model and, you know,
11   Livingston, "I woke up this morning feeling very           11   just seemed like a prudent thing to take some more
12   uncomfortable with the idea of being on the Kik            12   insurance.
13   Foundation board. Is there anyone else, maybe Jim, who     13      Q And litigation by whom?
14   would be willing to do it?"                                14      A I don't know. I don't know that we went
15         And then you have a continued dialogue with          15   that far, you know. I think we just looked at it and
16   Mr. Livingston about this. You state that you don't        16   said, you know, we're entering, you know, an uncertain
17   like the personal risk of appearing on the Kin             17   and unknown world here. Let's make sure that we, you
18   Foundation board and that you don't love the idea of       18   know, are properly, you know, protected by, you know,
19   staking your reputation and responsibility on something    19   insurance to the extent that insurance can protect us.
20   I don't feel totally comfortable with.                     20      Q Do you recall whose idea that was or who
21         What made you feel uncomfortable about the           21   brought that to the table?
22   Kin Foundation board?                                      22      A I don't know. It could have been me. It
23      A I'd never done something like that in my              23   could have been Peter. It could have been Paul. It
24   career. You know, I take board seats in privately held     24   could have been Sam. I don't really know.
25   companies on a regular basis, and I know what that is.     25      Q Okay. And other than what you've already



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                                               Page 198                                                             Page 200
 1   shared, do you recall any of the conversations at the    1       Q Okay. You write that you'd like to have a
 2   board level surrounding that issue?                      2    one-on-one convo at a time that was convenient to him.
 3      A I do not.                                           3           Did you have a follow-up call with him?
 4      Q Let me hand you what will be marked as              4       A I think I did, yeah.
 5   Exhibit 158.                                             5       Q Do you recall what you talked about in that
 6            (SEC Exhibit No. 158 was marked for             6    follow-up call?
 7              identification.)                              7       A A lot of these issues around price
 8            BY MR. SCHLEGELMILCH:                           8    stability and how one could get price stability on a
 9      Q And this should take you about two seconds          9    crypto token and whether or not we needed to do that.
10   to read. It's a very short e-mail from you to William    10   That was a big part of what the conversation was.
11   Redashell?                                               11      Q Okay. What do you recall Mr. Redashell
12     A Yep.                                                 12   saying regarding that topic, specifically price
13      Q On December the 11th, 2017?                         13   stability?
14      A Uh-huh.                                             14      A Well, he felt that people were not going to
15      Q I'll wait until you finish.                         15   transact in a crypto token unless they could be
16      A I'm finished.                                       16   confident that it wasn't going to rise or fall
17      Q Okay. Who is William Redashell?                     17   meaningfully and that, you know, price stability was
18      A He's somebody that has been close to the            18   really important.
19   company for a long time, not on the board, an advisor    19      Q Okay. And what was it about that that you
20   to Ted, a tech entrepreneur, and now probably in his     20   found, you know, very interesting or worth following up
21   60s or 70s. I'm not entirely sure. Semi retired. And     21   on?
22   he was somebody that we had thought about possibly       22      A Well, we didn't have any plans at the time,
23   asking to be on the Kin Foundation board.                23   and even today I think there aren't, you know, any
24      Q Okay. You write that he made a ton of               24   well-designed ideas around that for Kin. And so I --
25   sense on this call.                                      25   you know, it just got my attention that he felt


                                               Page 199                                                             Page 201
 1        What call are you referring to?                      1   strongly about that.
 2      A We had a call, Ted for sure, me. I don't             2         Q Okay. Does the Kin Foundation currently
 3   know if Peter was on the call or not. And maybe there     3   have any employees?
 4   were a few others. I don't know. And I'm not even         4     A No, it does not.
 5   sure what the agenda was for that call, you know. I       5         Q Okay. Does it have any operations?
 6   can't totally remember.                                   6         A What do you mean by operations?
 7          But I just remember him raising a bunch of         7         Q Does it do anything other than hold Kin?
 8   issues about the Kin road map, the Kin Ecosystem that,    8         A I think there's some minimal operations.
 9   you know, I thought were, you know, really well said      9     Q And who are those minimal operations being
10   and I wanted to flush it out in more detail with him.    10   done by?
11      Q Okay. And do you recall specifically what           11     A Ted and William.
12   he said that made a ton of sense to you?                 12       Q Okay. And I forgot William's last name?
13      A Yeah. I mean, there was a bunch of                  13       A Mougayar. I'm not entirely sure how to say
14   questions that he had around price of ability, stable    14   it actually.
15   coins, and, you know, whether or not we needed to, you   15         Q Okay. Thank you.
16   know, think about that for Kin if we wanted it to be,    16          Does the Kin Foundation have an agreement
17   you know, really a transactional type of                 17   with Kik to provide -- that -- where Kik will provide
18   cryptocurrency. And so, you know, I thought those were   18   services to the Kin Foundation?
19   really interesting questions. And I thought, you know,   19      A I'm not sure if there's a written agreement
20   it would be worth exploring in more detail with him.     20   in place or not.
21      Q Did he raise concerns about the Kin                 21     Q Okay. Do you know whether Kik has loaned
22   Foundation?                                              22   money to the Kin Foundation?
23      A I don't know that he did, but those weren't         23     A It's possible, but I don't know.
24   the issues that I was interested in talking to him       24         Q Okay. I think you mentioned earlier today
25   about.                                                   25   that Kin has moved from one blockchain to another?



                                                                                51 (Pages 198 to 201)
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                                                 Page 202                                                       Page 204
 1      A Uh-huh.                                              1    but what were the management issues that you were
 2      Q And it moved from Ether -- the ER -- the --          2    referring to?
 3   what is it, not the ER 20, but the --                     3       A You know, Ted's a great visionary, really,
 4     A ERC-20.                                               4    really good at kind of taking an idea and jumping on
 5      Q ERC-20. Thank you.                                   5    it, but in terms of a day-to-day operator, you know,
 6           To a version of Stellar or a forked version       6    he's -- he's not, you know, the kind of person that,
 7   of Stellar?                                               7    you know, is at his best in a very sort of static kind
 8      A Correct.                                             8    of mode and we were starting to get to that point.
 9      Q That decision to move from one blockchain            9          And while you, you know, might not be
10   to another, that was a decision that was made by Kik?     10   interested in hearing more about his baby, I think that
11      A Correct.                                             11   was a huge issue because he was checked out and not
12      Q And the fork of Stellar, that fork was               12   really hands on in the business which was exacerbating,
13   accomplished by Kik engineers?                            13   you know, some of those issues.
14      A That's correct.                                      14      Q Okay. Fair enough. Now, I'm interested.
15      Q Okay. So even now, even after the token's            15         So like when was the time period when this
16   been issued for almost a year, Kik is still making        16   was going on, this period of being checked out and
17   these sort of technological decisions about how the       17   having it --
18   token will function?                                      18     A I know that it was starting in early
19      A That's true.                                         19   November. I forget when the baby actually came, maybe
20      Q Let me hand you what will be marked                  20   early January. But, you know, he was already starting
21   Exhibit 159.                                              21   to like, you know, come to me and others and say I'm
22              (SEC Exhibit No. 159 was marked for            22   not sure I can do this. You know, we may need to come
23             identification.)                                23   up with a different leadership model. You know, so
24           BY MR. SCHLEGELMILCH:                             24   that was a real issue.
25      Q This is another e-mail that'll not take you          25      Q Was this Mr. Livingston's -- I mean, if you


                                                 Page 203                                                       Page 205
 1   too long to read. It's an e-mail from you to              1    know, was this Mr. Livingston's first child?
 2   Mr. Holland dated November the 22nd, 2017. It's at        2      A Yes.
 3   2:41 p.m. And the subject line is a grand plan for Kik    3       Q Okay. You also mentioned tension between
 4   Kin.                                                      4    the Waterloo operations and the Tel Aviv operations?
 5      A Yep.                                                 5       A Yeah.
 6      Q You wrote, "I think I just came up with a            6       Q What do you recall about that?
 7   plan that can solve all our problems."                    7       A Well, you know, I mean, the Waterloo team
 8           And then you write, "I realize we're on the       8    was seven years old, you know, was managing an
 9   cusp of a four-day holiday, but if you want to hear it    9    application that had been inclined for two or
10   I can give you a call this afternoon."                    10   three years, and there's this shiny new thing called
11           What were all our problems that you were          11   Kin and that's being built and designed, and, you know,
12   referring to in this e-mail?                              12   all of the engineering is in Tel Aviv.
13      A We have management issues, we have -- had            13         And so you kind of had like, you know, two
14   really because I think a lot of them have been            14   very different vibes inside the company. And people
15   resolved -- had management issues. We had some real,      15   weren't getting along, and, you know, there's also -- I
16   you know, tension between the Waterloo team and the Tel   16   mean, I don't know how well you know Israelis and how
17   Aviv team, legacy Kik versus Kin, if you will. Ted was    17   well you know Canadians, but you really couldn't create
18   about to have a baby and was sort of checked out.         18   two different kinds of personality types. So that was
19           And, you know, there's this question about,       19   also a factor.
20   you know, how do the Kik shareholders participate in      20      Q Okay. Was there thought of replacing
21   Kin. And, you know, all of those were sort of weighing    21   Mr. Livingston as CEO during this time period?
22   on me and Paul and some of the other board members as     22     A Absolutely. I mean, it was driven by him.
23   well.                                                     23   It wasn't like the board was trying to get rid of Ted.
24      Q Let's sort of break that down. I'm not               24   Ted was basically saying I'm not sure I can do this.
25   sure I need to hear more about Mr. Livingston's baby,     25      Q Okay.



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                                                  Page 206                                                         Page 208
 1         MR. LEASURE: Was there thought on hiring a           1   already talked about?
 2   separate CEO just for the Kin project?                     2      A No. It's just that, you know, the people
 3         THE WITNESS: Yes. I mean, so that's the              3   who are invested in Kin and the people who are invested
 4   grand plan, right. So the grand plan was break Kin and     4   in Kik are aligned around this Kin vision but not
 5   Kik up into two things, have Ted stay with Kik,            5   completely, right, like their equity in Kik is
 6   something that he was comfortable with and, you know,      6   different than owning the Kin token. And there's no
 7   had been running for a long time, bring in new             7   current strategies -- I mean, there's is lots of
 8   leadership for Kin, and possibly, you know, spin, you      8   conversations about how to ultimately link them, but we
 9   know, legacy Kik out and make the company really all       9   haven't implemented any of that.
10   about Kin. And, you know, there was also, as we talked    10      Q Okay.
11   before, an idea about possibly putting in some sort of    11      A And it also plays out with the employee
12   exchange mechanism so that at some point in the future    12   base, right.
13   Kin shareholders could -- Kik shareholders could          13         So the employees all have stock options
14   exchange for Kin.                                         14   in Kik equity, and, yet, you know, they're being told
15         So this was sort of all part of this sort           15   you're working on this Kin thing and that's the future.
16   of grand plan. It turns out we didn't do any of it,       16   And they're like yeah but I don't own any Kin. I --
17   you know, because we couldn't find somebody, frankly,     17   and so that's just an example of where, you know,
18   to come in and take over the company. This                18   that's a challenge.
19   investigation really, honestly put the kibosh on that.    19         We are going to have to fix that at some
20          And so Ted had the baby and came back and,         20   point. We can't even think about it as long as this
21   you know, figured out, you know, how to fix a lot of      21   investigation goes on. So no point in talking about it
22   the dysfunction issues between Waterloo and Tel Aviv      22   until this gets resolved one way or another.
23   and started making good progress on the Kin road map.     23     Q You said to Mr. Holland or you wrote to
24   And the folks at Kik started feeling better about all     24   Mr. Holland that you came up with a plan.
25   of that.                                                  25            What was the plan?


                                                  Page 207                                                         Page 209
 1          And so we didn't do any of that. But that's        1       A Basically what I said.
 2   what we were discussing at that time.                     2       Q Okay.
 3          BY MR. SCHLEGELMILCH:                              3       A Split Kin and Kik into two things and bring
 4      Q    Okay.                                             4    in a new leader for Kin, leave Ted in charge of legacy
 5          You talked about the grand plan to                 5    Kik, and come up with some mechanism for, you know, Kik
 6   break Kik and Kin into two things; that -- as of today,   6    shareholders to ultimately become Kin token holders
 7   that hasn't happened?                                     7    over some period of time.
 8      A Yeah. And I'm not sure that it will, you             8       Q Okay. I think the last question I have is
 9   know. I think a lot of the problems was we were           9    you've talked a couple times today about the Kin road
10   having -- figuring out how to run it as one company,      10   map. And I just want to make sure that we're
11   you know, have mitigated. I'm not saying that they        11   talking -- well, let me ask you this.
12   won't crop back up, but right now things are working      12            Is the Kin road map a document or like an
13   pretty well.                                              13   idea?
14      Q    The last thing that you talked about as           14      A It's an idea. It's like what we're going
15   being one of the problems that you were talking about     15   to do and when we're going to do it. It's an evolving,
16   with Mr. Holland was that -- what to do with the Kik      16   living thing.
17   shareholders?                                             17            You know, it changes over time. But
18      A Right.                                               18   it's like -- it's the technical road map. They got a
19      Q    And I don't want to plow ground that we've        19   market road map, you know, what we're going to do with
20   already plowed. This -- this idea where should a          20   the 60 percent of Kin, how we're going to ultimately
21   dividend be paid to the Kik shareholders or should Kik    21   implement the rewards engine. It's like that whole
22   shareholders be bought out with Kin. Is that -- we've     22   thing.
23   talked about it already.                                  23      Q Okay.
24      A Yeah.                                                24            Let me hand you what will be marked
25      Q    Is there something more than what we've           25   as Exhibit 160.



                                                                                53 (Pages 206 to 209)
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                                                    Page 210                                                         Page 212
 1            (SEC Exhibit No. 160 was marked for                1   conclusion is that starting on USV 0014924 --
 2            identification.)                                   2      A Uh-huh.
 3         BY MR. SCHLEGELMILCH:                                 3      Q -- there's a footer that says Kin road map.
 4      Q And then I am not asking you to review the             4   And using my lawyers powers of deduction I concluded
 5   whole thing.                                                5   that it was the Kin road map.
 6         Although, you are welcome to do that if               6      A Right. But, like, the point is, like, this
 7   you think you need to to answer my question.                7   is no longer, you know, the definitive Kin road map.
 8         My question is just simply attached to                8   So, for example, you see this daily airdrop module?
 9   this -- attached to this e-mail are a series of Word        9      Q On -- which page are you referring to, sir?
10   documents which we've printed out and attached             10      A Eight.
11   physically to the e-mail which has been marked as 160      11      Q Thank you.
12   which is an e-mail from Mr. Heinke to Mr. Redashell,       12      A I don't think we're currently working on
13   Mr. Mougayer, Mr. Livingston, you, and carboned to Ms.     13   that.
14   -- it's an e-mail dated December the 11th, 2017, and       14            I don't know if we've just tabled it, you know,
15   it's USV 0014922 through 960.                              15   to a later date or whether we've decided that's not
16      A By the way, I think this is the call that             16   interesting anymore.
17   we had that I then sent Bill the e-mail that you           17            So the current Kin road map
18   referred to two e-mails ago.                               18   document would look somewhat different than this.
19      Q I see.                                                19      Q Okay. That's -- I guess that's what I was
20         So this -- the first page of this                    20   trying to get to.
21   exhibit is the topics that you talked with                 21            So as of the day of this e-mail,
22   Mr. Redashell where you thought he made a lot of sense?    22   December 11th, 2017, do you know if that is the sort of
23      A It was this call where -- you know, because           23   then current version of the road map?
24   he wasn't on the Kik board, right. So I'd never really     24      A I think so now, yes.
25   heard his point of view about Kin directly until he        25      Q Okay.


                                                    Page 211                                                         Page 213
 1    participated on this call.                                1             But that -- it is sort of a living
 2       Q Okay.                                                2    document.
 3       A And he made, I thought, some really good             3             It's a work in progress, and it sort of
 4    points. And I wanted to sort of dig deep er than we       4    changes -- it's an interim process?
 5    were able to do on this call. And I wanted to talk to     5       A Absolutely.
 6    him one on one.                                           6       Q Okay.
 7       Q Okay.                                                7             And it is now likely different than
 8        And we talked about that call and we                  8    this in some way?
 9    don't need to rehash that.                                9       A Definitely different than this. There's
10      A Right, right. Okay.                                   10   some things that are absolutely still a part of the
11      Q Although, I work here. I can talk for                 11   plan, and there's some things that are not as much a
12    another couple of hours.                                  12   part of the plan.
13         My question is: Is the attachments to this           13      Q Okay. Just -- and a couple of points. In
14    e-mail -- is this a copy of the then current -- which I   14   your testimony today, you talked about the Kin road map
15    understand you said it was a work in progress.            15   but --
16         Is it a copy of the then current Kin                 16      A Yeah. I don't mean this document.
17    product road map?                                         17      Q Thank you.
18      A More than product road map. I'd say that              18      A I mean, where we're going.
19    this is -- this is a little bit more than a product       19      Q Okay.
20    road map.                                                 20            Thank you. That's very helpful. I
21           I think there's still some vision in here          21   think it may make sense for like just a short confab on
22    and I think -- yeah. I mean, I think that this is         22   this side of the table, but I think we're pretty darn
23    definitely a road map document.                           23   close.
24       Q Okay.                                                24            THE WITNESS: Okay.
25           The reason why I drew that                         25            MR. SCHLEGELMILCH: Can we go off the



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                                                  Page 214                                                      Page 216
 1   record?                                                    1         MR. MITCHELL: Sounds good. Earlier we had
 2          THE VIDEOGRAPHER: Going off the record.             2   discussed sort of the issue that -- the issue with the
 3   The time is 4:06 p.m.                                      3   Ethereum blockchain and whether it was capable of
 4          (Discussion off the record.)                        4   handling large enough volumes of transactions for Kin
 5          THE VIDEOGRAPHER: We are back on the                5   tokens to be widely used.
 6   record. The time is now 4:12 p.m.                          6         Do you remember that from earlier?
 7          MR. MITCHELL: During the break,                     7         THE WITNESS: Yes, I do.
 8   Mr. Wilson, did you have any conversations with the        8         MR. MITCHELL: At any point did Kik
 9   staff about the case?                                      9   consider just sort of sitting back and letting somebody
10          THE WITNESS: Did not.                              10   else solve that problem?
11          MR. MITCHELL: Okay. I really just have a           11         THE WITNESS: No.
12   couple, you know, clean up things, then we'll be done.    12         MR. MITCHELL: Why not?
13          Does Kik have a controlling shareholder or         13         THE WITNESS: Because I think we felt like
14   major shareholders like beyond USV and the funds that     14   we had this idea and we wanted to do it. And we wanted
15   we were just talking about?                               15   to be the first company to do it and that if we waited
16          THE WITNESS: No, it does not.                      16   somebody else was going to come in and do it instead of
17          MR. MITCHELL: Does Mr. Livingston own a            17   us.
18   significant amount of Kik?                                18         MR. MITCHELL: You mean, with the Kin token
19          THE WITNESS: He does, but not a                    19   or with a different token?
20   controlling interest.                                     20         THE WITNESS: With a different token.
21          MR. MITCHELL: Okay. But do you know what           21         MR. MITCHELL: But did Kik ever consider
22   he owns?                                                  22   just waiting back and letting somebody else solve it
23          THE WITNESS: Somewhere between 30 and 40           23   for the Kin token?
24   percent.                                                  24         THE WITNESS: No.
25          MR. MITCHELL: Is he the largest                    25         MR. MITCHELL: Why not?


                                                  Page 215                                                      Page 217
 1   shareholder?                                               1          THE WITNESS: Because then we couldn't --
 2          THE WITNESS: Yes, he is.                            2   we couldn't do -- I mean, it was -- I'm not really
 3          MR. MITCHELL: Do you -- have you ever               3   understanding very well what you're trying to ask, but
 4   discussed with Mr. Livingston his -- sort of how that      4   I don't think that there was a viable strategy to do
 5   fits into his overall portfolio?                           5   Kin that involved just sitting back and waiting for a
 6          THE WITNESS: Meaning his -- the majority            6   blockchain to get to a level of scalability. I think
 7   of his net worth in Kik?                                   7   we had to, you know, figure out how to solve that
 8          MR. MITCHELL: Yeah, that's what I -- yeah.          8   problem ourselves.
 9   I mean, or anything on that --                             9          MR. MITCHELL: In a similar vein, we've
10          THE WITNESS: I mean, I'm not sure that             10   talked about Kik making efforts to recruit other
11   I've ever discussed that with him, but that is            11   companies to conduct transactions or to allow their app
12   absolutely the case.                                      12   users to conduct transactions.
13          MR. MITCHELL: I'm sorry. If you haven't            13          Has Kik ever considered just sort of
14   discussed it with him, how do you know?                   14   stepping back and letting someone else recruit partners
15          THE WITNESS: Well, I mean, I've seen how           15   to the Kin Ecosystem?
16   he lives. I mean, you know, he's not a wealthy person.    16          THE WITNESS: I don't know who would do
17          MR. MITCHELL: Okay. So Cooley represents           17   that.
18   you as being in connection with this investigation.       18          MR. MITCHELL: Okay. And sort of a similar
19          Did Cooley represent USV on other issues           19   question. Has Kik ever considered stepping back and
20   before this investigation?                                20   letting somebody else integrate the Kin token into the
21          THE WITNESS: Well, I don't actually know           21   Kik app?
22   the answer. I think the answer is certainly Cooley has    22          THE WITNESS: No.
23   represented USV on some financings that we've done over   23          MR. MITCHELL: And why not?
24   the years, but I'm not sure that we've ever been          24          THE WITNESS: I don't know that anybody
25   involved in, you know, a matter like this with them.      25   else could do that.



                                                                             55 (Pages 214 to 217)
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                                                   Page 218                                                          Page 220
 1         MR. LEASURE: In 2018, did Kik ever                   1           Is there anything you'd like to add or
 2   consider withdrawing the Kin project in some way from      2   clarify?
 3   the United States?                                         3           THE WITNESS: I don't think so.
 4         THE WITNESS: In 2018, this year?                     4           MR. SCHLEGELMILCH: Okay. And I normally
 5         MR. LEASURE: Yes, this year.                         5   give counsel the same opportunity.
 6         THE WITNESS: What would that look like?              6           MR. CADIGAN: Yeah. No further questions.
 7   Like, how would one do that?                               7   Thanks.
 8         MR. LEASURE: You just made my next                   8           MR. SCHLEGELMILCH: Okay. Then with that,
 9   question. Let me ask first, is that something that         9   we're going to go off the record.
10   you've heard about people considering in some way?        10           THE VIDEOGRAPHER: This concludes the video
11          THE WITNESS: I mean, people have                   11   deposition. This is disc three of three. Going off
12   definitely considered doing a token project outside of    12   the record. The time is now 4:19 p.m.
13   the U.S. and not inviting any U.S. citizens to buy the    13           (Whereupon, at 4:19 p.m., the examination
14   token or earn the token.                                  14   was concluded.)
15        And, therefore, not exposing                         15                  *****
16   themselves to U.S. securities laws. That is a definite    16
17   thing, but I don't know that -- well, we didn't -- I      17
18   don't remember talking about it in 2017, and once we      18
19   did our token distribution event I'm not sure how we      19
20   could unwind that.                                        20
21         MR. LEASURE: You don't think that's a               21
22   viable idea?                                              22
23          THE WITNESS: Not for us, no. I think               23
24   there are companies who are doing or token projects       24
25   that are doing it, and I think it is a viable strategy.   25


                                                   Page 219                                                          Page 221
 1   But it's -- I think, you know, that train's left the      1            PROOFREADER'S CERTIFICATE
 2   station with Kik and Kin.                                 2
 3          MR. LEASURE: Are you aware of anyone from          3    In the Matter of: KIK INTERACTIVE
 4   Kik making public statements in 2018 saying Kik was       4    Witness:        Fred Wilson
 5   considering withdrawing the project in some way from      5    File Number:      HO-13388-A
 6   the U.S.?                                                 6    Date:          Wednesday, September 5, 2018
 7          THE WITNESS: I'm not aware of anybody              7    Location:        Washington, D.C.
 8   making that statement, but, I mean, I can't tell you      8
 9   that nobody said that.                                    9       This is to certify that I, Christine Boyce,
10          MR. LEASURE: That's fine. But you never            10   (the undersigned) do hereby swear and affirm that the
11   made that statement, and you wouldn't make that           11   attached proceedings before the U.S. Securities and
12   statement?                                                12   Exchange Commission were held according to the record,
13          THE WITNESS: I don't know how we would do          13   and that this is the original, complete, true and
14   that.                                                     14   accurate transcript, which has been compared with the
15          MR. LEASURE: Sure. Okay.                           15   reporting or recording accomplished at the hearing.
16          MR. SCHLEGELMILCH I think we're good.              16
17          THE WITNESS: Great.                                17
18          MR. SCHLEGELMILCH: Could we go off the             18   ____________________________ _________________
19   record, please?                                           19   (Proofreader's Name)            (Date)
20          Oh, let's not go off the record.                   20
21          What we normally do at the end these days          21
22   is we give the witness an opportunity if there's          22
23   anything you said or didn't say that you think you need   23
24   to to clarify the record. This is an opportunity for      24
25   you to do that.                                           25



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                                                Page 222
 1            REPORTER'S CERTIFICATE
 2
 3          I, Melinda Johnson, CSR, reporter, hereby
 4   certify that the foregoing transcript of 220 pages is a
 5   complete, true and accurate transcript of the testimony
 6   indicated, held on Wednesday, September 5, 2018, at
 7   Washington, D.C. in the matter of: Kik Interactive.
 8
 9         I further certify that this proceeding was
10   recorded by me, and that the foregoing transcript has
11   been prepared under my direction.
12
13                Date:________________________
14         Official Reporter:__________________________
15         Diversified Reporting Services, Inc.
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